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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.:9:18-cv-80176-BB/BR

               ----------------------------------------
               IRA KLEIMAN, as the personal             )
               representative of the Estate of David   )
               Kleiman, and W&K Info Defense            )
               Research, LLC                            )
                                   Plaintiffs,.         )
                                                        )
                       v.                               )
                                                        )
               CRAIG WRIGHT                             )
                                   Defendant.           )
               ----------------------------------------

                                    VIDEO-TAPED DEPOSITION OF

                                         DR. CRAIG WRIGHT

                                                 On

                                       Monday March 16, 2020

                                        At the offices of:
                                    Boies Schiller Flexner LLP
                                        5 New Street Square
                                         London EC4A 3BF
                                            England
                                         United Kingdom

               Taken by:
               AMY COLEY, Court Reporter
         3ODLQWLII V'HVLJQDWLRQV
         'HIHQGDQW V2EMHFWLRQV
                       M
         'HIHQGDQW V&RXQWHU'HVLJQDWLRQV
                                  J

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         1                        A P P E A R A N C E S
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        19    Miami, Florida 33134
              Phone: 305.445.2500
        20    E-mail: Arivero@riveromestre.com
        21    By: Andrés Rivero, Esq.
              Julio Paez, Esq.
        22
              Also present:
        23    Judge Reinhardt (via telephone)
              Simon Cohen, Esq. (SCA Ontier UK) (in person)
        24    Amy Coley (Court Reporter on behalf of Magna Legal
              Services)
        25    Linda Fleet (Videographer on behalf of Magna Legal
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         1               (The Deposition commenced at 1.33 p.m.)
         2                       THE VIDEOGRAPHER: We are now on the
         3    record.     This begins media number one in the
         4    deposition of Dr. Craig Wright, in the matter of
         5    Ira Kleiman et al v Craig Wright in the United
         6    States District Court of Florida.            Case Number
         7    918-CV-80176BB/BR.        Today is March 16, 2020.        The
         8    time on the video monitor is 1.33 pm.             This
         9    deposition is being taken at Boies Schiller
        10    Flexner LLP, 5 New Street Square, London EC4A 3BF,
        11    United Kingdom.       The Videographer is Linda Fleet
        12    of Magna Legal Services.         The Court Reporter is
        13    Amy Coley.      Will counsel and all parties present
        14    state their appearances and who they represent.
        15                       MR. FREEDMAN:      This is Velvel
        16    Freedman for the Plaintiff.
        17                       MR. BRENNER:      Andrew Brenner for
        18    the plaintiff.
        19                       MR. DELICH: Joseph Delich for the
        20    plaintiff.
        21                       MR. ROCHE:      Mr. Roche for the
        22    plaintiff.
        23                       MR. RIVERO:      Andreas Rivero for
        24    Dr. Wright and Julio, Paez, also representing
        25    Dr. Wright.
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         1                       MR. COHEN:      Simon Cohen from SCA
         2    Ontier also representing Dr. Wright for the
         3    purposes of this deposition.
         4                       DR. WRIGHT, Sworn
         5                       MR. RIVERO:      Correction of the
         6    spelling of Mr. Paez.
         7    BY MR. FREEDMAN:
         8               Q.      Good afternoon, Dr. Wright.
         9               A.      Good afternoon where I am at the
        10    moment, and good morning for you.
        11               Q.      You have had your deposition taken
        12    before; isn't that right?
        13               A.      Yes.
        14               Q.      Do you remember the rules of the
        15    deposition, so to speak, where I need you to
        16    answer audibly any questions that I ask you?
        17               A.      I do.
        18               Q.      To the extent that you do not
        19    understand a question I need you to let me
                                                      m know
        20    that
              that you do not understand that question, is that
                                                           tha
R-CC    21    fair?
              fair?
        22               A.      Yes, I will ask you the question
        23    again and ask you to explain if I do not
        24    understand.
        25               Q.      If you do not ask me to repeat it,
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                                                                            Page 6
         1    I will assume that you understood the question and
R-CC     2    I will
                will rely on it; right?
         3               A.      I understand that.
         4               Q.      You understand that your testimony
         5    is being taken via video and via a court reporter
         6    and it may be shown at some point to a jury or a
         7    judge?
         8               A.      I understand that.        I understand
         9    the magistrate is listening in.           I can see the
        10    camera in front of me and the court reporter as
        11    well.
        12               Q.      If at any time you need a break,
        13    Dr. Wright, just let us know and we will take a
        14    break and use the restroom if that is necessary?
        15               A.      Certainly and thank you.

R-CC    16               Q.      Finally, before we get started, are
        17    you
              you on any medications today that will affect your
        18    ability
              ability to testify?
        19               A.      Not that will affect my ability to
        20    testify.
              testify.
        21               Q.      Are you on any medications that
        22    would
              would affect your ability to recall certain facts?
        23               A.
                         A       No, I am not.
        24               Q.      Okay.    Dr. Wright, do you mind
        25    saying your name and date of birth for the record?
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                                                                            Page 7
         1               A.      Dr.    Craig Steven Wright,
                         1970.
         3               Q.      Dr. Wright, can participants in
         4    Bitcoin be anonymous?
         5               A.      It depends on what you term
         6    "anonymous".       If you are talking about Black's Law
         7    Dictionary of a small transaction without a name,
         8    then yes.       But the idea of "anonymous" that has
         9    come from the cipher punk idea, then no.             A
        10    digital signature requires identity to be stored.
        11    For instance, under the Digital Signatures Act
        12    here in the UK, that has an equivalent in the USA,
        13    you must first have identity and then identity
        14    follows with a digital signature algorithm.              In
        15    section 10 of the White Paper, identity is
        16    firewalled from the rest of the transaction
        17    processing and the identities are exchanged
        18    between the individuals who are engaged in trade.
        19               Q.      So, would you use the word
        20    "anonymous" to describe Bitcoin?
        21               A.      No, I would not.       I have used that
        22    word but unfortunately that is misconstrued, not
        23    many people who generally use it will take it as
        24    if they have done a legal course.            They will take
        25    it to be something that means they can act without
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                                                                            Page 8
         1    any knowledge of who the other person is, and not
         2    that it is a contract, such as Blackstone would
         3    say "without recording identity", for instance it
         4    is a small transaction where a mere receipt is
         5    sufficient.
         6               Q.      Do you have a Twitter account with
         7    the username "Dr Craig S Wright"?
         8               A.      No, I do not.
         9               Q.      Let me rephrase that -- there is
        10    some terrible feedback coming through the line.
        11               A.      Many years ago I had an account of
        12    that name, but that was hacked and taken over.
        13    The last person I know who was running it was Uyen
        14    Nguyen.
        15               Q.      When was it hacked?
        16               A.      Back in 2015 ----
        17                       THE COURT REPORTER: Sorry.
        18               Q.      Before that you were controlling
        19    that Twitter account?
        20               A.      No, it was only partly under my
        21    control.     I had staff members running much of my
        22    social media.
        23               Q.      Did you have a Twitter account with
        24    the name "A Prof. Faustus"?
        25               A.      Yes, I did.
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                                                                            Page 9
         1               Q.      When I speak I here a feedback
         2    through the line.       Perhaps something is the -- are
         3    the IT folks in the room?          We will carry on.
         4                       Did you write the tweets that came
         5    from that Prof. Faustus or did you have other
         6    people write them for you?
         7               A.      A combination of both.
         8               Q.      Did you ever have a Facebook
         9    account in the name "Craig S Wright"?
        10               A.      Depends on how the "Craig S Wright"
        11    is actually written, but there was a Facebook
        12    account under that name at one stage.
        13               Q.      That belonged to you?
        14               A.      It actually belongs to Facebook if
        15    you read the terms of service and whatever else
        16    but I was the person who updated it, along with
        17    other staff members in my organization.
        18               Q.      Did you author the book "Satoshi's
        19    Vision" that was published in August 2019?
        20               A.      That was taken from various blogs
        21    and other things I had written and edited into
        22    that book.
        23                       (Off the record from 1.42 p.m.)
        24                       (On the record at 1.55 p.m.))
        25    BY MR. FREEDMAN:
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                                                                          Page 10
        1              Q.       Dr. Wright, Satoshi's Vision
        2    book -- sorry, but the echo is back.
        3                       (Off the record at 1.56 p.m.)
        4                       (On the record at 1.58 p.m.)
        5    BY MR. FREEDMAN:
        6              Q.       Satoshi's Vision book that you
        7    published ---
        8              A.       I did not publish it.
        9              Q.       Right.    Let me rephrase that.        The
       10    book was taken from various blogs and other things
       11    that you had written; is that correct?
       12              A.       That is correct.
       13              Q.       It was edited into that book; did
       14    you have an editor do that for you?
       15              A.       No, I did not.      Another person
       16    asked if they could use my blogs and create the
       17    book using those.       I said yes.
       18              Q.       Does the sum and substance of the
       19    book reflect your intent?
       20                       MR. RIVERO:     Object to the form.
       21    You may answer.
       22              A.       Very mildly.     It has been difficult
       23    to try to explain things to the average person.
       24    Bitcoin should not be a difficult topic, it is not
       25    magic internet money like some people say.             It is
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                                                                          Page 11
        1    basically a very simple system with an evidentiary
        2    trail attached.      But getting that through
        3    explanations without trying to use legal terms
        4    like following through mixtures or tracing or
        5    anything like this, in trying to get it to
        6    something that I can have understood by the
        7    general populous has proven difficult for for me.
        8                       JUDGE REINHARDT:       I noted that
        9    Mr. Rivero objected on form and there was a pause,
       10    I do not know if you were waiting me to rule.              Let
       11    me just make clear on the record, I will not be
       12    ruling on form objection, I will only rule on
       13    objections based upon relevance, scope or
       14    privilege.     So we are clear, if there is a form
       15    objection, continue as you ordinarily would.
       16                       MR. RIVERO:     Thank you, your Honor.
       17    Had you completed your questions, Mr. Freedman?
       18    BY MR. FREEDMAN:
       19              Q.       Thank you, your Honor.        No, I was
       20    going to go back and look at what it was.
       21    Dr. Wright, do you consider it to be your book?
       22                       MR. RIVERO:     Object to the form.
       23              A.       No, I do not consider it to be my
       24    book.    As I said, a third party edited blog pages
       25    that I had written into that book.           At present,
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                                                                            Page 12
        1    I am seeking a publisher for what will be my book.
        2    BY MR. FREEDMAN:
R       3              Q.       Have you gone around signing copies
        4    of that book?
        5              A.       I have signed copies of that book
        6    for
             for people, yes.
        7              Q.       Have you read that book?
        8              A.       I have read the blogs that made
        9    that book.     I wrote the blogs that made that book.
       10              Q.       Have you allowed the book to be
       11    marketed under your name?
       12              A.       I do not know what you mean by
       13    "marketed under my name".         There are people
       14    selling it, yes.       Am I getting paid for it?         No.
R      15              Q.       The cover of the book says
       16    "Satoshi's Vision, the art of Bitcoin".             Right
                                                                 Right
       17    underneath in big white block letters it says
       18    "Craig
              Craig Wright".      Did you authorize the use of your
                                                               your
       19    name on this book?
       20              A.       Yes, I did.     As I said, it is my
       21    blog posts, taken and edited into something else.
       22              Q.       Dr. Wright are you familiar with
       23    the website called "Craigwright.net"?
       24              A.       Yes.
       25              Q.       Did you write the contents in those
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                                                                          Page 13
R       1    audibles or did you pay someone to ghost write
        2    everything for you?
        3              A.       No, I write the content in those
        4    articles.      They come from my medium blog and then
        5    get loaded formally into that blog.
        6              Q.       Are you an administrator in a slot
        7    channel called Metanet ICU?
        8              A.       No.
        9              Q.       Under the ---
       10                       THE COURT REPORTER:       Repeat the
       11    question.
       12    BY MR. FREEDMAN:
       13              Q.       Are you an administrator in a slot
       14    channel called Metanet ICU under the screening
       15    CSW?
       16              A.       No.
       17              Q.       Are you an administrator in a slot
       18    channel called Metanet ICU?
       19                       MR. RIVERO:     I do not know what
       20    equipment you are using, but sometimes I do not
       21    know if it is diction or the transmission, it is a
       22    little bit hard to understand.          I am reading the
       23    transcript, the transcript says "slot channel".
       24              A.       Slack channel.
       25                       MR. RIVERO:     Could you enunciate
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                                                                          Page 14
        1    clearly, if you can?
        2    BY MR. FREEDMAN:
        3              Q.       Are you an administrator in a slack
        4    channel called Metanet ICU?
        5              A.       No, I am not an administrator in
        6    any slack channel.
        7                       MR. RIVERO:     Objection.     I do not
        8    know if you said "slag" or "slack" channel but I
        9    am watching the live feed and it says "slack
       10    channel".      I need to make sure these questions are
       11    understood and I am not hearing you well.             I do
       12    not know if you can speak slower and more clearly,
       13    I think that would help.
       14    BY MR. FREEDMAN:
       15              Q.       I can try, there are limitations
       16    doing this via video, I am still hearing myself
       17    echoing back, we are all trying to do our best,
       18    Mr. Rivero.
       19                       Dr. Wright, are you a member of the
       20    slack channel called Metanet ICU?
       21              A.       Yes.
       22              Q.       Do you use the screen name "CSW"?
       23              A.       I am not sure what my screen name
       24    is, but everyone knows who I am in the slack
       25    there.
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                                                                          Page 15
        1              Q.       Okay.    Dr. Wright, I am going to
        2    hand you -- we will get uploaded on to the
        3    computer there -- what I am going to call exhibit
        4    1.   For purposes the of the deposition, if a
        5    document has a Bates label I will identify it by
        6    the Bates label because I think getting everything
        7    to be kept track of is going to be very difficult.
        8    If it does not have a Bates label then I will give
        9    it an exhibit number.
       10                       Dr. Wright, if you can take a look
       11    at plaintiff's exhibit 1, on the share file?
       12            (Exhibit 1 marked for identification)
       13              Q.       Are you able to bring that up?
       14              A.       I am not but I believe people are
       15    doing it for me, yes.
       16              Q.       Do you have that in front of you?
       17              A.       Yes.
       18                       MR. RIVERO:     I want to make sure,
       19    does this have a photograph of Dr. Wright.
       20                       MR. FREEDMAN:      It does.
       21    BY MR. FREEDMAN:
       22              Q.       Is this the profile that you used
       23    in Metanet ICU?
       24              A.       Used no; use yes.
       25              Q.       You say that it says "work space
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                                                                           Page 16
         1    admin" under your picture?
         2              A.       I do.
         3              Q.       Are you an administrator of the
         4    slack channel ICU?
         5              A.       No, I am not, it is a work space.
         6    I do not manage people, I do not run the system,
         7    etc.

  R      8              Q.       Do you have other people comment
         9    under your name in Metanet ICU?
        10              A.       No, I do not.
        11              Q.       Only you comment as "CSW"?
        12              A.       To the best of my knowledge, yes.
        13              Q.       Dr. Wright, I am going to upload
        14    another document to the share file here.             It is a
        15    copy of an article that you wrote called "the
        16    story of Bitcoin continued" which you published on
        17    your blog Craigwright.net in February 2019.              When
        18    this populates, can you tell me if you recognize
        19    that article?
        20              (Exhibit 2 marked for identification)
        21              A.       Yes, I recognize that.
        22              Q.       In the final paragraph of that
        23    story, you say --
        24              A.       It is at the final paragraph.
        25              Q.       In the final paragraph you say:
R-H
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                                                                            Page 17
        1    "I am the issuer for Bitcoin"; do you see that?
R-H
        2              A.       Yes, it is correct.
        3              Q.       What does that mean "I am the
        4    issuer for Bitcoin"?
        5              A.       It means under the terms of law
        6    with issuance all Bitcoin were issued as of the
        7    launch of the system in January 9, 2009, I am the
        8    sole issuer.      All tokens, all 21 million times 100
        9    million individual tokens that existed, existed as
       10    of that date.      Bitcoin is not minted; Bitcoin is
       11    not recreated.      So there is one individual, not
       12    minus, not nodes as people call them, that created
       13    Bitcoins, that issued Bitcoins.           That is myself,
       14    with all of the legal ramifications that being an
       15    issuer of a source of money comes with.
       16              Q.       Some might argue with you and say
       17    that coins are issued by the majority; do you not
       18    agree with that statement?
       19                       MR. RIVERO:     Object to the form.
       20              A.       No, that would be basically false.
       21    The code itself has all of the coins issued.              If
       22    you read my original website that was issued back
       23    in January, or actually a little earlier, 2009,
       24    and the White Paper and the source code, you will
       25    see that coins are distributed.           The reason that
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        1    21 million Bitcoin, with all the associated token
        2    distribution, is set in stone, that cannot be
        3    changed is because the actual tokens are
        4    completely issued.       There is no way to change that
        5    without making a new system copying Bitcoin,
        6    copying the database and passing off as if it is a
        7    Bitcoin on a completely alternate system.             So, no,
        8    there is only one way to look at it.            If anyone
        9    tells you that it has been issued at each block,
       10    then they are either ignorant of the way Bitcoin
       11    works, or disingenuous and lying for an agenda, as
       12    many do, seeking to say that Bitcoin is about an
       13    antigovernment system.        Bitcoin was never
       14    antigovernment.
       15                       The reason they want this is
       16    because Bitcoin can be seized by government, not
       17    because of private keys. Once a judge knows public
       18    keys, a judge can order anything they want to
       19    happen to those and the nodes will follow.
       20    BY MR. FREEDMAN:
       21              Q.       Dr. Wright, there are some pretty
       22    knowledgeable people about Bitcoin that disagree
       23    with you and say that coins are issued by the
       24    majority?
       25                       MR. RIVERO:     Pause for a moment to
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                                                                          Page 19
        1    let me state an objection.         Object to the form.
        2    Go ahead and answer.
        3              A.       No, there are not some pretty
        4    knowledgeable about Bitcoin.          There are people
        5    like Erik Voorhees who was a convicted money
        6    launderer and securities fraudster, who was fined
        7    around $50,000 by the SEC for millions of dollars
        8    worth of profit.       Of course if you make millions
        9    of dollars worth of profit the last thing you will
       10    ever decide to do is quit because you get a
       11    $50,000 fine.      There are people who seek to
       12    facilitate crime, there are people who are funded
       13    by criminals, there are people running Ponzis and
       14    bucket shops.      There are people who seek to have a
       15    money that cannot be seized by the US government,
       16    by FATF Rules.      There are people who seek
       17    something, for instance the recent Irish case of
       18    €56 million that is being sought to be frozen on
       19    exchanges under proceeds of crime to not be
       20    seizable.      All of this happened, including people
       21    like Mr. Antonopoulos in 2011/2012 when they
       22    fought things like the alert key that I
       23    implemented to be able to freeze Bitcoin and
       24    fought to have it changed.         This came about after
       25    a person involved with Silk Road announced what
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        1    happens if I go to prison for ten years?             Will the
        2    government be able to seize my Bitcoin?             Will they
        3    be able to take it?       Since 2012 when that happened
        4    there has been a constant attack on what Bitcoin
        5    is seeking to change it into liberty reserve,
        6    E-gold and other criminal sources so that the
        7    American government, the British government, the
        8    European governments and others under FATF Rules
        9    cannot seize criminal proceeds, so, no, none of
       10    those people are knowledgeable and, if they are,
       11    they are disingenuous.
       12    BY MR. FREEDMAN:
       13              Q.       I asked if you try to keep answers
       14    in response to the question.          I know that you did
       15    touch on my question in that answer but there was
       16    a lot in there that was not necessarily
       17    responsive.     We have a lot to get through.          It
       18    would help both of us if you try to move it along.
       19              A.       Sorry, but I do not agree that that
       20    was not necessary.       I believe it was cogent and
       21    related.
       22              Q.       OK.   People say the coins issued by
       23    the majority falls into this category of the
       24    individuals you have just described?
       25                       THE COURT REPORTER:       Repeat the
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                                                                           Page 21
         1    question please.
         2              Q.       Never mind, strike the question.
 R-H     3    I am going to hand you what I am going to be
         4    marking as exhibit 3.        You forgot to label the
         5    previous blog exhibit 2.         This I am handing you
         6    what has been marked about exhibit 3?
         7            (Exhibit 3 marked for identification)
         8              Q.       Do you have that on the screen?
         9              A.       Yes.

R-H     10              Q.       Do you know what this is?
        11              A.       Yes, I know what it is.
                                                     is
        12              Q.       What is it?
        13              A.       It is a post about Bitcoin.         It was
        14    made in February 2009, shortly after I launched
        15    the platform.      The bit I would suspect that you
        16    are going to bring down is where I mentioned
        17    anonymity where I said people could be anonymous
        18    in that page.      In that I had just completed a law
        19    degree and believed that the meaning of
        20    "anonymous" was very simple which is "without name
        21    publicly".
        22                       MR. RIVERO:     Mr. Freedman has asked
        23    you that you address his question, and I would ask
        24    the same just to move this along.
        25                       A.     My apologies.
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                                                                            Page 22
         1    BY MR. FREEDMAN:

R-H      2              Q.       Let me break that down.        This is a
         3    post on the P2P Foundation; is that correct?
         4              A.       That is correct.
         5              Q.       It is a post by Satoshi Nakamoto;
         6    is that correct?
         7              A.       That is correct, which is me.
         8              Q.       Is it only you?
         9              A.       Yes, it is only me.
        10              Q.       I ask if you could scroll down to
        11    page 5 of 8, but actually if you could just go to
        12    4 of 8 and look at the top of page 5 of 8.             This
        13    is a post by Satoshi.        If you take a look at the
        14    second line from the top of that page, can you
        15    read me what Satoshi Nakamoto wrote?
        16              A.       Yes.   "You could say coins are
        17    issued by the majority.        They are issued in a
        18    limited, predetermined amount."           In that I made an
        19    error and people misunderstood me, which is not
        20    uncommon.
        21              Q.       Dr. Wright, you just said that you
        22    posted coins are issued by the majority.             Is that
        23    not right?
        24              A.       Yes.   At times I say things that
        25    are not clear.
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                                                                            Page 23
R-H     1              Q.       Are you ignorant, Dr. Wright, as
        2    you describe --
        3                       MR. RIVERO:                      form
                                                Objection to the form.
        4              A.       No, I am autistic, I have
        5                                                   not
             Asperger's and I am very much someone who does not
        6    clarify what I say.
        7    BY MR. FREEDMAN:
        8              Q.       Are you disingenuous?
        9              A.       No, and that would not be
       10    disingenuous.
       11              Q.       A moment ago you told me that if
       12    somebody says coins are issued by the majority
       13    they are either disingenuous or ignorant?
       14              A.       No, that is not what I said.          And
       15    what the comment said is that they are issued in a
       16    predefined or predetermined amount.            If they are
       17    predetermined that means it has already happened.
       18              Q.       Was this Dave posting this?
       19              A.       No, this was not Dave posting this.
                                                              this
       20    Dave never posted a Satoshi.          Dave never had the
       21    account, he never had the e-mail and he never had
       22    anything to do with this.         Dave would not be
       23    possible to post as this, as Dave was actually in
       24    hospital at the time this was posted.
       25              Q.       Dr. Wright, in early 2016 you met
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                                                                          Page 24
        1    with Gavin Andresen, do you recall that?
        2              A.       I met with him then, yes.
        3              Q.       Do you recall that during that
        4    meeting you were able to satisfy him that you were
        5    in fact Satoshi Nakamoto?
        6              A.       No.
        7              Q.       You do not recall that?
        8              A.       I had already satisfied him that I
        9    was a Satoshi Nakamoto before we had the meeting.
       10    He came out because I had satisfied him.
       11              Q.       One way or the other you were able
       12    to convince Gavin that you were Satoshi Nakamoto;
       13    is that correct?
       14              A.       That is correct.
       15              Q.       Dr. Wright, that meeting with Gavin
       16    Andresen was part of a broader effort of you
       17    coming out publicly as Satoshi Nakamoto, is that
       18    fair?
       19              A.       No, that is not fair.
       20              Q.       Why did you meet with Gavin
       21    Andresen?
       22              A.       I wanted to meet Gavin Andresen
       23    because Gavin had taken over and run the project
       24    for a time after I was off trying to experiment
       25    and ensure that I was correct in my assertions
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                                                                          Page 25
        1    about Bitcoin.
        2              Q.       Was there a time in early 2016 when
        3    you were preparing to come out publicly as Satoshi
        4    Nakamoto?
        5              A.       No, other people wanted me to come
        6    out as Satoshi Nakamoto, I did not.
        7              Q.       I did not ask if you wanted to do
        8    this, I just asked if there was a time when you
        9    were preparing to come out publicly as Satoshi
       10    Nakamoto?
       11                       MR. RIVERO:     Objection asked and
       12    answered you may answer.
       13              A.       Again you asked me if I was
       14    preparing and that would imply that I am seeking
       15    something.     My seeking something means that I am
       16    actively going out there and doing and if I am not
       17    preparing, if I do not want to do it, if I am not
       18    seeking to do something then I am not, by
       19    definition, preparing.        If other people are
       20    seeking to have me come out and I am seeking not
       21    to be then I am not, by definition of the word
       22    preparing, preparing.
       23    BY MR. FREEDMAN:
       24              Q.       Did you participate in meetings
R-H    25    toward you coming out as Satoshi Nakamoto?
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                                                                          Page 26
        1              A.                               other
                                I was in meetings where other
R-H     2    people wanted to promote me as Satoshi Nakamoto.
        3              Q.       Who were those people?
        4              A.       I have been in thousands of
        5    meetings, I have meetings every week, we currently
        6    have around 200 staff.        At the time we were
        7    setting up a new London office.           Who was in
        8    meetings?      I am sorry, without any particular
        9    notes, I am not able to answer you.
       10              Q.       Let me be a little more precise.
       11    Who were the people that wanted you or the primary
       12    -- let me phrase it this way because I know you
       13    are a very particular person with your words:              who
       14    were the primary people that were behind this
       15    effort to have you come out publicly as Satoshi
       16    Nakamoto?
       17              A.       There were multiple things trying
       18    to get me out as Satoshi Nakamoto.           The first one
       19    I know about was something called Project
       20    Prometheus, Uyen Nguyen, Ian Greig and others.
       21              Q.       Dr. Wright, let me be careful about
       22    my timeframe, I am talking about in early 2016.
       23    We were discussing people in early 2016.             My
       24    question to you is: in early 2016 who are the
       25    primary people that arranged these meetings that
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                                                                          Page 27
        1    you attended, who were the ones that wanted you to
        2    come out as Satoshi Nakamoto?
        3              A.       You are again asking me who wanted
        4    me to come out.      There were multiple people,
        5    multiple things happening.         All of this happened
        6    because of things in 2015 and 2016.            Mr. Greig and
        7    others in 2016 were arranging things.            Uyen Nguyen
        8    in 2016 were arranging things.          If you let me
        9    finish, I will say the different groups; would you
       10    like me to continue?
       11              Q.       I really just want you to answer
       12    that one little question.         I am having difficulty
       13    in understanding where the disconnect between you
       14    and I is because I think it is a simple question.
       15    Let me try to be more precise.          In early 2016, you
       16    were in correspondence with a gentleman called
       17    Stefan Matthews; is that correct?
       18              A.       I am in correspondence with him
       19    now, I was in 2007, and I have been between that
       20    entire period.
       21              Q.       The answer to my question is just
       22    yes, you were in contact with Stefan Matthews in
       23    early 2016?
       24                       MR. RIVERO:     We have stipulated
       25    that Dr. Wright was in communication with
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                                                                          Page 28
        1    Mr. Matthews in 2016.        Next question, please.
        2                       MR. FREEDMAN: Mr. Rivero, I would
        3    ask that you do not do that.          This is a
        4    deposition.
        5                       MR. RIVERO:     Mr. Freedman, he has
        6    just answered the question.         I am trying to move
        7    this along.     We will stipulate that as a fact.
        8    For the record, please ask the next question.
        9    BY MR. FREEDMAN:
       10              Q.       Did Stefan Matthews want you to
       11    come out as Satoshi Nakamoto in early 2016?
       12              A.       To my knowledge, no.
       13              Q.       Were you in touch with Calvin Ayre
       14    in early 2016?
       15              A.       Calvin Ayre was my mentor but, no,
       16    I was not in talks in that manner with Calvin Ayre
       17    about this.
       18              Q.       I did not add the words, I know you
       19    are very precise with words so I am going to ask
       20    my question again, were you in touch with Calvin
       21    Ayre in early 2016?
       22              A.       Yes, again, yes, Calvin was my
       23    mentor.
       24              Q.       And did Calvin want you to come out
       25    as Satoshi Nakamoto in early 2016?
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                                                                          Page 29
        1              A.       No.
R       2              Q.       Were you in touch with Robert
        3    McGregor in early 2016?
        4              A.       Yes.
        5              Q.       Did Robert McGregor want you to
        6    come out as Satoshi Nakamoto?
        7              A.       Unfortunately, yes.
        8              Q.       Did Robert McGregor make
        9    arrangements for that to happen?
       10              A.       Yes.
       11              Q.       Did Robert McGregor hire PR
       12    consultants to help co-ordinate precedents to
       13    facilitate you coming out as Satoshi Nakamoto?
       14              A.       Yes.
       15              Q.       Do you recall whether you retained
       16    an organization called the "Outside Organization"?
       17              A.       I do not know if it was him or a
       18    group he was associated with.
       19              Q.       Somebody retained the Outside
       20    Organization to help facilitate this press
       21    release?
       22              A.       Yes.
       23              Q.       Do you recall specifically a
       24    gentleman called Nick Caley from the Outside
       25    Organization -- C A L E Y?
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                                                                           Page 30
         1              A.       No.
         2              Q.       I am going to hand you what has
         3    been produced in this litigation by you as the
         4    defense 52366?
         5                       MR. RIVERO:     Is that the 6-page
         6    document ES0052366?
         7                       MR. FREEDMAN:      Yes.
         8    BY MR. FREEDMAN:
         9              Q.       Dr. Wright, do you have that in
        10    front of you?
        11              A.       Yes.

R-H     12              Q.       Do you recognize this an e-mail
        13    from you to Victoria Brookes?
        14              A.       That is what it is.
        15              Q.       There is a CC to a bunch of other
        16    folks?
        17              A.       I can see it is CCed to other
        18    people, yes.
        19              Q.       The last name on that line is Nick
        20    Caley, do you see that?
        21              A.       Yes.
        22              Q.       You wrote "great work"?
        23              A.       Yes.
        24              Q.       And if you look down below you are
        25    responding to an e-mail from Victoria Brookes; is
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                                                                           Page 31
         1    that not right?
         2              A.       Yes.
         3              Q.       If you look right underneath that
         4    do you see the first bracket it says "press team
         5    Alan Edwards, Nick Caley, Victoria Brookes, all
         6    working on Monday"?
         7              A.       Yes.
R-H      8              Q.       Nick Caley was a member of the
         9    press team that was hired for this press release;
        10    isn't that a true statement?
        11              A.       I do not know.
        12              Q.       Do you have reason to doubt this
        13    e-mail is true or real?
        14              A.       That is a separate question.
        15              Q.       Do you have reason to doubt it is
        16    real?
              real?
        17              A.       Not at the moment, no.
        18              Q.       Is it a fair assumption that Nick
        19    Caley was a member of the press team?
        20                       MR. RIVERO:     Objection to the form.
        21              A.       I am not going to make assumptions,
        22    I do not know.
        23    BY MR. FREEDMAN:
        24              Q.       Do you remember if Nick Caley was
        25    involved in strategic decisions related to coming
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                                                                            Page 32
          1    out as Satoshi Nakamoto?
          2              A.       I do not know who Nick Caley is,
          3    I do not remember him.
          4              Q.       I am going to populate to the share
R-H
          5    file, Dr. Wright, what you produced in this
          6    litigation as defense 52129.
          7              A.       I can see it but it needs to be
          8    zoomed in.
          9                       MR. RIVERO:     I heard 52169 but I am
         10    seeing 52129.
         11                       MR. FREEDMAN:      52139, thank you for
         12    clarifying that.
R-H
         13              (Exhibit Defense 52139 marked for
         14    identification)
         15    BY MR. FREEDMAN:
         16              Q.       Is it zoomed in?
         17              A.       Yes, it is now.
         18              Q.       This is an e-mail from you to
 R-H
         19    Stefan Matthews?
         20              A.       Yes.
         21              Q.       CCed to, amongst other people,
         22
                         A.       It is a reply all with those other
         24    people on it, yes.
         25              Q.       In it you say:      "The people working
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                                                                          Page 33
        1    for ethereum and blockchain are the ones trying as
        2    hard as they can to ensure that Satoshi remains
        3    dead.    I really think that the last thing we need
        4    to do is have them involved right now.            Offering
        5    them a platform is a risk that I see no upside to.
        6    Craig"; do you see that?
        7              A.       I see that.
        8              Q.       You are here discussing if you look
        9    on the e-mail underneath that, you are discussing
       10    whether or not it will be work involved Nick Szabo
       11    into the efforts to come out as Satoshi Nakamoto,
       12    is that fair?
       13                       MR. RIVERO:     Objection to the form.
       14              A.       No, that was not what I was
       15    discussing.
       16    BY MR. FREEDMAN:
       17              Q.       What were you discussing?
       18              A.       Basically there are a lot of other
       19    people who wanted to invite Nick Szabo and Vitalik
       20    Buterin and others to work with me which I thought
       21    was a terrible idea.
       22              Q.       Can you take a look at Stefan
       23    Matthews' e-mail from March 2016 at March 9.29
       24    a.m., it says: "We also will have a potential
       25    reveal with Nick Szabo that could involve Andrew?
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                                                                          Page 34
        1              A.       Hmm hmm.
        2              Q.       You were talking about involving
        3    Nick Szabo in your coming out as Satoshi Nakamoto,
        4    were you not?
        5              A.       No, I was not, nor does that say
        6    that I was, that is Stefan talking to other
        7    people.
        8              Q.       And you are responding to that, is
        9    that not right?
       10              A.       That is me, on receiving it, saying
       11    I do not want anything to do with Nick Szabo.
       12              Q.       You involve Mr. Caley in these
       13    communications?
       14              A.       Sorry, I did not hear the question.
       15                       MR. RIVERO:     Object to the form.
       16    BY MR. FREEDMAN:
       17              Q.       You involved Mr. Caley in these
       18    communications; is that fair?
       19              A.       I hit "reply all", I have no idea
       20    who Mr. Caley is.
       21                       MR. RIVERO:     Sorry, I want to make
       22    sure there was an objection that I stated before
       23    that question.      I know that there was some
       24    over-talk, sorry about that.
       25    BY MR. FREEDMAN:
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                                                                            Page 35
R-H       1              Q.       I am going to hand you -- upload
          2    into the share file what you produced in this
          3                                                    a
               litigation as defense 52143; please take a look at
          4    that e-mail when it populates.
          5              (Exhibit marked for identification)
          6              Q.       Is it zoomed in for you?
          7              A.       Yes, it is.
R-H       8              Q.       Is it fair to say this is another
          9    e-mail from you with a CC to Nick Caley?
         10              A.       Again, it is a "reply all".
         11              Q.       Again you are discussing no to
         12    Nick, no to Maxwell, no to any of the people
         13    working for firms that are opposed to do what "we
         14    are doing"?
         15              A.       Yes, as I said, what I was saying
         16    is there is no way on earth I wanted to have
         17    anything to do with Nick Szabo or Greg Maxwell or
         18    Vitalik Buterin, or any of these people who seek
         19    to have a version of Bitcoin that acts outside of
         20    government control, so correct.

R-H      21              Q.       Dr. Wright, I am going to upload
         22    into the share file what you produced as the
         23    defense 52146.
         24              (Exhibit Defense 52146 marked for
         25    identification)
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                                                                           Page 36
R-H      1               A.      I can see that.
         2               Q.      It starts at the bottom of the
         3    e-mail chain with an e-mail from you that
         4    discusses leaks.       It relates to a thread about
         5    Craig Wright being a Nigerian prince; do you see
         6    that?
         7               A.      I see that.
         8               Q.      Alan Edwards from the Outside
         9    Organization responds to that e-mail that this
        10    kind of docket(?) is not helpful; do you see that?
        11              A.       Yes, we had another hack in the
        12    organization and I responded saying that I did not
        13    want -- again, documents were being hacked and
        14    leaked in our organization, and I sent it round
        15    for someone to do something.
        16                       MR. RIVERO:     Mr. Freedman, it is
        17    not an issue, I do not really care, if you are
        18    going to rely on links, which I do not think you
        19    are doing here, for the future please make sure
        20    that we are able to access the link.            I do not
        21    want to interfere; just keep going.
        22                       MR. FREEDMAN:      Then Dr. Wright you
        23    respond saying "yes, but this is more than
        24    gossip".
        25              A.       Yes, there are leaks.        There are
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                                                                           Page 37
         1    people actually putting out internal documentation
         2    from the organization and posting it on "read it";
         3    that is not a leak -- that is not gossip, that is
         4    a leak.
         5              Q.       Then Mr. Matthews responds saying
         6    that it might be involving Uyen Nguyen, is that
         7    fair?
         8              A.       That is what he said, yes.
         9              Q.       Then your wife, Ramona Watts,
        10    responds saying that:        "Staff do not know what we
        11    discussed in our media meetings."           Addressed
        12    Craig, "you think Nick is a concern, approach and
        13    knowledge of the company...(reads to the
        14    words)...related."       Do you see that in the e-mail?
        15              A.       I can see that in the e-mail.
        16              Q.       Do you see that Ms Watts CC's Nick
        17    Caley again in what was a concern that you had
        18    about coming out as Satoshi Nakamoto?
        19              A.       I see once again someone who I do
        20    not know CCed on a general CC.

R-H     21              Q.       Dr. Wright, I am going to upload
                                                           upload
        22    what you produce in this litigation as defense
        23    52148?
        24              (Exhibit Defense 52148 marked for
        25    identification)
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                                                                           Page 38
R-H      1              A.       That is on the screen.
         2              Q.       Do you recognize there is an e-mail
         3    from you?
         4              A.       Yes.
         5              Q.       Again, do you see to Nick Caley?
         6              A.       Again, it is once again just a
         7    general expanded group.
         8              Q.       And this is a discussion you had
         9    about whether or not to involve certain
        10    individuals in your plan, is that fair?
        11              A.       No, that is not fair.
        12              Q.       What is it then?
        13                       MR. RIVERO:     Object to the form.
        14              A.       Two points.     (1) You said "this is
        15    my plan".      As stated, I had no plan to come out
        16    and I had actually been fighting this.            And (2)
        17    you are looking at something where I am not
        18    talking about a plan, I am talking about saying
        19    I will not deal with these other people that Rob
        20    had as a plan.      On both points, I disagree.
        21    BY MR. FREEDMAN:
        22              Q.       This involves you coming out as
        23    Satoshi, not your plan, is that fair?
        24              A.       This involves what other people had
        25    sought to do with the company.
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                                                                          Page 39
        1              Q.       Do you see the paragraph where you
        2    say ---
        3                       MR. RIVERO:     Mr. Freedman, I am
        4    sorry, the sound quality just suddenly
        5    deteriorated over the last question and answer to
        6    the point I cannot understand.          I am not sure what
        7    is going on.
        8                       MR. FREEDMAN:      Is it better now?
        9                       MR. RIVERO:     I did not hear
       10    anything of the last question, it is fine right
       11    now.
       12    BY MR. FREEDMAN:
       13              Q.       Do you see in the paragraph that
       14    says:    "We addressed talking to Nick Szabo"; do
       15    you see that paragraph?
       16              A.       Yes, which is where basically I am
       17    using "we" in the royal we, where I am telling
       18    people:    I told you basically I am not dealing
       19    with Nick Szabo.       "We addressed" is my talking to
       20    you and my saying I am not dealing with Nick Szabo
       21    or Gregory Maxwell.
       22              Q.       Do you see in the second line of
       23    that paragraph the sentence that begins:             "Our
       24    plan should involve how we ensure that these
       25    people in these companies do not...(reads to the
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                                                                          Page 40
        1    words)...against us."
        2              A.       Yes, this is not a media plan, this
        3    is a corporate plan.        You are confounding the two.
        4    Rob wanted a media plan, where he would quickly
        5    sell off nChain, I, on the other hand, as I am
        6    doing now, to build over decades intellectual
        7    property and systems and slowly, profitably build
        8    a company so we had a distinct difference in
        9    plans, leading to Rob's leaving the organization.
       10              Q.       Let me show you what you produce in
       11    this litigation as defense 172557?
       12              (Exhibit Defense 72557 marked for
       13    identification)
       14              A.       Yes, I can see that now.
       15              Q.       This is, if you go to the bottom,
       16    the first e-mail is an April 1st e-mail from Nick
       17    Caley talking about the Financial Times story
       18    entitled "Craig Wright Upcoming Big Reveal", not a
       19    Financial Times story, a story entitled "Craig
       20    Wright Upcoming Big Reveal --
       21                       MR. RIVERO:     I am needing to read
       22    the e-mail -- one moment, please.           The sound
       23    quality is poor.       I need to read the question.         Is
       24    the sound quality on the other lines the same or
       25    poor?
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                                                                          Page 41
        1              A.       The quality here is fine.
        2                       MR. RIVERO:     Thanks, I will do my
        3    best.
        4    BY MR. FREEDMAN:
        5              Q.       Do you see where it says at the
        6    bottom there is an e-mail from Nick Caley,
        7    referencing a story at the Alpha Mill blog
        8    entitled "Craig Wright Upcoming Big Reveal."
        9              A.       Yes, I see where Nick was talking
       10    to people and I see that they were trying to
       11    manage me.     As you have guessed, I am not always
       12    the calmest person in all situations.
       13              Q.       Stefan Matthews responds to Nick
       14    about that, right?
       15              A.       That is what it appears to be.
       16    I can't read Stefan's thing there, I am assuming
       17    that is Stefan@mcrypt.
       18              Q.       Nick responds back to Stefan,
       19    right?
       20              A.       Is that above?      Can you scroll up,
       21    please?    Yes, he responds without my being on the
       22    communication chain, that is correct.
       23              Q.       Then Robert McGregor forwards that
       24    to you and your wife, Ms Watts, and Stefan
       25    Matthews and asks for a quick call in 90 minutes,
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                                                                          Page 42
        1    is that fair?
        2              A.       He forwarded it, I do not know if I
        3    saw it, I do not see everything on my phone.              The
        4    way Google works is that it does not scroll down
        5    all the other things, so all I would have seen is
        6    that there would have been a response from another
        7    e-mail.    So, what I can say is Robert McGregor
        8    forwarded me an e-mail saying he wanted a quick
        9    call in 90 minutes.
       10              Q.       Dr. Wright, all I asked you is: did
       11    Robert McGregor forward that to you?            I know you
       12    are very precise with words, so I am being just as
       13    precise with the questions I am asking you.              It is
       14    a true statement that Robert McGregor forwarded
       15    this e-mail to you?
       16              A.       Yes, it is a true statement that
       17    that top section there, with the comment about a
       18    quick call, was forwarded to me.
       19              Q.       Thank you, Dr. Wright.        I am
       20    handing you, or uploading into the share file what
       21    has been Bates labeled and produced by you as
       22    Defense 52372?
       23              (Exhibit Defense 52372 marked for
       24    identification)
       25              A.       Yes, I see that.
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                                                                           Page 43
        1              Q.       Can you scroll down with me to the
        2    first e-mail in the chain down the bottom of the
        3    first page from Victoria Brookes on April 29,
        4    2016, let me know when you see that?
        5              A.       The Victoria "hi all" you mean?
        6              Q.       Yes, if you just take a moment to
        7    scan that e-mail so you are familiar with it.
        8                       MR. RIVERO:     Mr. Freedman, are you
        9    referring to a multipage e-mail that starts 57372
       10    at the bottom saying "Hi all".
       11    BY MR. FREEDMAN:
       12              Q.       Yes.   This appears to layout a
       13    schedule of interviews where you would be
       14    fulfilling Robert McGregor's plan for you to come
       15    out as Satoshi Nakamoto; is that fair?
       16              A.       No, that is not fair.
       17              Q.       What was it you were supposed to do
       18    at 7.30 a.m. in London on 2 May 2016?
       19              A.       You are assuming that I had been
       20    told all of what they had planned to happened,
       21    that is not the case.        What was happening under
       22    what Rob was planning and putting together and
       23    what actually I was told, they thought they could
       24    manage me and have me do what they wanted.             That
       25    did not work out.
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                                                                           Page 44
         1              Q.       Dr. Wright, all I asked you is that
         2    this appears to be the plan Robert McGregor wanted
         3    you to follow out to come out as Satoshi Nakamoto.
         4              A.       No, that is not what you asked me.
         5                       MR. RIVERO:     Object, misstates the
         6    question previously stated.
         7                       Mr. Freedman, I suggest that you
         8    ask another question.
         9    BY MR. FREEDMAN:
        10              Q.       Thank you for that suggestion.
        11    Dr. Wright, let me rephrase the question that I
        12    just asked you again.        Does this appear to be the
        13    plan that Robert McGregor wanted you to follow to
        14    come out as Satoshi Nakamoto?
        15              A.       I cannot answer that because I was
        16    not involved in the plan that Mr. McGregor wanted
        17    me to do.      If I am not involved in the plan,
        18    I cannot say that this is the plan.
        19              Q.       Does this lay out a series of
        20    interviews that you were intended by some people
        21    to attend?
        22              A.       I cannot speak for the intentions
        23    of other people.
R-H     24              Q.       You did not have any conversations
        25    with Robert McGregor about what he wanted you to
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                                                                          Page 45
        1    do?
R-H
        2              A.       I did.    I told Robert to stick it
        3    up his arse, to quote fairly correctly.
        4              Q.       During that conversation when you
        5    told Robert McGregor that did he not express what
        6    he wanted you to do?
        7              A.       Robert and I yelled at each other
        8    for quite some time.
R-H     9              Q.       Is this
                                   this the schedule of interviews
       10    of you by
                    b various media?
                              media?
       11                       MR. RIVERO:     Object to the form.
       12              A.       Media interviews were put together,
 R-H
       13    which I was led to believe would be for a
       14    different purpose.
       15              Q.       This is a list of some of those
                                                          those
       16    interviews that were put together?
       17              A.       This is a list of interviews
       18    I attended.
       19              Q.       Okay.    Above that do you see Ms
       20    Watts responds to Ms Brookes?
       21              A.       Yes.
       22              Q.       She says:     "Thanks for this, it all
       23    reads really well ...(reads to the words)...the
       24    wider media will be appearing on Monday, as well
       25    as the actual articles".         Does this describe the
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                                                                           Page 46
        1    press release that we have been discussing of you
        2    coming out as Satoshi Nakamoto, is that fair?
        3              A.       Again, that is not fair.         You are
        4    mischaracterizing the situation.
        5              Q.       What press release is Ms Watts
        6    referring to?
        7              A.       We had been given information that
        8    was not the same as what we were given.             Both
        9    Ramona and I were not in London when all this was
       10    being decided.      As you will see from her e-mail we
       11    were traveling back from overseas with our
       12    children.
       13              Q.       Who responds to -- strike that.          Ms
       14    Watts is concerned about the public nature of the
       15    press release while you are traveling, is that
       16    fair?
       17              A.       I do not know if I would use the
       18    word "fair".      Do you want me to say "is it
       19    accurate"?
       20              Q.       Sure, accurate is okay; is it
       21    accurate?
       22              A.       Yes.
       23              Q.       You were planning, this was going
       24    to be a pretty big news, right?
       25              A.       That is not what it says.         Again,
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                                                                            Page 47
        1    you are mischaracterizing.         That not saying ---
        2               Q.      Let me clarify the question.          Was
        3    this going to be big news?
        4               A.      It ended up as big news, that is
        5    not what I was led to believe it was.
        6               Q.      Why was Ms Watts concerned about
        7    the thing that would not be big news coming out?
        8               A.      Because we had lots of things going
        9    on at the time.
       10              Q.       Ms Watts says that she is concerned
       11    that issuing a very public press release like that
       12    may be an issue with parents.          What is the very
       13    public press release that would cause an issue of
       14    parents?
       15              A.       If we are going on about my
       16    involvement with Bitcoin, which most people at the
       17    time basically tagged together with Silk Road, we
       18    had children in private schools in the UK.             We did
       19    not want parents thinking my children were
       20    associated with drug money or anything like this.
       21    That is an issue.       Any press release in the UK
       22    would thus be an issue.
       23              Q.       So would it be accurate to say Ms
       24    Watts is asking whether or not this press release
       25    can be delayed slightly?
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                                                                          Page 48
        1              A.       So, she is saying if any press
        2    release, yes, after we have arrived in London and
        3    the children are safe and we have discussed it, so
        4    ----
        5              Q.       So she is asking about whether or
        6    not the press release can be delayed, is that
        7    fair?
        8              A.       I would have to talk to her, but
        9    that is what it would appear to be me.
       10              Q.       Nick Caley responds, right?
       11              A.       Assuming this is correct, I have
       12    not seen this e-mail before, so I am assuming it
       13    is valid.
       14              Q.       It was sent to you via CC, it says
       15    Craig; you did not read it you are saying?
       16              A.       I did not read it, no.
       17              Q.       He says he understands her concern
       18    and that they really do not want to delay the
       19    press release, is that an accurate and fair
       20    characterization of the e-mail?
       21              A.       I will just read it, sorry.         It
       22    would seem that he was not going to delay a press
       23    release, even though we did not want the press
       24    release to go ahead.
       25              Q.       Okay.    He was not going to go over
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                                                                          Page 49
        1    the press release.        Dr. Wright, you produced in
        2    this litigation defense 52372?
        3              (Exhibit Defense 722110 marked for
        4    identification)
        5                       Q.     Sorry, we had that already,
        6    722110.
        7                       MR. COHEN:     We have been going for
        8    almost two hours, albeit with some technical
        9    issues.    I wonder whether, at the end of this
       10    exhibit, which you are about to show, that would
       11    be an opportune time to take a recess.
       12                         Q. Yes, if Dr. Wright is able,
       13    I have two more exhibits then we can take a break,
       14    but if he needs one now I am happy to stop now.
       15    Are you able to carry on?
       16              A.       I am able, unless anyone wants to
       17    stop.    We will do the extra two exhibits.
       18              Q.       Do you have defense 722110 in front
       19    of you?
       20              A.       Yes.
       21              Q.       This is an e-mail from Robert
       22    McGregor to Ramona Watts and Stefan Matthews and
       23    yourself, Craig@nCrypt?
       24              A.       It is to Craig@nCrypt, yes,
       25    although the name is wrong.
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                                                                          Page 50
        1              Q.       He is forwarding you feedback about
        2    a story that is being run, is that fair?
        3              A.       Again, I would not characterize
        4    that as being fair.       The word is not fair.
        5              Q.       Accurate?
        6              A.       Thank you.
        7              Q.       Is it accurate?
        8              A.       That is an accurate portrayal of
        9    what is said in the e-mail, yes.
       10              Q.       I am now going to upload defense
       11    172559
       12              (Exhibit Defense 172559 marked for
       13    identification)
       14              Q.       Do you have that?
       15              A.       I am just waiting, sorry.
       16    Technology! If you could zoom in please.             Thank
       17    you.    I have that.
       18              Q.       Do you have that in front of you?
       19              A.       I have that in front of me.
       20              Q.       This is an e-mail from Stefan
       21    Matthews to you CCed to Ms Watts, do you see that?
       22              A.       I see that.
       23              Q.       It is a copy of a press release?
       24              A.       It is not ----
       25              Q.       Is that accurate?
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                                                                            Page 51
        1              A.       No.
        2              Q.       Take a look at the e-mail below,
        3    e-mail forwarded from Nick Caley?
        4                       MR. RIVERO:     I have an objection to
        5    this document as incomplete because the
        6    attachments -- I do not see the attachments.              Go
        7    ahead.
        8    BY MR. FREEDMAN:
        9              Q.       He was not produced it with an
       10    attachment, it was produced in litigation?
       11                       MR. RIVERO:     I still have the same
       12    objection.
       13    BY MR. FREEDMAN:
       14              Q.       Do you see that this is an e-mail
       15    from Nick Caley and it says "thanks for your
       16    feedback, please find updated release with the
       17    changes we discussed."
       18              A.       I see that Stefan has responded to
       19    an e-mail from Nick Caley, that I will assume is
       20    what he responded to.
       21              Q.       He actually forwarded right, would
       22    that be accurate?
       23              A.       A forward is a form of response,
       24    yes, I did not say reply.
       25              Q.       He forward --
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                                                                          Page 52
        1                       MR. RIVERO:     Mr. Freedman, I am
        2    going to restate my objection with more
        3    specificity, this is not a complete document as
        4    produced.      I object to its use in this form.
        5    Please proceed.
        6    BY MR. FREEDMAN:
        7              Q.       And there is an attachment to this
        8    e-mail listed right below the subject, right?
        9              A.       There is a comment saying that
       10    there is an attachment, I do not know if there is
       11    an attachment.
       12              Q.       The comments of the attachment is
       13    called "Inventor of Bitcoin goes public as Dr.
       14    Craig Wright", is that fair?
       15              A.       No, because I do not have the
       16    attachment.
       17              Q.       Accurate.     I am not asking you
       18    about the attachment, asking whether the e-mail
       19    has an indication on it that there was an
       20    attachment entitled "Inventor of Bitcoin goes
       21    public as Dr. Craig Wright." Is that an accurate
       22    representation of what you are looking at?
       23              A.       No.
       24              Q.       What is inaccurate about it?
       25              A.       It is file name, that is not what
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                                                                          Page 53
        1    the title of the document may necessarily be.              You
        2    would have to open the document to see the title,
        3    so, no, that is a file name called that doc.x.
        4              Q.       Stefan Matthews forwarded you an
        5    e-mail which has the file name "Inventor of
        6    Bitcoin goes public as Dr. Craig Wright"; is that
        7    fair -- accurate?
        8                       MR. RIVERO:     Object to all
        9    questions on this document based on the rule of
       10    completeness.
       11    BY MR. FREEDMAN:
       12              Q.       Your objection is noted for the
       13    third time now, Mr. Rivero.
       14                       MR. RIVERO:     I wanted to make sure.
       15    BY MR. FREEDMAN:
       16              Q.       Dr. Wright, you may answer the
       17    question.
       18              A.       Again without seeing the actual
       19    file, I cannot say whether that is even just
       20    something typed saying "attachments".            It is
       21    possible to type attachments in that name.
       22              Q.       Dr. Wright, do you have reason to
       23    believe that Stefan Matthews would type an
       24    attachment that was not really on the e-mail?
       25              A.       He has done it before, yes.
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                                                                          Page 54
        1              Q.       Stefan Matthews sent you an e-mail
        2    that appears to indicate that there is a file
        3    attached with the name "Inventor of Bitcoin goes
        4    public as Dr. Craig Wright"; is that accurate?
        5              A.       That appears to be that as
        6    displayed on screen, yes.
        7              Q.       He says to you:      "Hi mate, ponder
        8    this and we can discuss and submit changes on
        9    Sunday"; is that accurate?
       10              A.       Is that a question?       If so, yes.
       11              Q.       Dr. Wright, let us upload the
       12    attachment to the share file that was attached to
       13    that e-mail.      I think that is defense 172560?
       14                       MR. RIVERO:     The very next Bates
       15    number, yes.
       16    (Exhibit Defense 1729560 marked for
       17    identification)
       18                       MR. RIVERO:     For the record, this
       19    was produced incomplete as a new exhibit.
       20    BY MR. FREEDMAN:
       21              Q.       We are trying to get it up.         The
       22    technology is not co-operating.           Shall we take the
       23    break.
       24              (A short recess from 3.03 p.m. to 3.16
       25    p.m.)
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                                                                          Page 55
        1    BY MR. FREEDMAN:
        2              Q.       Before the break we were looking at
        3    an e-mail that had been forwarded to you by Stefan
        4    Matthews with an attachment; is that accurate?
        5              A.       I see an attachment.        I am assuming
        6    it is the same one that you are saying is on the
        7    e-mail.
        8              Q.       Right.    It the titled "leading
        9    scientist and academic, Dr. Wright, goes public as
       10    the inventor of Bitcoin and the blockchain"?
       11              A.       That is what the title is.
       12              Q.       Clearly a press release to fulfil
       13    Robert McGregor's plan to come out as Satoshi
       14    Nakamoto?
       15              A.       It is not a press release, it is a
       16    document.      It does not say "press release" or
       17    anything else.      It is potentially something that
       18    could be made into a press release.
       19              Q.       The title of the e-mail that this
       20    was attached to is "updated press release", right,
       21    Dr. Wright?
       22              A.       No, the title is "leading scientist
       23    and academic..."
       24              Q.       It was attached to defense 172559,
       25    which is an e-mail from Stefan Matthews to you
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                                                                          Page 56
        1    with the subject "forward updated press release";
        2    is that accurate?
        3              A.       Again, I cannot say whether that is
        4    true.    I do not have the original e-mail so
        5    I cannot respond on that.
        6              Q.       You produce this to us with this
        7    e-mail having that attachment; have you any reason
        8    to doubt that?
        9              A.       I did not produce it, it was a
       10    forensic copy of machines from various areas that
       11    were given to my lawyers; my lawyers produced it.
       12    Where you are saying I produced, I have not
       13    produced anything.       My lawyers have worked with
       14    forensic experts to capture all of the machines
       15    that are owned by myself, by many of my staff and
       16    others and then have submitted documents based on
       17    that.
       18              Q.       So you do not know whether this is
       19    a press release or not?
       20              A.       I do not know of that alone whether
       21    this is a press release or not.
       22              Q.       Okay.    Okay, I am --
       23                       MR. RIVERO:     Just to make sure the
       24    record is clear because I objected previously.              We
       25    produced in consecutive order these ending in 59
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                                                                          Page 57
        1    and 60 and they speak for themselves.
        2    BY MR. FREEDMAN:
        3              Q.       Dr. Wright, I am uploading to the
R-H
        4    share file what you produced as 172753?
        5              (Exhibit Defense 172753 referred to)
        6                       MR. RIVERO:     April 26, 2016.
        7              A.       I have a document in front of me,
        8    yes.
        9    BY MR. FREEDMAN:
       10              Q.       The front page says "Dr. Craig
       11    Wright media training"?
       12              A.       I see that.
       13              Q.       Second page "media training notes",
                                                            notes"
       14    do you see that?
       15              A.       I see that.
       16              Q.       If you go down to page 7 for me,
       17    top of page 7 there is "Tuesday 26 April 2016
       18    media sessions", do you see that?
       19              A.       I see "26 April media sessions".
       20              Q.       Below that is a list of media
       21    sessions, do you see that?
       22              A.       No, I see times when I was
       23    overseas, so "meeting interview on camera etc.,
       24    27th April", I do not know if that date is correct
       25    or not, it may have been updated.           I do not think
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                                                                          Page 58
        1    it was off recollection.
        2              Q.       It says: "Attending Dr. Craig
        3    Wright, Jon Matonis, Nick Caley, Andrew O'Hagan"?
        4              A.       Yes, I see that comment.
        5              Q.       Do you see The Economist on 11.30
        6    attended Dr. Craig Wright, Jon Matonis, Nick Caley
        7    and Andrew O'Hagan?
        8              A.       I see that document says this.
        9              Q.       There is a break for lunch from
       10    12.30 to 13.00?
       11              A.       No, I see there is a statement in a
       12    document that says that.         That is not a break for
       13    lunch, it is a ---
       14              Q.       There is then an -- sorry, are you
       15    finished?
       16              A.       I am now.
       17              Q.       There is then an interview with GQ
       18    from 13:00 to 16:00; do you see that?
       19              A.       I see that.
       20              Q.       Again attending Dr. Craig Wright,
       21    Jon Matonis and Nick Caley?
       22              A.       Yes.
       23              Q.       Do you still not remember Nick
       24    Caley, Dr. Wright?
       25                       MR. RIVERO:     Object to the form.
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                                                                          Page 59
        1              A.       Once again, after this meeting
        2    I have met many people here and even there had
        3    been a multiple times I will not remember them.
        4    One of the things I have is facial aphasia and
        5    that means I do not recognize people.
        6    BY MR. FREEDMAN:
        7              Q.       It is a yes or no question?
        8                       MR. RIVERO:     Mr. Freedman, please
        9    do not interrupt the witness in the middle of an
       10    answer.    He was not finished with that answer.
       11    BY MR. FREEDMAN:
       12              Q.       Please finish.
       13              A.       That is not a yes or no question
       14    and answer.     You are wanting me to make it a yes
       15    or no question and answer.         My answer is very
       16    simple: you are asking if I recognized a person.
       17    I have facial aphasia.        I can be with someone in
       18    the room a hundred times and if I am not
       19    concentrating on remembering the facial features
       20    of that person and actually mapping a model in my
       21    mind of what to remember, it does not matter,
       22    I will not remember that person.           I do not
       23    remember, and will not ever say I recognize, Nick
       24    Caley.    I do not know who Nick Caley is, I do not
       25    recognize him, I do not remember him.
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                                                                          Page 60
        1    BY MR. FREEDMAN:
        2              Q.       Whether you remember him or not
        3    Nick Caley was on a lot of e-mails discussing the
        4    corporate media plan, correct?
        5              MR. RIVERO:     Object to the form.
        6              A.       He is listed on a lot of documents,
        7    you have said.
        8    BY MR. FREEDMAN:
        9              Q.       This press release turned out to be
       10    a fairly big event, Dr. Wright, is that accurate?
       11              A.       I do not believe that is accurate,
       12    no.
       13              Q.       As part of it, you are expected to
       14    conduct certain interviews, right?
       15              A.       No, people sought that to be with
       16    me but being that I was not agreeing to all of
       17    that, and they thought they could shoehorn me into
       18    it, then, no, I do not agree with what you just
       19    said.
       20              Q.       Did you attend any interviews?
       21              A.       Yes, I have attended many
       22    interviews.

R-H    23              Q.       Did you attend the interviews
       24    listed in this document?
       25              A.       I do not remember if the days are
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                                                                          Page 61
R-H
        1    correct, but I attended interviews along the lines
        2    of what was in this document.
        3              Q.       Did you prepare for those
        4    interviews at all?
        5              A.       I had people try and prepare me.
        6    It wasn't for those interviews, so that would be a
        7    no.   But, people had tried to tell me that if I
        8    was going to run a company I had to be able to
        9    stand in front of media and answer questions
       10    calmly etc. the way they wanted.           And I was
       11    informed that I would be being trained to stand in
       12    front of media as the sea level I was and that I
       13    had to do it.
       14              Q.       And part of that was mock
       15    interviews?
       16              A.       It was not really mock interviews,
       17    that is not how they did the training.
       18              Q.       How did they do the training?
       19              A.       People threw questions back and
       20    forth at me but it was not like I would say an
       21    interview was.
       22              Q.       People would throw questions, you
       23    would respond, they would throw another question
       24    and you would respond; is that accurate?
       25              A.       That was one thing that they were
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                                                                           Page 62
         1    doing.    It would be as if I was -- I guess on a US
R
         2    presidential campaign where people would stand in
         3    front and ask questions from a media thing
         4    randomly, but that is not how any of these media
         5    meetings actually occurred, so.
         6              Q.       Do you recall if these training
         7    sessions were recorded?
         8              A.       I do not know.
         9              Q.       Do you remember a training session
        10    you had on March 18, 2016?
        11              A.       I do not.
        12              Q.       Do you recall a training session
        13    you had on March 22, 2016?
        14              A.       I do not.

R-H     15              Q.       Dr. Wright, I am going to upload to
        16    the
               he share file 172509?
        17              (Exhibit Defense 172509 referred to)
        18    BY MR. FREEDMAN:
        19              Q.       Do you have that there?

R-H
        20              A.       I have an e-mail up on screen.
        21              Q.       Okay, who is that e-mail from?
        22              A.       The from statement is a Nick Caley.
        23              Q.       Who is it to?
        24              A.       Multiple people including myself,
        25    Ramona, Catherine Kauchemann, Robert McGregor,
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                                                                            Page 63
R-H      1    Stefan Matthews, which is "Stefan nCrypt" in
         2    there, Alan Edwards and Victoria Brookes.
         3              Q.       What is the subject?
         4              A.       "Media training notes".
         5              Q.       Can you read it for the record?
         6              A.       Yes, I can.
         7              Q.       Can you go ahead and do that?
         8              A.       "Hello, Craig and Ramona.         Please
                                                                   Please
         9    find the attached notes and transcripts from the
                                                           the
        10    first two media training session[s] to consider
        11    ahead of our next one on Thursday 7th April.              Also
                                                                        Also
        12    it would be useful if we could see a draft of what
                                                            what
        13    you might say at the press conference on 26th
        14    April so we can discuss that in the session next
                                                          next
        15    week also.     Many thanks.      Nick."
        16              Q.       I am uploading to the share file
        17    defense 172510?
        18              (Exhibit Defense 172510 referred to)
        19              Q.       Do you guys have the document in
        20    the share file?      I am seeing the file in the share
                                                               share
        21    file.
        22              A.       I have a document "media training
                                                          training
        23    session two" in front of me.
        24              Q.       The date on that is 22 March in
                                                              in the
        25    top left corner?
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                                                                          Page 64
 R-H    1              A.               correct.
                                That is correct.
        2              Q.       Do you see in bold and then not
        3    bold underneath it, just read the first one for
        4    the record, the question and answer?
        5              A.       The bolded one?
        6              Q.       Yes.
        7              A.       "Craig, how much does a White Paper
        8    take to construct?        I know it's a daft question...
        9    it could be hundreds of thousands of dollars?
       10    Quite easily, including patenting, yes".
       11              Q.       Do you recall that question and
       12    answer?
       13              A.       No.
       14                       MR. RIVERO:     Object to the form.
       15    BY MR. FREEDMAN:

R-H    16              Q.       Can you go down to page 14 for me.
       17    This is a note, the answers across the top, let me
       18    know when you get there, Bates label 172523?
       19              A.       I am on page 14, "notes and
       20    alternative answers".
       21              Q.       Can you read that bold paragraph
       22    under the word overview for the record?
       23              A.       I can.    I assume you want me to
       24    read it?
       25              Q.       Please.
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                                                                           Page 65
R-H      1              A.       "Our second training session was
         2    different to the first in that rather than a full
                                                           full
         3    on mock interview, we moved on to analysis of
         4    harder questions and how they might be better
         5    answered.      We then picked up the mock interview as
         6    the answered were practiced.          The session saw a
         7    real move forward for CW in terms of both tone and
                                                             and
         8    content.       He was far less defensive on difficult
         9    questions.      He dominated the interview in the
        10    right way and he shows humility at the right
        11    level.    Even on technical subjects he made
        12    complicated matters (to the layperson) very clear.
                                                          clear.
        13    His passion drew you in and he importantly didn't
                                                         didn't
        14    lose his temper on the tricky subjects."
        15              Q.       CW in that paragraph is Craig
        16    Wright?
        17              A.       I didn't write the document.
        18              Q.       Do you take that as a reference to
        19    Craig Wright?
        20              A.       It's not my document, I'm not going
        21    to make an assumption.

R-H     22              Q.       Does this help to refresh your
        23    recollection that you did engage in mock
        24    interviews?
        25              A.       Again, I sat in what other people
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                                                                            Page 66
R-H       1    were documenting as I was basically made to be a
          2    lab rat.       So you are characterizing my knowledge
          3    as different to what other people's knowledge
          4    would be.
          5              Q.       Do you have any reason to believe
          6    that CW there is referring to anybody else,
          7    Dr. Wright?
          8              A.       No, but I am also not going to make
          9    the assumption as the document can stands for
         10    itself on its own merit.
         11              Q.       Does this help you recollect
         12    whether or not these interview sessions, these
         13    training sessions were recorded?
         14              A.       I have no idea whether they were
         15    recorded.      I wasn't involved with the recording.
         16              Q.        If we look at the second to last
         17    paragraph of this note section of the document, do
         18    you see where it says "as transcribed during the
         19    session, you make the point that admitting a
         20    mistake and making it clear you haven't done
         21    everything right is quite ...(reads to the
         22    words)...for journalists."
         23                       THE COURT REPORTER: Sorry.         I am
         24    not   ----
         25              A.       I am not at the paragraph, so
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                                                                          Page 67
        1    I cannot answer that question.
        2                       MR. RIVERO:     Can I get a reference
        3    so I can find it?
        4                       MR. FREEDMAN:      Second to last
        5    paragraph on the bottom of that same page, Defense
        6    172523, starts off "this answer was a great leap".
        7              A.       I see that.
        8              Q.       Do you see the second sentence I
        9    just read "as transcribed during the session"?
       10              A.       You are assuming I knew someone was
       11    recording me, because what you are suggesting that
       12    I must have known.       If I am a fish in a goldfish
       13    bowl I do not know there is a camera on me, so the
       14    answer you will receive in any of this is I have
       15    no idea whether I was recorded or not.            The fact
       16    that you are showing me notes, showing that other
       17    people recorded me without my authorization is
       18    actually troubling in that it is not actually
       19    allowable in Europe?

R-H    20              Q.       I am going
                                     goi   to upload into the share
       21    file defense 172528?
       22              (Exhibit Defense 172528 referred to)
       23              A.       There is a document up that is
       24    titled "media training session 1, 18 March '16".
       25              Q.       This was attached to Nick Caley's
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                                                                               Page 68
              1   e-mail as one of the attachments to that e-mail.
              2                      MR. RIVERO:     Object to the use of
              3   the document in this way.
              4   BY MR. FREEDMAN:
              5             Q.       Go to page -- can you read that
              6   first question and answer and let me know if you
              7   recognize or recall this conversation?
              8             A.       Yes, I can read it and no, I do not
              9   recall it.

Auth-F-H-R   10             Q.       I wanted to ask you some specific
             11   questions and answers that you gave in these
             12   interviews.     If you could turn for me, it is on
             13   that first page number 1.         It is defense 172528?
             14                      MR. RIVERO:     Object to the
             15   question.
             16   BY MR. FREEDMAN:
 Auth-F-H    17             Q.       Can you read the second bold
             18   paragraph, read that bold question for the record?
             19             A.       Yes, I can read it and for the
             20   record:    "So, it was a committee of people, for
             21   want of a better word?        You are not trying to
             22   claim all the credit, it's not about you, it's a
             23   combination of people and minds."
             24             Q.       Can you read your answer?
             25                      MR. RIVERO:     Object to the form.
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                                                                             Page 69
            1             A.       No, I cannot read my answer, I do
            2   not know that this is my answer.

Auth-F-H    3             Q.       Can you read the answer?
            4             A.       The document states:        "I've had a
            5   lot of help.                                     who
                                  In particular a friend of mine who
            6   died a few years ago, Dave Kleiman, gave me a lot
                                                              lot
            7   of help but there have been many other people
            8   along the way, and more than that it has been all
                                                              all
            9   the people who have continued since I left.              These
                                                                         These
           10   people have actually put in a lot of time and
           11   effort into making Bitcoin what is it.            The fact
                                                                      fact
           12   I do not -- wanted to see is important to me but
                                                             but
           13   it does not mean that is all there is.            I do not
           14   want to be in charge; I didn't and I still don't."
           15             Q.       Do you recall saying that?
           16             A.       No.
           17             Q.       Do you agree with that statement
           18   today?
           19             A.       Never have I never agreed with that
           20   statement.
           21             Q.       Did Dave Kleiman give you a lot of
           22   help?
           23             A.       Dave Kleiman gave me a lot of help.
           24             Q.       Go to page 6, defense 172533.
           25                      MR. RIVERO:     Page 6.
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                                                                          Page 70
        1    BY MR. FREEDMAN:
        2              Q.       Can you read the second to last
        3    bold paragraph for the record and question?
        4              A.       I can.
        5              Q.       Please go ahead.
        6              A.       "Exactly, how many Bitcoins did you
        7    mine"?
        8              Q.       Read the answer?
        9              A.       No, I cannot, it's not an answer,
       10    it's a statement, not a transcription from myself.
       11    It is a statement that I guess people wanted me to
       12    say, so that's not an answer.
       13              Q.       Can you read it, Dr. Wright?
       14              A.       I can read it, yes.
       15              Q.       What is the transcription as put
       16    down?
       17                       MR. RIVERO: Objection.
       18              A.       Again, this is not a transcription,
       19    no, I cannot read what a transcription has put
       20    down.
       21              Q.       How do you know this is a not a
       22    transcription, Dr. Wright?
       23              A.       Because this is not what I would
       24    ever have said.      This is what people like Rob
       25    wanted me to say.
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                                                                          Page 71
        1              Q.       Dr. Wright, why don't we take one
        2    second detour off the last question, we will come
        3    back to it in a moment.        Can go ahead and look at
        4    page 8 for me, Bates labeled defense 173525?
        5              A.       I am looking at page 8.
        6              Q.       Can you take a look in the last
        7    paragraph on that page, there is an annotation,
        8    "interrupted".      Do you see that?
        9              A.       I can see the word "interrupted".
       10              Q.       Can you go to page 10 for me, that
       11    is Bates 172537, do you see the second paragraph
       12    from the top; let me know when you are on that
       13    page, are you on that page?
       14              A.       I see the second paragraph.
       15              Q.       Do you see where it says
       16    "(inaudible)"?
       17              A.       Nothing says "inaudible", it is a
       18    header that has in brackets the words "inaudible".
       19              Q.       As if the transcriber could not
       20    hear what was being said.
       21                       MR. RIVERO:     Object to the form.
       22              A.       This isn't a transcription.
       23    BY MR. FREEDMAN:
       24              Q.       Dr. Wright, one paragraph down from
       25    that, do you see the answer where it says "I do
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                                                                          Page 72
        1    not know if I'd say I was David and Goliath
        2    (inaudible from interviewer)"; can you see that?
        3              A.       I can see it.      If you want to say
        4    this is what I was responding to, it is not.
        5    There were other people who talked and did things
        6    so if this is a recording or a transcription, it
        7    is people giving examples to me of what they think
        8    I should be saying.       I had plenty of those.         I had
        9    people sit there and give mock interviews and
       10    I watched and they told me what to say and Rob
       11    wanted me to say a whole load of things about "be
       12    humble" "say that you created Bitcoin with other
       13    people", "say that all these people helped you",
       14    etc.    So if you are doing a transcription and if
       15    this was a transcription -- which I do not know if
       16    it is -- then it would be people in the room
       17    talking back and forwards saying "Craig, this is
       18    what you need to do".        So, if you ----
       19              Q.       I am a little confused, are you
       20    conceding it is a transcript, you are just not
       21    saying it is you who is talking?
       22              A.       No, I did not at any point say this
       23    was a transcript.       If you had listened to my
       24    answer you would hear that I said "if".             "If" does
       25    not mean that I concede.         I said in the event that
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                                                                             Page 73
            1   it turns out that this was a transcript, what did
            2   occur in any of the meetings I remember was people
            3   sitting over the table talking back and forwards,
            4   telling me this is how I need to act.            "If you get
            5   this question respond this way."           "Craig, you will
            6   learn how to speak to people and you will learn
            7   how to be humble."       "Craig, you will learn how to
            8   be human."     "Craig, do not say that, it doesn't
            9   sound right."      "Craig, let other people talk and
           10   be part of your invention."         So, no, I disagree
           11   with you.
           12                      MR. RIVERO:     I am not sure that
           13   I am speaking loudly enough.          I had stated an
           14   objection at 71 line 12 and I think our court
           15   reporter is doing a great job, but it didn't get
           16   picked up in the live stream.          For the record,
           17   I actually stated a contemporaneous objection to
           18   the last question.
           19   BY MR. FREEDMAN:

Auth-F-H   20             Q.       Let us go back to page 6, defense
           21   172533, let me know when you are there?
           22             A.       I am there.
           23             Q.       Can you please read the second to
           24   last bolded line on that page for the record?
           25             A.       "Exactly how many Bitcoins did you
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                                                                              Page 74
              1    mine"?

 Auth-F-H     2             Q.      Can you read the response
              3    underneath that?
              4             A.      I can read the text underneath
              5    that, I cannot say that that is a response.
              6             Q.      Go ahead, please.
              7             A.      The statement is a comment:
              8    "I mined quite a number and I was with my partner,
              9    so to speak, in all this, Dave, we mined quite a
             10    lot."
             11             Q.      Do you recall saying that,
             12    Dr. Wright?
             13             A.      I have never said that.
             14
             1 4            Q.      Do you agree with that statement
             15    today?
             16             A.      I do not agree with that statement
             17    ever.
             18             Q.      You have no idea what was meant by
Auth-F-H-R
             19    "I was with my partner, so to speak, in all of
             20    this, Dave"?
             21                     MR. RIVERO:     Object to the form.
             22             A.      I have a suspicion about all of
             23    this and this was meeting 1, as you saw in the
             24    other document you showed me, meeting 2, this is
             25    where I was angry and in the second one they said
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                                                                              Page 75
Auth-F-H-R    1   I was far less angry.       I was having people in
              2   these meetings tell me "this is how you need to
              3   respond, Craig".      "If you want the media to like
              4   you and you want the company to be successful and
              5   you are a CEO, you do not want to come across like
              6   a Mark Zuckerberg; people hate him.           You need to
              7   say these people helped you."         I told them
              8   basically in all of those sort of things to fuck
              9   off.   And fairly much not trying to swear or
             10   anything here, but that would have been exactly
             11   what I would have told them.
             12   BY MR. FREEDMAN:
             13            Q.       They encouraged you to give credit,
             14   did they, where credit was not due?
             15                     MR. RIVERO:     Object to the form.
             16            A.       All people like Rob wanted was to
             17   have me up there looking nice on camera so that he
             18   could have pumped the price of the company before
             19   I had developed anything and made a quick return.
             20            Q.       They wanted you to share credit to
             21   appear humble?
             22            A.       Who is "they"?
             23            Q.       You told me people were telling you
             24   that if you are humble you do not want to look
             25   like Mark Zuckerberg, those people, who were they?
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                                                                          Page 76
        1              A.       People such as Rob and other people
        2    working for Rob.       I do not know the names of
        3    people working for Rob.
        4              Q.       So people such as Rob and people
        5    working for Rob, they told you that you needed to
        6    be appear humble and share credit, is that an
        7    accurate statement?
        8              A.       Yes.
        9              Q.       You have no idea why they referred
       10    to as -- Dave is referred to as your partner here?
       11                       MR. RIVERO:     Object to the form.
       12              A.       I can make suppositions.
       13    BY MR. FREEDMAN:
       14              Q.       What is the supposition?
       15                       MR. RIVERO:     Object to the form.
       16              A.       People liked Dave more than they
       17    liked me.
       18    BY MR. FREEDMAN:
       19              Q.       Therefore?
       20              A.       Therefore Dave becomes someone who
       21    is fluffier, nicer, more able to be liked than me.
       22    By extension, maybe I can be liked more because
       23    Dave liked me.
       24              Q.       Therefore -- I do not understand
       25    the connection being Dave being fluffy and the
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                                                                            Page 77
            1   reference to him as your partner?
            2                     MR. RIVERO:     Object to the form.
            3   Same objection, continuous objection.
            4   BY MR. FREEDMAN:
            5             Q.      Can you explain that to me?
            6             A.      I do not think I am able to.
            7             Q.      Do you have any idea what was meant
            8   by "we mined quite a lot"?
            9                     MR. RIVERO:     Objection.
           10             A.      I do not suppose what other people
           11   think.
           12   BY MR. FREEDMAN:

Auth-F-H   13             Q.      Dr. Wright, can you read the next
           14   bold line, the last bold line on page defense
           15   172533?
           16             A.      The last line in bold?
           17             Q.      Correct.
           18             A.      "How many people were involved in
           19   creating Bitcoin?"
           20             Q.      Can you read the response
           21   underneath that?
           22             A.      The --
           23                     MR. RIVERO:     Object to the form.
Auth-F-H   24             A.      The text states:       "In creating
           25   Bitcoin?    A lot.    How many people were involved in
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                                                                             Page 78
Auth-F-H
            1   Satoshi is probably a better question.           That was
            2   two of us."
            3   BY MR. FREEDMAN:
            4            Q.       Do you recall saying that?
            5            A.       No, I would not say that.         And it
            6   is technically incorrect anyway in every way you
            7   could think about it.
            8            Q.       Were you mad when you said this?
            9                     MR. RIVERO:     Objection to the form.
           10            A.       If you mean angry -- mad has a
           11   different connotation -- no, I was not mad and
           12   being that I did not say it, you are implying that
           13   I did, then, no, I couldn't be angry when I said
           14   it.
           15            Q.       Do you know what it meant "there
           16   were two of us involved in Satoshi"?
           17                     MR. RIVERO:     Object to the form.
           18            A.       Seeing as there is no two of us
           19   involved in Satoshi, I would suppose that the
           20   thing was to want people to be involved with me.
           21            Q.       So this was another statement that
           22   McGregor and his people wanted you to say?
           23            A.       It is generally the statement that
           24   everyone over time keeps wanting me to say.
           25   Everyone keeps saying "we can be part of your
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                                                                             Page 79
            1   invention and people will like you".            That doesn't
            2   change the fact that they are not part of my
            3   invention, so I do not give up the truth to be
            4   liked.

Auth-F-H    5             Q.       Dr. Wright, can you turn to the
            6   next page, page 7 of this document, defense
            7   172534.    When you are there can you read the first
            8   bold line on the top of that page?
            9             A.       Yes, I can.
           10             Q.       Please do.
           11             A.       "Some people say that perhaps you
           12   are not Satoshi but that Dave is Satoshi, but of
           13   course he is dead and he cannot speak for himself.
           14   How do we know it's actually you?"
           15             Q.       Can you go ahead and read the
           16   response underneath that?
           17             A.       Yes, I can.
           18                      MR. RIVERO:     Object to the form.
           19             A.       Yes, I can.
                                          can
           20   BY MR. FREEDMAN:
           21             Q.       Please do.
           22             A.       "Dave was a key part of everything
           23   that I did.     Dave spoke as Satoshi and I have to
           24   admit that Dave was always far better and far
           25   calmer to be in this area of dealing with people
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                                                                             Page 80
Auth-F-H    1   and he is sorely missed.         But the only way to
            2   really look at this is to look at the information
            3   that we'll be supplying in the papers from that, I
            4   am not asking you to do anything or believe me
            5   I am asking you to judge based on the
            6   information."
            7             Q.       Do you recall saying that?
            8             A.       I did not say that.
            9             Q.       Do you agree with that statement
           10   today?
           11             A.       I do not.

Auth-F-H   12             Q.       Do you know what is meant by "Dave
           13   was a key part of everything that I did"?
           14                      MR. RIVERO:     Object to the form.
           15             A.       Again, no Dave was not a key part
           16   of everything that I did.         Dave basically acted as
           17   a person I could rant to, talk to and he was my
           18   friend.    I spoke to Dave multiple times a week
           19   when he was alive.       He didn't really tell me much
           20   about his life but he let me talk about mine and
           21   I needed that.
           22   BY MR. FREEDMAN:
           23             Q.       Do you know what was meant by "Dave
           24   spoke as Satoshi"?
           25   BY MR. RIVERO:
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                                                                          Page 81
        1              A.       No, Dave could not speak as
        2    Satoshi.       In all the key areas where Satoshi was
        3    speaking Dave was hospitalized and did not have a
        4    computer and at parts not even a phone.             Dave was
        5    under operations while he was in conversations
        6    with Mike Hearn -- that Satoshi was having
        7    conversations with Mike Hearn, so it is not
        8    possible to have a hip operation while actually
        9    writing on the Bitcoin forum.          On top of that,
       10    while Satoshi was communicating with Hal Finney,
       11    coding which Dave was never a C-coder; the
       12    communications between Hal Finney where when Dave
       13    was in hospital.       So, being that Dave was in
       14    hospital without access to the internet in some of
       15    these things, and being that Dave was literally
       16    under the knife during of some of it, it is not
       17    possible that Dave spoke as Satoshi, as much as
       18    some people want that.
       19              Q.       Did Robert McGregor and his people
       20    specifically want you to say that "Dave was a key
       21    part of everything that I did"?
       22              A.       Robert would have loved me to have
       23    said that.
       24              Q.       Would he have also loved you to
       25    have said "Dave spoke as Satoshi"?
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                                                                             Page 82
Auth-F-H    1             A.       He would love that because then he
            2   could argue that Craig was just a mathematician
            3   and coder sitting in the background, just ignore
            4   this guy, and I am really going to be a spokesman
            5   and do what I want for Bitcoin, yes.
            6             Q.       Dr. Wright, can you move down to
            7   the second bold on the same page defense 172534,
            8   and can you read for the record the second bold
            9   line?
           10             A.       Yes, reading for the record is:
           11   "So would you actually admit that you are
           12   Satoshi".
           13             Q.       Can you read your response?
           14             A.       Yes.
           15             Q.       What does it say?
           16             A.       The text says: "Dave and myself".
           17             Q.       Do you recall saying that,
           18   Dr. Wright?
           19             A.       No.
           20             Q.       Do you agree with that statement
           21   today that you and Dave were Satoshi?
           22             A.       I do not agree with that statement.
           23             Q.       Would this have been something that
           24   Robert would have loved you to have said?
           25             A.       I am not going to say what I just
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                                                                          Page 83
        1    thought but, yes, Rob would love that.
        2              Q.       Dr. Wright, can you turn to page 15
        3    for me, that is defense -- before we move down, do
        4    you know what was meant by "Dave and myself were
        5    Satoshi"?
        6              A.       Again I'm sure I would have had Rob
        7    very happy if he could make me just a secondary
        8    coder and mathematician rather than being the
        9    other.    Dave didn't want me, the person who
       10    submitted the half of the White Paper in 2007 as
       11    part of my law degree, he didn't want me, the
       12    mathematician, he didn't want me, he wanted a
       13    system he could control.         If he could give a
       14    "Dave", then it would have enabled Rob to
       15    basically have me as the background person and not
       16    have me control or be controlled -- sorry to be
       17    controlled and not have any say.
       18              Q.       So Rob wanted you to state that you
       19    and Dave were the key forces behind Satoshi?
       20              A.       Rob wanted me to just be in the
       21    background much more than that; I think Rob wanted
       22    to effectively flip a quick deal with someone like
       23    Google and retire on a beach.
       24              Q.       Rob hired PR people to help
       25    communicate that message?
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                                                                             Page 84
            1             A.       I do not know.      I assume from what
            2   you told me -- I assume ----
            3             Q.       There were PR people who ran these
            4   training sessions?
            5             A.       I do not know.      I didn't
            6   investigate their background.
            7             Q.       Dr. Wright, are you the only person
            8   responsible for Satoshi Nakamoto?
            9             A.       Yes.

Auth-F-H   10             Q.       Can you go to page 16, defense
           11   172543; do you see the second to last bold
           12   paragraph from the bottom?
           13             A.       Not at the moment.
           14             Q.       Let me know when you get there.
           15             A.       I can now.
           16             Q.       Can you read that for me?
           17             A.       Yes, I can.
           18             Q.       What does it say?
           19             A.       "The Bitcoin paper that was
           20   released to the mailing list, did you write it?"
           21             Q.       What do you respond?
           22             A.       I did not respond.
Auth-F-H   23             Q.       What does the response say?
           24             A.       There is text on the document
           25   saying" "I wrote the majority of it.            Dave and
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                                                                            Page 85
Auth-F-H    1   others helped."
            2             Q.      Do you remember saying that,
            3   Dr. Wright?
            4             A.      I have never said that nor typed
            5   that.
            6             Q.      Do you agree with that statement
            7   today?
            8             A.      I do not agree with that statement
            9   today, nor in the past.
           10             Q.      Dave did not help you write this
           11   White Paper?
           12             A.      Dave helped me edit part of the
           13   White Paper as with other people, including Doug
           14   Lynam, some of my other family, some other
           15   professors.    The first half of the White Paper was
           16   submitted in 2007 as part of my proposal for an
           17   LLM before Dave even knew that I was doing that
           18   degree.   My supervisor at Northumbria edited that
           19   half of the paper first.        I changed that based on
           20   feedback from my supervisors, I extended it to
           21   make an LLM thesis; that was submitted and awarded
           22   in the beginning of 2008, previous to the
           23   completion of the later White Paper.           Other parts
           24   of it include work that was in my Masters degree
           25   in statistics.     That was edited, first of all, by
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                                                                          Page 86
        1    a different Robert -- I can't remember his last
        2    name unfortunately.       He was a computational
        3    statistician -- I really should remember his name.
        4    I remember other aspects, but, sorry, I have
        5    forgotten his last name.         That then was the
        6    Poisson area of the paper.         Dave could not edit
        7    the mathematics at all, but Dave was very good at
        8    talking me through how to try and make certain
        9    areas clearer, so I did speak to Dave after I'd
       10    sent him a copy before the first half of 2008
       11    ended.
       12              Q.       What was the name of your
       13    supervisor at Northumbria that edited the first
       14    half of your paper?
       15              A.       I do not remember.       The LLM
       16    dissertation is -- was still kept by Northumbria.
       17    They managed to find a copy in the basement.              I'm
       18    glad they still had a copy, I do not know if I'm
       19    glad that it was in a moldy basement.            My British
       20    counsel received a copy directly from the
       21    university.     I do not remember the name of my law
       22    degree supervisor, sorry.
       23              Q.       Did you ever tell Dave that he was
       24    not part of Satoshi Nakamoto?
       25              A.       I do not see why that would ever be
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                                                                          Page 87
        1    relevant.      I would not tell Dave "you're not part
        2    of Craig Wright".
        3              Q.       You did not tell Dave that he was
        4    not part of Satoshi Nakamoto?
        5              A.       Again, I would never tell someone,
        6    anyone "you're not part of Craig Wright".             I do
        7    not know why you would say "you're not part of
        8    me."
        9              Q.       I am not asking about why you would
       10    do something, I am just asking if you did, it is a
       11    simple question.       Did you ever tell Dave Kleiman
       12    that he was not part of Satoshi Nakamoto?
       13              A.       I believe I have answered it twice.
       14              Q.       What is the answer?
       15              A.       Again, I would never tell, and
       16    I said never, any person that they are not part of
       17    me.
       18              Q.       Did you tell Dave Kleiman that he
       19    was part of Satoshi Nakamoto?
       20              A.       I did not tell Dave Kleiman that he
       21    is part of me.
       22              Q.       Did you ever tell Dave he was not
       23    part of the creation of Bitcoin?
       24              A.       There was no need to ever tell Dave
       25    that he was part of the creation of Bitcoin for
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                                                                             Page 88
            1   the simple fact that Dave never would have
            2   believed he was part of the creation of Bitcoin.
            3             Q.       So you didn't tell me he was part
            4   of the creation of Bitcoin?
            5             A.       Once again, there would be no need
            6   to tell that so, no, I have never told someone
            7   they are not part of the creation of Bitcoin when
            8   they are not part of the creation of Bitcoin.
            9             Q.       Is that because you were the only
           10   one responsible for the creation of Bitcoin?
           11             A.       The word "responsible" in that
           12   sense, yes, I am completely utterly responsible,
           13   although there are ancillary things that happened
           14   in time and space and whatever else.            Yes, the
           15   simple answer is that is correct.
Auth-F-H   16             Q.       Turn to page 20 of the document in
           17   front
                front of you, and the Bates label is defense
           18   172547,
                172547, look at the top of the page it says:              "And
           19   we've
                we've asked you today, are you Satoshi."             Skip
           20   that
                that question and read for the record the second
           21   bold
                bold paragraph on that page; can you please read
           22   that
                that for the record?
           23             A.       I can.    "Who created that
           24   pseudonym."
                pseudonym."
           25             Q.       Can you read the response?
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                                                                             Page 89
Auth-F-H    1             A.       Yes.
            2                      MR. RIVERO:     Object to the form.
            3   BY MR. FREEDMAN:
            4             Q.       Please go ahead.
            5             A.       "Well, mostly myself and a little
            6   bit with Dave.      Both of us acted.       Dave was the
            7   nice version of Satoshi."
            8             Q.       Do you recall saying that?
            9             A.       I have never said that.
           10             Q.       Do you agree with that statement
           11   today?
           12             A.       I do not agree with that statement
           13   today, I have not agreed with that statement in
           14   the past and I will never agree with that
           15   statement in the future because it is blatantly
           16   false.
           17             Q.       Did Dave create that pseudonym?
           18             A.       Dave was not into Japanese culture.
           19   I was since, I was young, I have used pseudonyms
           20   that are Japanese in nature since, well, the
           21   beginning of the worldwide web in 1994 and before
           22   that on news net.
           23             Q.       What do you mean by "both of us
           24   acted as Satoshi"?
           25             A.       I do not mean anything because
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                                                                              Page 90
            1    I did not say that statement.
Auth-F-H    2              Q.       What do you think that means "both
            3    of us acted as Satoshi"?
            4              A.       I think what that means is Rob and
            5    others wanted me to basically be part of a group
            6    so that they could say "Craig is the arse-hole,
            7    ignore him, he just sticks in the back room
            8    inventing stuff but do not worry there's nicer
            9    people here too."
           10              Q.       Or?
           11                       MR. RIVERO:     Just one moment.
           12    I had made an objection that did not get noted.
           13    I wanted to make sure that you can hear me.              I may
           14    have made a mistake on muting.
           15    BY MR. FREEDMAN:
           16              Q.       Did Dave ever act as Satoshi?
           17              A.       No, Dave did not act as Satoshi.
           18              Q.       Dave had access to the Satoshi
           19    Nakamoto e-mail accounts, right?
           20              A.       No, Dave had access to his own
           21    e-mail accounts, not to the Satoshi Nakamoto
           22    e-mail accounts.
           23              Q.       Not to any of the Satoshi e-mail
           24    accounts?
           25              A.       There are only two.
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                                                                              Page 91
            1              Q.       What are the two Satoshi e-mail
            2    account?
            3              A.       GMX and Vistomail.
            4              Q.       Was there not an anonymous speech
            5    e-mail account?
            6              A.       Anonymous speech is Vistomail.
            7              Q.       There were only two, there were not
            8    three Satoshi e-mail accounts; is that an accurate
            9    statement?
           10              A.       Yes.
Auth-F-H   11              Q.       Dr. Wright, can you move down to
           12    the
                  he next full line in that page and read the bold
           13    line
                  ine for the record please?
           14              A.       Paragraph 3?
           15              Q.       Yes.
           16              A.       "Who came up with the idea in the
           17    first
                  irst place?"
           18              Q.       Can you read the response?
           19              A.       Yes.
           20                       MR. RIVERO:     Object to the form.
           21    BY MR. FREEDMAN:
           22              Q.       Please
                                    Please do.
           23              A.       "Mostly myself."
           24              Q.       Do you remember saying that?
           25              A.       No, I did not say that.
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                                                                             Page 92
            1             Q.       Do you agree with that statement?
            2             A.       Again, I do not agree with that
            3   statement now or in the past.          Excuse me for a two
            4   seconds; my apologies.
            5             Q.       Who else helped you come up with
            6   the idea of that pseudonym?
            7                      MR. RIVERO:     Objection.
            8             A.       Nobody helped me come up with the
            9   idea of that pseudonym.
           10   BY MR. FREEDMAN:
Auth-F-H   11             Q.       Turn to page 24 of the same
           12   document, Defense 172551.         Do you see, let me know
                                                                     know
           13   when you are there and you see it, the section
           14   that starts off "notes and alternative answers";
                                                       answers"
           15   do you see that?
           16             A.       I see that.
           17             Q.       This is the section where the PR
           18   consultant is giving feedback on your performance
                                                      performance
           19   or whoever's performance; is that fair?
           20                      MR. RIVERO:     Object to the form.
           21             A.       Again, no, "fair" is not an
           22   accurate term in any sense of the word.
           23   BY MR. FREEDMAN:
           24             Q.       Why don't you go ahead and read the
           25   feedback in the first bold paragraph "in session
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                                                                             Page 93
            1   one", can you read that for the record?
Auth-F-H
            2                      MR. RIVERO:     Object to the form.
            3             A.       Yes.
            4   BY MR. FREEDMAN:
            5             Q.       Go ahead and read it for the
            6   record?
            7             A.       "In session one it was clear where
                                                                where
            8   CW felt less comfortable answering as the replies
                                                          replies
            9   came far shorter and more clipped.           The notes
           10   below pick out the answers that need more work,
           11   both terms in tone and content.           Overall the
           12   question of being Satoshi and how much of a team
           13   effort the Bitcoin project was is a critical area
                                                             area
           14   to address."
           15             Q.       Dr. Wright is "CW" a reference to
           16   Craig Wright?
           17             A.       I didn't write that so I cannot
           18   say.
           19             Q.       Do you know who else they could
           20   have been referring to?
           21             A.       I am not going to make
           22   suppositions, it is not my document.
           23             Q.       Was there anyone in the room that
           24   had the initials CW besides you?
           25                      MR. RIVERO:     Object to the form.
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                                                                            Page 94
          1               A.      I do not remember the session, I do
          2    not remember the time, so, therefore, I cannot say
          3    who might have been there.         Even if I did remember
          4    the session, I do not remember the names of people
          5    that were in half of my meetings a month ago so,
          6    it is not something I can answer.
          7    BY MR. FREEDMAN:
          8               Q.      Is it your position, Dr. Wright,
          9    that you were silent throughout this entire media
         10    session?
         11                       MR. RIVERO:     Object to the form.
         12              A.       I have not said that one time.
         13    BY MR. FREEDMAN:
         14              Q.       So you did speak during this media
         15    session?
         16                       MR. RIVERO:     Object to the form.
         17              A.       If I do not recall a meeting I do
         18    not recall a meeting, I cannot sit there and tell
         19    you what I did not or did not do when I do not
         20    recall it, to do so would be lying.
         21    BY MR. FREEDMAN:

H-R      22              Q.       You have no recollection
                                                         n of
                                                           o this
         23    meeting; is that an accurate statement?
         24                       MR. RIVERO:     Objection.
         25              A.       I know meetings happened, I know
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                                                                          Page 95

R       1    people talked at me, I know people wanted me to
        2    say certain things, I know people were coaching me
        3    to try and say "I'm a team".
        4    BY MR. FREEDMAN:
        5              Q.       Do you agree with that assessment
        6    of CW's performance?
        7                       MR. RIVERO:     Objection.
        8              A.       I do not see why I would care about
        9    what these people think about my performance.
       10    That would assume that I have some care about it.
       11    I have no care about these people at all.
       12    BY MR. FREEDMAN:
       13              Q.       Dr. Wright, do you agree that
       14    answers needed more work in both terms of both
       15    tone and content?
       16                       MR. RIVERO:     Objection.
       17              A.       You are asking me do I remember
       18    something that I do not remember.           Do you want me
       19    to answer that?
       20    BY MR. FREEDMAN:
       21              Q.       If you can.
       22              A.       No, I do not remember something
       23    that I do not remember.
       24              Q.       Dr. Wright, can you look down under
       25    bullet number 1, and it is a quote of a question
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                                                                                Page 96
            1    and answer we already had you read for the record
            2    about whether Satoshi Nakamoto had a committee of
            3    people, for want of a better word, do not try not
            4    trying -- not trying to claim all the credit.              A
            5    response that you say you do not know was your
            6    that says:     "I had a lot of help from a particular
            7    friend of mine who died a few years ago; Dave
            8    Kleiman gave me a lot of help".           Do you see that
            9    there in the record?
           10              A.       If you are implying that it is a
           11    quote, then, no, I don't see that; I see text on
           12    the page.
Auth-F-H   13              Q.       Why don't we do the simplest way
           14    then, Dr. Wright, why don't you go ahead and read
           15    the question and answer there for me so we can get
           16    to the note section.        Please read the Q and A for
           17    the record?
           18              A.       "Q: so it was a committee of
           19    people, for want of a better word?           You're not
           20    trying to claim all the credit, it's not all about
           21    you, it's a combination of people and minds? A.
           22    I had a lot of help.        In particular a friend of
           23    mine who died a few years ago, Dave Kleiman, gave
           24    me a lot of help but there have been other people
           25    along the way and, more than that, it has been the
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                                                                             Page 97
Auth-F-H    1    people who have continued since I left.            These
            2    people have actually put in a lot of time and
            3    effort in making Bitcoin what it is."
            4             Q.       Can you read the note section
            5    recorded by the PR consultant, please?
            6             A.       "Notes: although it is right to
            7    acknowledge that there was a team involved, CW
            8    needs to be stronger on his leading role e.g.
            9    I led the project and I was the person who drove
           10    the original idea."
           11             Q.       So the PR consultant is telling you
                                                                   yo
           12    to advocate you were the leader of the group, is
           13    that fair?
           14                      MR. RIVERO:     Objection.
           15    BY MR. FREEDMAN:
           16             Q.       Accurate?
           17             A.       No.
           18
           1 8            Q.       What was he telling you?
           19
           1 9                     MR. RIVERO:     Objection.
           20             A.       I do not know that that was a he.
           21             Q.       What was the PR consultant telling
           22    you?
           23                      MR. RIVERO:     Objection.
           24             A.       I do not know if that was a PR
           25    consultant and nobody is telling me anything
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                                                                              Page 98
            1    there.
            2    BY MR. FREEDMAN:
            3              Q.       What is the author of this document
            4    trying to say?
            5                       MR. RIVERO:     Object to the form.
            6              A.       I do not know. .
            7    BY MR. FREEDMAN:
Auth-F-H    8              Q.       Can you turn to page 25 for me,
            9    defense 172552?
           10              A.       Is this 552?     Yes.    I am there.
           11              Q.       You see where it says "5"?
           12              A.       Yes.
           13              Q.       This is a list of questions and
           14    answers we have just asked you about, isn't it?
           15              A.       Is it?

Auth-F-H
           16              Q.       Why don't we go ahead and read it.
           17    Please read the questions and answer for the
           18    record please?
           19              A.       Yes.
           20              Q.       We are waiting for you, Dr. Wright?
           21              A.       "Q: how many people are involved in
           22    creating Bitcoin?       A: in creating Bitcoin?        A lot.
           23    How many people were involved in Satoshi is
           24    probably a better question, that was two of us.
           25    A: some people say that perhaps you are not
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                                                                             Page 99
Auth-F-H    1   Satoshi but Dave is Satoshi but of course he's
            2   dead and cannot speak for himself, how do we know
            3   it's actually you?       Q: Dave was a key part of
            4   everything that I did.        Dave spoke as Satoshi and
            5   I had to admit that Dave was always far better and
            6   far calmer to be in this area of dealing with
            7   people and he is sorely missed.           The only way to
            8   really look at is this is to look at the
            9   information supplying: the papers, from that I am
           10   not asking you to do anything or believe me, I am
           11   asking you to judge based on the information.              Q:
           12   You actually admit that you are Satoshi?             A: Dave
           13   and myself.     Q: and as we asked you today are you
           14   Satoshi?     Answer: as I said, there's not really a
           15   Satoshi.     We have a White Paper and we're behind
           16   that but there are many people that took Bitcoin
           17   to where it is now.       Q: who created the pseudonym?
           18   A: well, mostly myself and a little bit with Dave.
           19   Both of us acted.       Dave was the nice version of
           20   Satoshi.     Q: who came up with the idea in the
           21   first place?      A: mostly myself."
           22             Q.       Dr. Wright, can you read for me the
           23   note section that the author of the document
           24   inserted into this document following that
           25   question and answer?
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                                                                           Page 100
Auth-F-H    1             A.      I can.
            2             Q.      Please go ahead.
            3             A.      "Notes: this section is one that
            4   needs the most work as it essentially says both he
            5   and Dave were Satoshi.        Again, although
            6   acknowledging Dave's role is the right thing to
            7   do, CW needs to be clearer that we was the driving
            8   force and the originator e.g. Dave and myself
            9   worked together but I was Satoshi, and Bitcoin and
           10   Blockchain are "my inventions" otherwise there is
           11   a real danger that the story collapses, also need
           12   to avoid saying there is no Satoshi."
           13             Q.      Dr. Wright, can you summarize in
           14   your own words what you just read?
           15             A.      Yes, a media session from a group
           16   of people who were seeking to coach me to say
           17   things in a particular way that I was not willing
           18   to say.
           19             Q.      So they were coaching you to say
           20   what?
           21                     MR. RIVERO:      Objection.
           22             A.      Again, I am not these people.
           23   Mostly for the sessions, for the small amounts of
           24   recollection that I have, and which parts I do not
           25   remember were yelling and        screaming and telling
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                                                                             Page 101
              1   people where to go.
              2   BY MR. FREEDMAN:
Auth-F-H-S
              3             Q.      As I read this it says "although
              4   acknowledging Dave's role is the right thing to
              5   do, Craig Wright needs to be clear on the fact he
              6   was the driving force and the originator."             Do you
              7   see that?
              8             A.      I see that.
              9             Q.      So McGregor and his media people
             10   wanted you to be Satoshi alone; is that not right?
             11                     MR. RIVERO:      Object to the form.
             12             A.      You are making suppositions on
             13   other people's thoughts that are not mine.
             14   BY MR. FREEDMAN:
             15             Q.      The author of the document wanted
             16   you to take a leading role as Satoshi, is that
             17   fair -- is that accurate?
             18                     MR. RIVERO:      Object to the form.
             19             A.      I do not believe that is accurate.
             20   They wanted me to say certain things and no, I do
             21   not accept your presuppositions and what other
             22   people were thinking.
             23   BY MR. FREEDMAN:
             24             Q.      How else do you interpret the words
             25   "CW needs to be clear on the fact that he was the
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                                                                             Page 102
              1   driving force and the originator"?
              2                     MR. RIVERO:      Object to the form.
              3             A.      I do not.
              4   BY MR. FREEDMAN:

Auth-F-H-R    5             Q.      The author of this paragraph
              6   thought that the story would collapse if you gave
              7   Dave too much credit as Satoshi Nakamoto; do you
              8   see that?
              9                     MR. RIVERO:      Object to the form.
             10             A.      I see the words.
                                              words
             11   BY MR. FREEDMAN:
             12             Q.      Didn't McGregor want a story?
             13             A.      I do not care what McGregor wanted.
             14   McGregor ended up not being part of the company at
             15   all.
             16   BY MR. FREEDMAN:
             17             Q.      You told me today, Dr. Wright, that
             18   Rob McGregor would have loved you to have said
             19   that you and Dave were Satoshi; do you recall that
             20   testimony?
             21                     MR. RIVERO:      Objection.
             22             A.      I said that, yes.
             23   BY MR. FREEDMAN:
             24             Q.      And now Rob McGregor's PR
             25   consultant is telling you that Dave should not
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                                                                               Page 103
   Auth-F-H-R    1   have too much credit as Satoshi or the story will
                 2   collapse; do you see that, Dr. Wright?
                 3                    MR. RIVERO:      Object to the form.
                 4            A.      No, I do not.      I see that you are
                 5   presuming that certain people making certain
                 6   responses in teams basically saying one thing and
                 7   when there's a group of people obviously in this
                 8   e-mail discussing what should be said and you are
                 9   saying that that is Rob McGregor's choice or the
                10   other person's choice, where there is no context
                11   to that so, no, I do not agree with anything you
                12   are proposing.
                13   BY MR. FREEDMAN:
Auth-AA-F-H-R 14              Q.      Dr. Wright, earlier today you told
                15   me that the statements in this document reflect
                16   what Rob McGregor wanted you to say; that gave
                17   credit to Dave because that is what Rob McGregor
                18   wanted you to do; is that accurate?
                19                    MR. RIVERO:      Object to the form.
                20            A.      No, it is not accurate, you have,
                21   again, mischaracterized me.        You are taking two
                22   things, the statement of this document and Rob
                23   McGregor, and mixing them together were in parts
                24   they mix and parts they do not, and attempting to
                25   have me state something that is not true because
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                                                                                Page 104
Auth-AA-F-H-R
                 1                                       not.
                     it suits your purpose, so, no, I do not.
                 2   BY MR. FREEDMAN:
 Auth-A-F-H-R    3             Q.      You know what this looks like, you
                 4   are covering up the statements that you previously
                 5   made under the guise of it being statements from a
                 6   PR consultant that was telling you what to say and
                 7   then, when we got to the bottom of this document,
                 8   it shows that the PR consultant didn't want you to
                 9   say anything of the sort, he didn't want you to
                10   give credit to Dave as Satoshi, you were giving
                11   Dave credit as Satoshi, is that not true?
                12                     MR. RIVERO:      That is speech and
                13   argument, I am going to object.          Dr. Wright, under
                14   the rules unfortunately you even have to answer
                15   that improper question.
                16             A.      Do I answer the speech or just the
                17   question?
                18                     MR. RIVERO:      You have to answer
                19   that improper speech, yes.
 Auth-A-F-H-R   20             A.      I do not know how to answer the
                21   speech.    To the question, my answer is no.
                22   BY MR. FREEDMAN:
 Auth-F-H-R     23             Q.      Do you agree with the statement in
                24   this document that you need to change the
                25   retelling of the story so that you became the
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                                                                             Page 105

Auth-F-H-R    1   driving force and the originator of Bitcoin?
              2                     MR. RIVERO:      Object to the form.
              3             A.      I do not agree with anything in any
              4   of these documents.
              5   BY MR. FREEDMAN:
              6             Q.      Did you in fact change your story
              7   following this critique?
              8             A.      No, I did not have my story
              9   following this critique.
             10                     MR. RIVERO:      Object to the form.
             11             A.      Following this, the media company
             12   that Rob hired were fired and kicked out of the
             13   organization and Rob was removed from the
             14   organization.
             15   BY MR. FREEDMAN:
             16             Q.      Do you recall ----
             17                     THE COURT REPORTER:        Repeat the
             18   question.

     R       19             Q.      Do you recall the Australian Tax
             20   Office (ATO) auditing your companies in 2014 and
             21   2015?
             22             A.      In 2014 and 2015 companies, of
             23   which I was one of many shareholders, including a
             24   public company where I was one of those
             25   shareholders, underwent audits with the Australian
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                                                                         Page 106
         1    Tax Office.
R
         2              Q.      During that time your companies
         3    worked with Clayton Utz to represent you in those
         4    audits, right?
         5              A.      No, my companies used a law firm
         6    called Clayton Utz and they represented us as our
         7    solicitors.
         8              Q.      Specifically your companies worked
         9    with Andrew Summer at Clayton Utz?
       10               A.      No, our counsel was Andrew Summer
       11     who was the lead lawyer for a number of companies
       12     and myself personally.
       13               Q.      And John Cheshur also worked for
       14     those companies and interacted with the ATO on
       15     those companies' behalf, is that accurate?
       16               A.      John Cheshur was the CFO or chief
       17     financial officer of a company called deMorgan,
       18     prior to that of hotwire, and had been an
       19     accountant with me going back until 2009 in
       20     information defense, and prior to that had worked
       21     with Ridge's Estate in contract.
       22               Q.      He interacted with the ATO for
       23     those companies, is that accurate?
       24               A.      As chief financial officer and
       25     previous to that as tax auditor, then John had
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                                                                         Page 107
R        1    acted with the Australian Tax Office as it was his
         2    job to file returns and to conduct engagements
         3    with the tax office.
         4              Q.      Clayton Utz helped your companies
         5    to prepare documents that were sent to the
         6    Australian Tax Office in connection with these
         7    audit; is that accurate?
         8              A.      No.
         9              Q.      Claytons did not help your company
       10     prepare documents that were sent so the Australian
       11     Tax Office?
       12               A.      You have used the word "he helped",
       13     helped means, when you are asking me that
       14     question, that I was involved with John in
       15     preparing documents that John aided me on.             If you
       16     want to ask "did John prepare documents as the
       17     CFO, did he work the accountant, Ali, and the
       18     bookkeepers that we had employed, and do his job
       19     as a CFO then the answer is yes.          If you are
       20     asking -- implying that did he help me then the
       21     answer is no.
       22               Q.      Actually, Dr. Wright, I was asking
       23     you if Clayton Utz, the law firm, did they assist
       24     and draft documents that the companied submitted
       25     to the Australian Tax Office in connection with
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                                                                         Page 108
         1    these audits?
         2              A.      You are asking about discussions
         3    with my law firm in Australia; is that correct?
         4              Q.      Dr. Wright, please just listen to
         5    the question that I am asking and answer it.             Did
         6    Clayton Utz, the law firm, help your companies
         7    prepare documents that were sent to the Australian
         8    Tax Office in connection with the audits they
         9    undertook in 2014 and 2015?
       10                       MR. RIVERO:      Object to the form.
       11     Dr. Wright, I am not asserting a privilege to that
       12     question, do not go into conversations with
       13     counsel, I think you can answer that without doing
       14     so.
       15               A.      I have to, sorry, be the petant and
       16     say the way you are asking that with the "helped"
       17     and whatever else is technically incorrect.
       18     Clayton Utz were our legal counsel and Clayton Utz
       19     worked with people in the creation and review of
       20     documents, checking the legal aspects of those and
       21     checking the sort of legal opinion on the
       22     presentation of documents that would be submitted
       23     both in tribunals and also in general response.

 R     24     BY MR. FREEDMAN:
       25               Q.      Did Andrew Summer attend the
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                                                                         Page 109

R        1    meetings with the ATO where you were present?
         2              A.      Yes.
         3              Q.      Did John Cheshur attend meetings
         4    with the ATO where you were present?
         5              A.      Yes.
         6              Q.      Did the ATO record some of those
         7    meetings?
         8              A.      I do not know.
         9                      MR. RIVERO:      Object to the form.
       10     BY MR. FREEDMAN:
       11               Q.      Has the ATO sent you transcripts
       12     that reflect those meetings?
       13               A.      Me personally or the company?
       14               Q.      Good distinction, Dr. Wright, has
       15     the ATO sent your company transcripts of those
       16     meetings?
       17               A.      Yes, we responded that there was
       18     erroneous material in those transcripts.            The
       19     transcripts needed to be updated because the
       20     transcription was highly inaccurate.
       21               Q.      Have you produced those
       22     communications to us, Dr. Wright?
       23               A.      It is a criminal offence to produce
       24     those documents under Australian law; to do so
       25     would be a jail term.       I am not legally permitted
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                                                                         Page 110
         1    to do those documents and to even enquire to the
         2    tax office without authority and whatever else, is
         3    a crime.
         4              Q.      So you have withheld documents from
         5    us that relate to corrections to the ATO
         6    transcripts; is that an accurate statement?
         7              A.      That is not an accurate statement.
         8                      MR. RIVERO:      Object to the form.
         9    BY MR. FREEDMAN:
       10               Q.      Did you or did you not produce the
       11     corrections to the Australian Tax Office
       12     transcripts?
       13                       MR. RIVERO:      I object to this line
       14     of questions because it relates to questions about
       15     production but go ahead and answer if you can,
       16     Dr. Wright.
       17               A.      Would you like me to discuss
       18     conversations I had with my solicitors?
       19     BY MR. FREEDMAN:
       20               Q.      Which solicitors are you referring
       21     to?
       22               MR. RIVERO:     Dr. Wright, you cannot talk
       23     about conversations with your lawyers, but if you
       24     can answer the questions go ahead.
       25               A.      I can only do this if I talk about
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                                                                         Page 111
         1    conversations with my solicitors.
         2    BY MR. FREEDMAN:
         3              Q.      Mr. Rivero, we need to know which
         4    solicitors because the court has held that there
         5    was not privilege with Andrew Summer and other
         6    solicitors.     We do not know which solicitors he is
         7    referring.     Shall we take a break.
         8                      MR. RIVERO:      Mr. Freedman, I have
         9    not instructed him not to answer anything other
       10     than not to go into conversations.           I have not
       11     heard you ask him which solicitors you are
       12     referring to ask.
       13     BY MR. FREEDMAN:
       14               Q.      Dr. Wright, which solicitors are
       15     you referring to?
       16               A.      The last part of that would be John
       17     of Laxon Lex and I do not remember -- I do not
       18     remember his actual name, the person working for
       19     John at Laxon Lex.
       20               Q.      When did you consult John at Laxon
       21     Lex about this?
       22               A.      I do not remember the date.
       23               Q.      Was it in the last six months or
       24     was it years ago?
       25               A.      It was when the companies were
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                                                                           Page 112
         1    there and before I resigned as director of the
         2    companies.
         3              Q.       Dr. Wright, please tell me why you
         4    withheld -- whether or not you withheld documents
         5    and the conversation you had with that solicitor
         6    at Laxon Lex?
         7              A.       I have not withheld documents.
         8                       MR. RIVERO:     Object to the form.
         9    BY MR. FREEDMAN:
       10               Q.      What --
       11                       MR. RIVERO:      Mr. Freedman, one wait
       12     a moment.      Your Honor, I am not sure you are on
       13     the phone, but I would need a break on this
       14     subject as I am not fully appraised about your
       15     ruling, so would need a few moments to consult
       16     with my co-counsel to understand the rulings and
       17     make a determination about assertion of any
       18     privilege.     I understand there was a ruling which
       19     may, and from Mr. Freedman's suggestion that the
       20     ruling may make it that we cannot, but I need a
       21     few minutes to consult with Miss McGovern if I can
       22     find her, and I am trying to remember whose else
       23     was present.     Is that where we are, Mr. Freedman?
       24                       MR. FREEDMAN:      I think so.      I am
       25     happy to take a break.
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                                                                         Page 113
         1                      MR. RIVERO:      If I can maybe 10
         2    minutes to see if I can sort this out.            The
         3    question that is pending is you want Mr. Wright to
         4    describe his conversation with John of Laxon Lex
         5    and the ATO transcripts?
         6                      MR. FREEDMAN:      And corrections made
         7    to them, that is correct.
         8                      MR. RIVERO:      Give me about 10
         9    minutes to see if I can sort that out.
       10               (A short recess from 4.39 p.m. to 4.49
       11     p.m.)
       12                       MR. RIVERO:      Madam court reporter,
       13     this is Andreas Rivero, can you hear me?            As I had
       14     an opportunity to consult with Miss McGovern and
       15     persons involved in the production I want to be
       16     clear we have produced voluminous ATO transcript
       17     records before last week, as to such records we
       18     had asserted for which I understand assertion of
       19     privilege is overruled.        We have produced among
       20     the documents that we produced last week, we have
       21     produced all ATO transcripts in Dr. Wright's
       22     possession.     Let me be clear, we have taken appeal
       23     on the ruling -- we have not yet taken an appeal
       24     on the ruling but we intend to and, unless we
       25     produced it, unless there is an agreement as to
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         1    claw-back, we have produced the reservation that
         2    we will attempt to claw back if we are successful
         3    and so those documents are in your possession,
         4    Mr. Freedman, I do not know what your next
         5    question is.
         6                      MR. FREEDMAN:      Have you produced to
         7    us all communications correcting any ATO
         8    transcript errors?
         9                      MR. RIVERO:      Is that directed to me
       10     or Dr. Wright?      Dr. Wright has not made the
       11     production.
       12                       MR. FREEDMAN:      I do not know, Mr.
       13     Rivero.    Please let him answer.
       14                       Dr. Wright, have you produced to us
       15     any communications correcting any ATO transcript
       16     errors?
       17               A.      I have not produced, my lawyers
       18     have produced.
       19               Q.      Did you receive advice from your
       20     lawyer John at Laxon Lex did you receive advice
       21     from the lawyer not to disclose the ATO
       22     transcripts?
       23               A.      Yes.
       24               Q.      Dr. Wright, would it be fair to say
       25     that you consider Dave Kleiman a friend for a long
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         1    time and one of the very few people you could ever
         2    keep trusting?
         3               A.      There are two questions; would you
         4    like me to answer them.
         5               Q.      I will break it down for you.
         6    Would it be accurate to say that you considered
         7    Dave Kleiman a friend for a long time?
         8               A.      Yes.
         9               Q.      Would it be accurate to say that
       10     you considered Dave Kleiman one of the very few
       11     people you can keep trusting?
       12               A.      I trust too many people so that is
       13     difficult.      On a different thing I would say that
       14     Dave was one of the few people that I would say
       15     I loved.
       16               Q.      Did your choice of the name Satoshi
       17     have anything to do with Dave Kleiman?
       18               A.      Not ever.
       19                       MR. RIVERO:      Objection asked and
       20     answered.
       21     BY MR. FREEDMAN:
       22               Q.      I am going to upload into the share
       23     file a copy of your book Satoshi's Vision.             Can
       24     you let me know when you have that up?
       25                       MR. RIVERO:      Can you say again what
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                                                                          Page 116
         1    it is that you are showing?
         2                      MR. FREEDMAN:      A copy of the book
         3    entitled Satoshi's Vision published under the name
         4    Craig Wright.
         5                      MR. RIVERO:      Is that the title,
         6    I have lost for the moment my -- just a moment, my
         7    text has stepped out, it was working perfectly
         8    well before the break but now I am in charge -- I
         9    do not think we need, it is just a matter of -- it
       10     is coming right now.
       11                       MR. FREEDMAN:      If you need to stop
       12     up let us know.      Dr. Wright, can you go to page 11
       13     of that file?
       14               A.      I am at a page entitled "I am
       15     Satoshi."
       16               Q.      Great.    If you look three
       17     paragraphs up from the bottom a paragraph starting
       18     "there was a secondary", do you see that?
       19                       MR. RIVERO:      Obviously I have to
       20     have access to the page if you are going to ask
       21     questions.     Do you have another question you can
       22     ask while I resolve this?
       23                       MR. FREEDMAN:      I do not.     Let us
       24     take a break.
       25                       MR. RIVERO:      I do not agree to this
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         1    procedure.     I am sure that you must have something
         2    that you could go to.       When it gets to 10 o'clock
         3    at night, it is going to be very difficult to
         4    proceed in this deposition, but go ahead; take a
         5    break.
         6              (A short recess at 4.55 p.m. to 4.58 p.m.)
         7                      MR. RIVERO:      I just want to know
         8    that I object to the conditions that apparently
         9    are prevailing now.       Mr. Cohen is complaining he
       10     is too hot to keep his tie on.          This is for trial
       11     testimony and I want my client testifying in a
       12     suit and tie for appearance before the jury.
       13     I object.    Let us proceed.
       14                       MR. FREEDMAN:      That creates a
       15     little bit of a problem.        I need to --
       16                       MR. RIVERO:      You postponed this
       17     multiple times, this was your show.           To me it is
       18     appalling these situation, let us just continue.
       19                       MR. BRENNER:      Two things before we
       20     continue, this is Andrew Brenner.           You can object
       21     to the deposition going forward in which case we
       22     have to adjourn it because when it comes to
       23     impeach him at trial you are going to say the
       24     conditions were not fair.        No one has turned the
       25     heat up on purpose, Mr. Rivero, I can assure you
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         1    of that.    If you would like to deposition to
         2    continue forward you have to say on the record
         3    that you allowing it to continue forward.             I am
         4    not finished yet.      You cannot object to the
         5    conditions and then be able to say at the end of
         6    the day see, the conditions were not fair, he
         7    cannot be held to his testimony.          We have to an
         8    agreement one way or the other.
         9                      MR. RIVERO:      Mr. Brenner, I have
       10     not said that.      I have said that if the conditions
       11     force him to remove his tie, that is not my
       12     preference for his appearance.          I am not saying he
       13     cannot proceed.      I am object to the conditions in
       14     the room.    He ought to be able to make the
       15     appearance that we wish him to.          I continue in my
       16     objection, say proceed and fix the conditions, it
       17     is your show.
       18                       MR. BRENNER:      So far he has his tie
       19     on, if he needs to take it off, we can cross that
       20     bridge when we get there.
       21                       MR. RIVERO:      I already said that I
       22     object to -- if his conditions are uncomfortable,
       23     I am not saying that we cannot proceed with this
       24     deposition.
       25     BY MR. FREEDMAN:
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                                                                         Page 119
         1              Q.      Dr. Wright, do you have page 11 of
         2    the Satoshi's Vision book open in front of you
         3    before we took the break?
         4              A.      I certainly do.
         5              Q.      Is it still open?
         6              A.      I certainly do.
         7              Q.      This is the first chapter of the
         8    Satoshi's Vision book published under the name
         9    Craig Wright?
       10               A.      Yes, I see that.
       11               Q.      Can you look up three paragraphs up
       12     from the bottom, there is a paragraph -- sorry,
       13     I want to take one step back.          Before the break
       14     I asked you whether or not -- I quote from the
       15     transcript:     "Did your choice of the name Satoshi
       16     have anything to do with Dave Kleiman?            Answer
       17     never"; do you recall that?
       18               A.      Yes.
H      19               Q.      Can you read the paragraph "there
       20     was a secondary part of the name Satoshi" for the
       21     record please?
       22               A.      Yes.    "There was a secondary part
       23     of the name Satoshi.       Satoshi Sugiyama was adopted
       24     by an American and given the name David Philips.
       25     It comes from a book, the House of Morgan.             David
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                                                                         Page 120
         1    was adopted in both cases.         David Kleiman was
H
         2    adopted and so was Satoshi.         I admired the
         3    characters in the book.        It reminded me of a far
         4    more glorious and honorable period in banking, not
         5    something that we could go back to but something
         6    we could remember when formulating Bitcoin.
         7    Pierpont Morgan was an interesting character and
         8    one who proved himself through work."
         9              Q.      Is it not true that Dave Kleiman
       10     did have to do with the name Satoshi?
       11               A.      It is not true.
       12               Q.      Is there anything about the
       13     conditions in the room that are impeding your
       14     ability to testify truthfully today?
       15               A.      No, I can truthfully state things
       16     and I have been truthful in every statement I have
       17     made.
       18               Q.      Was Satoshi Nakamoto a team?
       19               A.      No, it was not.
       20               Q.      Was Dave Kleiman part of a team
       21     that formed Satoshi Nakamoto?
       22               A.      I just answered there was no team.
       23                       MR. RIVERO:      Object to the form.
       24     BY MR. FREEDMAN:
       25               Q.      Did Satoshi Nakamoto die with
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                                                                         Page 121
         1    Dave's death?
         2               A.     Again, there was no team.
         3               Q.     That is not what I asked.         Did
         4    Satoshi Nakamoto die with Dave's death?
         5                      MR. RIVERO:      Object to the form.
         6               A.     Satoshi Nakamoto was myself.          Dave
         7    dying did not make me die.         Dave was not a C-coder
         8    and could not have coded Bitcoin.           Dave did not
         9    have any academic qualifications at all and was
       10     not able to write any of the academic aspects of
       11     the Bitcoin.     Dave was not trained in law, or
       12     economics Dave was not trained in Poisson
       13     mathematics, statistics, he was not trained in
       14     finance, monetary theory or any of the other
       15     aspects that make Bitcoin.         No, Dave's death had
       16     nothing to do at any point with Satoshi; before or
       17     after Dave's death Dave had nothing to do with
       18     Satoshi.
       19               Q.      Would it be fair to say that
       20     Satoshi Nakamoto was a good coder?
       21               A.      No, it would not be fair to say
       22     that.
       23               Q.      Would it be accurate to say that
       24     Satoshi Nakamoto was a good coder?
       25                       MR. RIVERO:      Object to the form.
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                                                                           Page 122
         1              A.      No, I was not a good coder, I am
         2    still not to a good coder, I am an adequate coder.
         3    I am academic, I used to teach C, C++, C#.             The
         4    format and use of case statements within Bitcoin
         5    is, I would say, designed and architecturally
         6    horrible but it was the best I could do.            People
         7    who work for me now are good coders they can do
         8    things that I would love to have been able to do
         9    in code.
       10               Q.      Would it be fair to say this your
       11     coding was crud?
       12               A.      No, it would not be fair to say my
       13     coding was crud.      I self-deprecate at times but
       14     the truth of the matter, if you want truth, that
       15     is not crud although I have called myself a crud
       16     coder.
       17               Q.      Would it be fair to say that Dave
       18     could edit code really well?
       19               A.      No, Dave had no coding skills at
       20     all.
       21               Q.      Dr. Wright, I am going to upload
       22     into the drop box what you produced in this
       23     litigation as defense 115950; do you have that up?
       24                       (Exhibit Defense 115950 referred
       25     to)
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                                                                         Page 123
         1              A.      Yes.
         2              Q.      Dr. Wright, do you recognize this
         3    as an e-mail chain between yourself and Ira
         4    Kleiman?
         5              A.      I see that it is an e-mail
         6    purporting to be from Ira Kleiman to myself.
         7              Q.      On or about March 11, 2014?
         8              A.      I see that date on the e-mail.
         9              Q.      Go down to e-mail on Friday March
       10     7, 2014 from you on the fourth page?
       11               A.      I am on the fourth page.
       12               Q.      You see the e-mail says: "Ira, what
       13     is true?"
       14               A.      No, I see text that you are
       15     purporting is an e-mail.
       16               Q.      This is a copy of an e-mail that
       17     you produced to us?
       18               A.      No, it is documents that come from
       19     machines that my lawyers were given.           You are
       20     saying that it is from me.         It is not from me.
       21               Q.      Do you have any reason to believe
       22     these correspondence are not genuine?
       23               A.      Yes.
       24               Q.      What are those reasons?
       25               A.      I have seen this before.
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                                                                         Page 124
          1             Q.      Why is it not genuine?
          2             A.      A series of e-mails from various
          3   people have been edited.        I have noticed these --
          4   I will not go into discussions with my lawyers --
          5   but analysis has been done on several e-mails and
          6   there are edits made to multiple e-mails from me,
          7   both on the hotwire account that I was no longer
          8   able to access in April as well as purporting to
          9   be from myself, coming from a Brisbane address
         10   when I was not there.
         11             Q.      This is an e-mail RCJBR from 2014,
         12   not from either of those accounts, so why do you
         13   believe this e-mail is not genuine?
         14             A.      (1) that is not what I just said.
         15   I didn't say only hotwire, I said hotwire and
         16   others, so you cannot say not from any of those
         17   accounts because that is not correct.            (2) this is
         18   not an e-mail, this is a part of an e-mail stream
         19   that comes from Ira.
Auth-H   20             Q.      Dr. Wright, you produced this to
         21   us, that is why it is Bates labeled DEFAUS 115933.
         22                     MR. RIVERO:      Objection.
         23                     MR. FREEDMAN:      I do not think there
         24   is much utility in us discussing this.            Do you see
         25   in the e-mail where it says "I had math skills and
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                                                                         Page 125
Auth-H    1   some coding that frankly was crud".
          2             A.      What I see is a document seized
          3   from Australia after I had left Australia.             This
          4   is a document on machines that had nothing to do
          5   with me.    What you have seized is evidence that
          6   people in Australia were falsely accessing and
          7   altering e-mails, people who later ended up fired,
          8   and basically you are saying e-mails that you
          9   purport to be real being held between people who
         10   had sought to shut down my companies, that were
         11   captured in Australia when I was no longer in
         12   Australia, when my computers were not in Australia
         13   that have been given to you, and you are saying
         14   that they are from me when there was no way
         15   I could have sent them.
         16                     MR. RIVERO:      I am going to preserve
         17   an authenticity objection, but you need to answer
         18   the questions about the documents.           So, if go
         19   ahead and answer the question, I will assert and
         20   preserve an authenticity objection to the use of
         21   the documents.      Please answer the questions.
Auth-H   22             A.      I see a sentence that I did not
         23   type.
         24   BY MR. FREEDMAN:
         25             Q.      You can see the sentence where it
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                                                                         Page 126
Auth-H    1   says "Dave could edit his way to hell and back"?
          2             A.      Yes.
          3             Q.      Do you not agree with that
          4   statement now?
          5                     MR. RIVERO:      Objection to the form.
          6             A.      No, I do not agree with that
          7   sentence.
          8   BY MR. FREEDMAN:
          9             Q.      Did you type that?
         10             A.      I did not type that.
         11                     MR. RIVERO:      Object to the form.
         12   BY MR. FREEDMAN:
         13             Q.      Somebody else saved this e-mail?
         14             MR. RIVERO: Objection.
         15             A.      This is not an e-mail from me, this
         16   is a machine copied from an Australian employee.
         17             Q.      What is the name of the Australian
         18   employee?
         19             A.      I do not know, I do not know which
         20   machine this comes from, I haven't been given
         21   anything more than a number.
         22             Q.      Do you see where it says Satoshi
         23   was a team?
         24             A.      I see that.
         25             Q.      You just told me Satoshi was not a
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                                                                         Page 127
Auth-H    1   team?
          2             A.      Satoshi was not a team.
          3             Q.      Why are you contradicting yourself?
          4                     MR. RIVERO:      Object to the form.
          5             A.      Again, you are seeking to have me
          6   lie by saying that Satoshi was a team when Satoshi
          7   was not a team.      As I have said, this is not what
          8   I sent.    You did not get this from me, you got it
          9   from an ex-staff member in Australia after I had
         10   left the country from a machine I did not own.
         11   BY MR. FREEDMAN:
         12             Q.      Actually we got this from you.           Let
         13   us go to the second part of that sentence where it
         14   says "without the other part of that team, he
         15   died".    Do you see that?
         16                     MR. RIVERO:      Object to the form.
         17             A.      I see that and I will state that,
         18   no, you did not get this from me, you got it from
         19   my counsel.
         20   BY MR. FREEDMAN:
         21             Q.      Why did you write "without the
         22   other part of that team, he died" if previously
         23   you just emphasized to me that Satoshi did not die
         24   when Dave died?
         25             A.      Because I did not write that
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                                                                         Page 128
Auth-H
          1   sentence.
          2             MR. RIVERO: Objection to form,
          3   argumentative.      Please answer.
          4             A.      As I said, I did not write that
          5   sentence.
          6   BY MR. FREEDMAN:
          7             Q.      Where did your counsel get these
          8   documents if they did not come from you?
          9             A.      I believe that they were captured
         10   from Australia, I do not know the exact machines
         11   that they got them from.        I did not, I was not
         12   involved with all the sources that they got them
         13   from.
         14             Q.      Did you have any e-mail
         15   communications with Ira?
         16             A.      I had some, yes.
         17             Q.      Is this one of those e-mail
         18   communications you had with Ira?
         19                     MR. RIVERO:      Object to the form.
         20             A.      No, seeing as I did not type this
         21   e-mail it was not one of the ones I had with Ira.
         22   BY MR. FREEDMAN:
         23             Q.      Dr. Wright, did Dave Kleiman write
         24   the Bitcoin code?
         25             A.      Dave Kleiman could not code.
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                                                                         Page 129
         1              Q.      Dr. Wright, I am uploading to the
         2    drop box two different files, control 1268220 and
         3    control 1277609
         4              (Exhibits control 1268220 and control
         5    1277609 referred to)
         6              Q.      How am I supposed to know which
         7    communications you had with Ira were real and
         8    which ones were not real?
         9              A.      If you are going to ask me about
       10     the things that I said I did not or did not do,
       11     then that is what generally you would do as part
       12     of your job.     If I say no, I didn't have that,
       13     then I say no, I didn't have that.           You could also
       14     analyze some of the documentation and where they
       15     came from and sources, and things that did not
       16     come from my computers would not be something that
       17     I would trust.
       18               Q.      The only way for us to know if this
       19     is a real document is if you say that is accurate.
       20                       MR. RIVERO: Objection.         Can you say
       21     which document?      I have lost track of the number
       22     we are talking about.
       23                       MR. FREEDMAN:      DEFAUS 115950.
       24                       MR. RIVERO:      The same one.
       25                       MR. FREEDMAN:      The same one.
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                                                                          Page 130
         1    Dr. Wright ---
         2              A.      Yes.
         3    BY MR. FREEDMAN:
         4              Q.      Are you saying the only way for us
         5    to know if a document is real is if you say it is
         6    real?
         7              A.      That is not what I said, nor
         8    implied.
         9                      MR. RIVERO:      Object to the form.
       10     BY MR. FREEDMAN:
       11               Q.      How else aside from your say-so can
       12     we know -- how else can we know, besides from your
       13     say-so that a document you have produced to us is
       14     real?
       15                       MR. RIVERO:      Object to the form.
       16               A.      The document my counsel have
       17     produced from various sources and what you would
       18     have is e-mails from Ira Kleiman and you would
       19     have to start analyzing some of those.            The ones
       20     received, etc.      Even then you would have to
       21     analyze the source and other such things.             You
       22     would not pick e-mails that I had supposedly given
       23     you in a stream.      You would pick the original, as
       24     Mr. Ira Kleiman had, and start forensically
       25     examining that, looking at the source, the IP
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                                                                         Page 131
         1    address, where it was done, showing that I was in
         2    that location or whatever else, which is not this.
         3    BY MR. FREEDMAN:
         4              Q.      Are you aware that you are listed a
         5    custodian for this document?
         6                      MR. RIVERO:      Sorry, I could not
         7    hear the question.
         8    BY MR. FREEDMAN:
         9              Q.      Are you aware that you are listed
       10     as the custodian for this document?
       11                       MR. RIVERO:      Object to the form.
       12               A.      No, I do not ----
       13     BY MR. FREEDMAN:
       14               Q.      Do you see those two control files
       15     that have been upload to the share file?
       16               A.      Not really.      I see two files have
       17     been uploaded but I do not see the files
       18     themselves, no.
       19                       MR. RIVERO:      Mr. Freedman, you have
       20     to tell me what you are referring to.            Are we
       21     changing documents now?
       22                       MR. FREEDMAN:      We are changing
       23     documents control 1277609 and control 1268220.
       24                       MR. RIVERO:      Bear in mind you
       25     control this proceeding but I do not see what you
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                                                                           Page 132
         1    are showing Dr. Wright so you have to tell me so
         2    I know what is going on.
         3    BY MR. FREEDMAN:
         4              Q.      The documents I will do my best to
         5    make sure I reference them to you.
         6                      MR. RIVERO:      I want to make sure we
         7    understand each other.        I am looking at the
         8    document that you asked me to look at so I am not
         9    looking at the population of the share file at
       10     that moment, I am looking at the document.             You
       11     have to tell me "we are changing documents" so
       12     I can stay with you.
       13     BY MR. FREEDMAN:
       14               Q.      Do you have those documents in
       15     front of you now?
       16               A.      I have the two file names in front
       17     of me.
       18               Q.      Can somebody please open them for
       19     Dr. Wright?
       20               A.      I believe we can do one at a time,
       21     not both.
       22               Q.      Right.
       23                       MR. RIVERO:      That is how my
       24     computer works.
       25     BY MR. FREEDMAN:
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                                                                         Page 133
H
         1              Q.      Let us do 1277609 first.         I asked
         2    you if Dave wrote the Bitcoin code and I believe
         3    you said no, is that an accurate characterization
         4    of your testimony?
         5              A.      Dave Kleiman did not write code.
         6              Q.      Do you have that file in front of
         7    you now, Dr. Wright?
         8              A.      I certainly do.
         9              Q.      Do you see it; it is a tweet from
       10     somebody called Mike Relentless?
       11               A.      Yes.

H      12               Q.      "The real Satoshi wrote the White
       13     Paper Dave Kleiman wrote the code, coders are not
       14     inventors, left brain versus right brain; Satoshi
       15     was creative."      Do you see there are four likes?
       16               A.      I see four likes, yes.
       17               Q.      Do you see the like on the right
       18     most side?
       19               A.      I see someone using my image.
       20               Q.      Let us go to control 1268220; do
       21     you have the document in front of you?
       22               A.      I am waiting.
       23               Q.      Did write this post?
       24                       MR. RIVERO:      I am also loading.
       25     BY MR. FREEDMAN:
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                                                                          Page 134

 H-R     1              Q.      I am not referencing.        Did you like
         2    this post?
         3              A.      I do not know.       If you are asking
         4    whether the former account that I had Professor
         5    Faustus like that thing, as I said, I was not the
         6    sole person running the Bitcoin -- Twitter account
         7    that I had.     I do not run my social media.          My
         8    linked-in page is run by Sebastian and I apologize
         9    I do not know the other person's name, which is
       10     really terrible because they work for me.
       11               Q.      Can we agree that your Professor
       12     Faustus account liked this tweet?
       13                       MR. RIVERO:      Object to the
       14     documents, I do not know how this is captured,
       15     I do not know what that reflects, we do not have
       16     the ability to open anything, I object to this
       17     document 1277609.      Dr. Wright answer if you can.
       18               A.      Basically what you are saying is
       19     someone clicked on a Mike Relentless SV like from
       20     the past, followed by people like Vinny Lingham
       21     and whatever else, and liked a comment by someone;
       22     is that correct?
       23     BY MR. FREEDMAN:
       24               Q.      I am just asking whether the Prof.
       25     Fautus account that you said belonged to you liked
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                                                                           Page 135
         1    this tweet; simple question?
         2               A.     That is not what I said.
         3                      MR. RIVERO:      Object to the form.
         4               A.     I did not say it belonged to me.
         5    I even said that the Facebook one did not belong
         6    to me.     I said I used an account in conjunction
         7    with staff.     That at no point did I say nor
         8    characterize that I owned the account.            Please do
         9    not put words in my mouth.
       10     BY MR. FREEDMAN:
       11               Q.      I understand that you claim you did
       12     not write any e-mail and you did not make any
       13     posts, but all I am asking for this specific
       14     question is: did the Prof. Faustus account like
       15     this tweet; yes or not?
       16                       MR. RIVERO:      Objection move to
       17     strike the product of the question.           Answer if you
       18     can.
       19               A.      I do not know the Prof. Faustus
       20     account was disabled quite some time ago by
       21     Twitter.    As such, I am not able to say whether
       22     that is the case or not.        I do not know whether
       23     any of the staff members clicked on that, I do not
       24     know whether they liked it, I do not know.             All
       25     I see is an image that shows my image and saying
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                                                                         Page 136
         1    that it is liked.
         2    BY MR. FREEDMAN:
         3              Q.      Did Dave Kleiman compile version
         4    0.1 of Bitcoin?
         5              A.      No.
         6              Q.      Dr. Wright, I am uploading to the
         7    share files Kleiman 4288.        Let me know when that
         8    is up.
         9                      (Exhibit Kleiman 4288 referred to)
       10               Q.      Is that up?
       11               A.      No, I'm still waiting.         It is up.
       12               Q.      Do you recognize this e-mail?
       13                       MR. RIVERO:      I am looking for it.
       14               A.      No, I do not.
       15     BY MR. FREEDMAN:
       16               Q.      Is this a real e-mail?
       17                       MR. RIVERO:      Wait a moment, it has
       18     to load for me.      Please give me a moment to make
       19     sure I have it.      Go ahead.
       20               A.      It is a PDF.
       21     BY MR. FREEDMAN:
       22               Q.      Is it a PDF of an e-mail?
       23               A.      I do not know.       It is a PDF of what
       24     appears to be an e-mail, yes.
       25               Q.      Is it real?
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                                                                           Page 137
           1              A.      I do not know, I cannot tell from a
           2    PDF.   If you are asking is it my e-mail, no.
Auth-H     3              Q.      On 10 May 2017 Ira wrote to you
           4    "I read that version 0.1 of Bitcoin was compiled
           5    using Microsoft visual studio for windows and the
           6    other day I came across that program in Dave's set
           7    of disks, it got me wondering if he compiled it";
           8    do you see that?
           9              A.      Yes.
         10               Q.      Do you see you respond back?          "Yes,
         11     we both played(?), Dave compiled"?
         12               A.      You are saying this is an e-mail
         13     from me.    I stopped responding at all, well before
         14     this, to Mr. Kleiman?
         15               Q.      The e-mail we looked at which was
         16     previously DEFAUS 115950 also came from Craig at
         17     RCJBR.org e-mail account.        We are now in 2017,


         19     claiming that someone else is writing this e-mail,
         20     is that accurate?
         21                       MR. RIVERO:      Objection,
         22     mischaracterizing the testimony.          Dr. Wright,
         23     answer that if you can.
         24               A.      Again, you are making the
         25                    means that it came from the account.
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         2    failing to understand or accept that it is very
         3    easy to spoof and forward e-mail or even that this
         4    has been analyzed and that I have seen anything
         5    showing that it came from me.
         6    BY MR. FREEDMAN:
         7              Q.      This is not your ----
         8              A.      Sorry, I did not hear.
         9              Q.      Is this e-mail fake?
       10               A.      Looking at a PDF does not allow me
       11     to say this e-mail is fake.         Someone could have
       12     jumped on or hacked my machine, I do not know
       13     that.   I do know that we have a complaint with the
       14     UK police about a hacking at the moment that has
       15     occurred, and I also know that I cannot say
       16     whether this is a doctored copy of an e-mail or a
       17     hacked e-mail from a PDF.
       18               Q.      Did you send this e-mail?
       19               A.      No, I was not communicating with
       20     Ira Kleiman.
       21               Q.      Do you still have the e-mail
       22     address
       23               A.      I have recently re-enabled that.
       24               Q.      When did you not have it?
       25               A.      It was disabled at the end of 2015,
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                                                                         Page 139
         1    I do not remember exactly when it was re-enabled.
         2               Q.     Was Dave one of the three key
         3    people behind Bitcoin?
         4               A.     No.
         5               Q.     I am uploading to the share file
         6    Kleiman 8178.
         7               (Exhibit Kleiman 8178 referred to)
         8               A.     It is still loading.
         9               Q.     Page 1.
       10               A.      The e-mail is up.
       11               Q.      Do you see an e-mail in the middle
       12     page February 11, 2014 from
       13     Craigswright@hotwirepe.com?
       14               A.      No, I do not see the e-mail I see
       15     the text that purports to be that from a forwarded
       16     document, Craigwright@hotwire was a joint CEO
       17     account.
       18               Q.      Do you see where it says "hello
       19     Louis, your son Dave and I are two of the three
       20     key people behind Bitcoin"?
       21               A.      Yes, I see that.
       22               Q.      Did you type that?
       23               A.      No, I did not.
       24               Q.      Who typed it?
       25               A.      If it was sent directly from my
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                                                                         Page 140
         1    e-mail account, possibly Angela.
         2              Q.      Angela who, what is her last name?
         3              A.      Demitrio, she was my EA,
         4    I apologize if I am pronouncing it wrong, it has
         5    been many years.
         6              Q.      Why would she have typed that?
         7              A.      She was my EA.       I had requested
         8    people to reach out to Louis Kleiman; Uyen Nguyen
         9    had found Louis's contact details and I had
       10     requested my staff to send an e-mail contacting
       11     him saying that Dave had shares in Coin-Exch, that
       12     his estate basically needs to transfer and that
       13     Mr. Kleiman, David Kleiman, was very important to
       14     me, he had been my best friend and to reach out to
       15     his family.
       16               Q.      Angela came up with the idea that
       17     "Dave and I are two of the three key people behind
       18     Bitcoin"; is that your testimony?
       19               A.      No, that is not what I said.
       20               Q.      Did you tell Angela to write those
       21     words or the sub-state to those words?
       22               A.      No, I did not.
       23               Q.      Where did she understand to write
       24     that?
       25               A.      My guess would be speaking to Uyen
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                                                                           Page 141
         1    Nguyen, possibly other people at the organization
         2    at the time.
         3              Q.       Dr. Wright, I believe the record
         4    will reflect that at your first deposition
         5    I handed you this e-mail and I asked if you
         6    recognized it. You told me it was a printout of an
         7    e-mail and then I asked you "did you write" and
         8    you responded "I typed that".          Is that your
         9    testimony?
       10               A.      That is a mischaracterization.           You
       11     asked me a particular sentence.          You did not say
       12     whether I typed that e-mail.         You said a
       13     particular sentence -- literally one sentence in
       14     this e-mail -- and say "did you type that".             In
       15     discussions with my lawyers, I typed that exact
       16     sentence.      When discussing between Amanda ---
       17                       MR. RIVERO:      Dr. Wright, please do
       18     not talk about discussions with your lawyers.
       19     Please answer.
       20               A.      Without going into the discussions,
       21     we had -- I just need to formulate how I say it
       22     without saying my discussions -- I had pointed out
       23     evidence that my lawyers -- I keep hitting
       24     discussion points.       I discussed that sentence and
       25     I typed that sentence.        I did not type the whole
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                                                                           Page 142
         1    e-mail.     As you know, and as you have pointed out
         2    yourself several times, I am overly literal.             You
         3    asked me had I typed that sentence.           Yes, I have
         4    typed that sentence.
         5                Q.      Did you mean it when you typed it?
         6                A.      I meant to type what I typed when
         7    I was discussing evidence with my counsel.              I did
         8    not mean that I typed that e-mail.
         9                        MR. RIVERO:    Dr. Wright, I have to
       10     be careful that you do not waive privilege.             Do
       11     not discuss communications with counsel.
       12     BY MR. FREEDMAN:
       13               Q.       Dr. Wright, I want to understand
       14     what exactly it is you are telling me.            I asked
       15     you, and it says "hello Louis, your son Dave and
       16     I" -- let me back up.       I am going to read from the
       17     transcript for you.
       18               A.       Please do.
       19               Q.       "Q.   Do you recall reaching out to
       20     Louis Kleiman in February 2014? A.           I do not
       21     remember the exact date but some time around then,
       22     yes.   Q.    I am handing you what we can mark as
       23     plaintiff's exhibit 2, this is documentary 83-23,
       24     do you recognize this e-mail on the second half of
       25     page 2? A.       I recognize the printout of the
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                                                                         Page 143
         1    e-mail.    By Mr. Freedman Q.        It says 'hello
         2    Louis, your son Dave and I are two of the three
         3    key people behind Bitcoin'.         Did you write that?
         4    A.     I typed that. Q.    Who is the third person? A.
         5    It is one of those things.         Ms. Marko.     Okay.
         6    Dr. Wright is not in a position to answer that
         7    question.      We will provide a full some explanation
         8    to the court in camera."        Do you recall that back
         9    and forth?
       10               A.      Which is exactly what I just told
       11     you.    I recollected my deposition correctly --
       12               Q.      I just asked if you recall the
       13     testimony.     Please keep your answer to what I am
       14     asking you.
       15               A.      I am.    Would you like me to answer
       16     or do you want to interrupt me again?
       17               Q.      Go ahead, please answer.
       18               A.      It was exactly what I just told
       19     you.    My recollection was completely correct of
       20     the first deposition.       You asked me did I type
       21     that sentence?      That is a question literally
       22     meaning have I ever typed that sentence.            In a
       23     response to my lawyers where I said in the e-mail
       24     sentence -- which I will not discuss because my
       25     lawyer will object -- I typed that sentence.              So,
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                                                                         Page 144
         1    the correct answer to "did you type that
         2    sentence?"      Yes, because did "you type this" is
         3    not the e-mail, it is a sentence.           You did not say
         4    "did you type or did you create or did you produce
         5    that e-mail?"
         6               Q.      In response to my showing you an
         7    e-mail and asking you whether or not you typed a
         8    sentence of it you purposively misled me to think
         9    that you had just typed one sentence of it in a
       10     conversation with your lawyers but you did not
       11     mean to answer that you had actually typed that
       12     e-mail?
       13               A.      You are again misconstruing my
       14     answer.    I have put you on notice that I have
       15     Asperger's, I have autism, I am literal, this is,
       16     under the American Disability Act, a registered
       17     disability.     I have a disability.        I am utterly
       18     literal.    You have in this case pulled me up
       19     saying "you are a very literal person,
       20     Dr. Wright".     You have many times made that
       21     statement.      You recognize the complete literalness
       22     of my answers.      You asked me, as a disabled person
       23     under the American Disability Act, whether a
       24     disability I have is a problem for you, and you
       25     are accusing me of lying because I do not look
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                                                                          Page 145
         1    people in the eye, because that is part of my
         2    disability, you are accusing me of lying because
         3    well basically I literally answered the exact
         4    question that you asked me, literally.            Is that
         5    what you are saying?       Are you saying you are
         6    objecting because of my disability and the fact
         7    that I literally answer?
         8              Q.      Dr. Wright --
         9                      MR. RIVERO:      Do me a favour, just
       10     answer the questions.       I forgot what the question
       11     was, but just answer the question.
       12     BY MR. FREEDMAN:
       13               Q.      We will move on.       Did you write
       14     that sentence in an e-mail to Louis Kleiman?
       15               A.      No.
       16               Q.      Why did you tell the court you
       17     could not answer my question on who the third
       18     person was because it involved issues of national
       19     security?
       20               A.      Because of the way you asked it.
       21               Q.      Explain that to me.        What were the
       22     issues of national security that were called into
       23     question when I asked you who is the third person?
       24               A.      If I am talking about people who
       25     had helped me then the other person was a person
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                                                                           Page 146
         1    in the UK.     Did he help me code ----
         2              Q.      I do not understand.        Is the
         3    sentence "there are three people behind Bitcoin",
         4    true or false?
         5              A.      Did they help me code?         No.   Did
         6    they write the paper?       No.    Did two other people
         7    help me in setting everything up?           Yes.
         8              Q.      Two other people helped you set
         9    everything up.      One of them is Dave; who is the
       10     third person?
       11               A.      I did not say one of them is Dave.
       12               Q.      Who are the two people that helped
       13     you set everything up, Dr. Wright?
       14               A.      Wing Commander Don Lynam, Order of
       15     Australia, number 1.       The other person works ----
       16               Q.      Sorry, sorry I did not catch that.
       17     Please repeat number 1; who is number 1?
       18               A.      Wing Commander Donald Lynam,
       19     Australia Air Force, retired.
       20               Q.      Who is number 2?
       21               A.      Number 2 is a former GCHQ MI6
       22     operative who was killed by Russian agents who was
       23     working on the tracking of basically money
       24     laundering funds that I had helped and talked to
       25     before his death here in the UK, named Gareth.
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                                                                         Page 147
         1              Q.      What is Gareth's last name?
         2              A.      Am I allowed to answer these sort
         3    of things?
         4                      MR. RIVERO:      Dr. Wright, I think
         5    this has already been ruled on by the court --
         6    I am pretty sure this was ruled on by the court,
         7    and so I think you have to answer, I am not
         8    instructing you not to answer.
         9                      A.   He went by Williams.
       10     BY MR. FREEDMAN:
       11               Q.      Gareth Williams?
       12               A.      That is one name he used.
       13               Q.      So, Dr. Wright, were you a super
       14     spy for the government?
       15                       MR. RIVERO:      Objection, judge
       16     I have not in the entire time made a relevance
       17     objection, but I think this was dealt with at the
       18     previous deposition, I am not sure how this
       19     question deals -- relates to the determination of
       20     the issues of this case, which is about the
       21     relationship between Dave Kleiman and Dr. Wright
       22     and I would ask for a relevance ruling on that
       23     question.
       24                       JUDGE REINHARDT:       Mr. Freedman, I
       25     will hear you.
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                                                                         Page 148
         1                      MR. FREEDMAN:      Dr. Wright has now
         2    claimed that the e-mails he previously said were
         3    real and that in involved relevant admissions to
         4    the partnership are complete fabrications, and
         5    that instead the three people he is actually
         6    referring to are two other people, we believe this
         7    is completely untrue and that this will go to
         8    Dr. Wright's credibility to the jury.            His story
         9    is unbelievable.
       10                       JUDGE REINHARDT:       The pending
       11     question was something to the effect was
       12     Dr. Wright a spy for the UK?         That is completely
       13     irrelevant.
       14                       MR. RIVERO:      That is the question
       15     I objected to, your Honor.
       16                       JUDGE REINHARDT:       I sustain that
       17     relevance objection.
       18     BY MR. FREEDMAN:
       19               Q.      Dr. Wright, did you want -- do you
       20     see in the e-mail to Louis Kleiman the third
       21     paragraph "know also that Dave was a key part of
       22     an invention that will revolutionize the world"?
       23               A.      I see the comment and I see the
       24     reference to a link that I hate.
       25               Q.      Did you type that sentence to Louis
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                                                                         Page 149
         1    Kleiman?
         2              A.       No, I did not sent this e-mail;
         3    other people who worked for me may have.
         4              Q.       Did you authorize them to send this
         5    e-mail?
         6              A.       I authorized them to reach out and
         7    send an e-mail.      I did not review what was sent.
         8              Q.       Do you agree with the statement
         9    that Dave was a key part of an "invention that
       10     will revolutionize the world"?
       11               A.      I believe that Dave was essential
       12     for me because, without Dave, I would not have
       13     survived.      I talked to Dave three, four times a
       14     week, so Dave was essential because I would not
       15     have kept my sanity without Dave.           Dave was my
       16     best friend and without Dave there to talk to
       17     literally I would have just quit earlier.
       18               Q.      Dr. Wright, did you need Dave's
       19     help to build Bitcoin?
       20               A.      I needed Dave's help as in
       21     listening to me, hearing me rant, someone to talk
       22     to, to be a friend.
       23               Q.      Did you need him to help, did you
       24     need his help to help you build Bitcoin?
       25               A.      I reiterate, I needed Dave's help
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                                                                         Page 150
         1    because, if it was not for Dave, I would not have
         2    stayed sane.     I do not have many people like me,
         3    I do not get on well with people, and to have
         4    someone who would sit there and listen to me, who
         5    would treat me like I am human was actually
         6    important to me.      At that time Dave was the only
         7    person who did in my entire life.
         8              Q.      You needed him to help you build
         9    Bitcoin?
       10               A.      I needed Dave to help in talking to
       11     Dave, yes.     I needed Dave as a friend.
       12               Q.      Was Dave an essential part of
       13     creating Bitcoin?
       14               A.      I reiterate if it wasn't for Dave
       15     I would have gone totally insane earlier.             I had
       16     no other friends.      I had people who worked for me
       17     -- I had people who did things for me, I had a
       18     marriage that was falling apart, I had one friend
       19     in the world, so, yes, I needed Dave.
       20               Q.      Would Bitcoin have executed without
       21     Dave?
       22               A.      Again, I had one friend, one friend
       23     I talked to, one friend who I told what I was
       24     doing, one friend.
       25               Q.      So would Bitcoin have executed
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                                                                         Page 151
         1    without Dave?
         2                      MR. RIVERO:      Object to the form.
         3              A.      I do not know whether I would have
         4    gone insane or not.       Can I have a tissue please?
         5    BY MR. FREEDMAN:
         6              Q.      Was Dave an essential part of
         7    creating Bitcoin?
         8                      MR. RIVERO:      Objection asked and
         9    answered.
       10               A.      Dave was my friend.
       11     BY MR. FREEDMAN:
       12               Q.      This is not what I asked.          I asked
       13     if he was an essential part of creating Bitcoin?
       14                       MR. RIVERO:      Same objection.
       15               A.      Dave did not write the Bitcoin
       16     White Paper, Dave did not code, Dave did not
       17     launch, Dave did not run nodes, Dave was in
       18     hospital for the first few months.           I did
       19     everything I could to try and bring Dave into my
       20     life more.     Dave was my friend.
       21     BY MR. FREEDMAN:
       22               Q.      I am going to upload to the share
       23     cloud Australia 81546?
       24               (Exhibit Australia 81546 referred to)
       25               A.      After this one, can I have a break,
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                                                                         Page 152
         1    please?
         2                      MR. FREEDMAN:      Would you like to
         3    take a break now?
         4               A.     No, load this one first and then
         5    I will do it.
         6                      MR. RIVERO:      Has the temperature
         7    improved at all?
         8               A.     Not particularly.
         9                      MR. RIVERO:      Is it 52146?
       10                       MR. FREEDMAN:      81546.    Do you have
       11     that up?
       12               A.      I do.
       13               Q.      Do you see the e-mail from you to
       14     Dave Kleiman?
       15               A.      I do.
       16               Q.      Is this a real e-mail?
       17               A.      I sent something like this around
       18     that time.
       19               Q.      Did you send these exact words?
       20               A.      It looks like the words I sent,
       21     yes.
       22               Q.      Let us take a break.
       23               (A short recess from 5.48 p.m. to 6.06
       24     p.m.)
       25     BY MR. FREEDMAN:
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                                                                         Page 153
         1              Q.      Dr. Wright, in your share file is
         2    the document defense 1369334; can you open that up
         3    for me?
         4                      MR. RIVERO:      Repeat.
         5                      MR. FREEDMAN:      Defense 1369334.
         6              (Exhibit Defense 1369334 referred to)
         7    BY MR. FREEDMAN:
         8              Q.      Do you have that document up?
         9                      MR. RIVERO:      Just a moment, somehow
       10     I lost my setting.
       11                       Okay.    I found it.
       12     BY MR. FREEDMAN:
       13               Q.      Do you have that e-mail in front of
       14     you?
       15               A.      Yes.
       16               Q.      Is this an e-mail from Dave to you?
       17               A.      No, it is an e-mail from me sending
       18     something to Nicholas Mavrakis of Clayton Utz, my
       19     solicitor.
       20               Q.      Let me break that down.         If we go
       21     to e-mail correspondence below the e-mail from you
       22     to your solicitor, does it reflect an e-mail chain
       23     between you and Dave Kleiman?
       24               A.      Yes, that is what it appears to do,
       25     that looks familiar.
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                                                                         Page 154
H        1              Q.      Did you send these e-mails that are
         2    attributed to you?
         3              A.      This is from Dave Kleiman.
         4              Q.      Below that, there are e-mails from
         5    you, a chain of e-mails between you and Dave?
         6              A.      I have not seen the next one yet.
         7              Q.      Specifically I would like you to
         8    look at the e-mail that purports to come from you
         9    on 27 December 2008 at 1.02 p.m.; do you see that
       10     one?
       11               A.      Yes.    Keep scrolling please.        Yes.
       12               Q.      Did you send this e-mail?
       13               A.      It looks familiar, yes.
       14               Q.      Did you type "I need your help, you
       15     edited my paper and now I need to have you aid me
       16     build this idea"?
       17               A.      Yes, I asked Dave to help me.
       18               Q.      Dr. Wright, I am going to ask you
       19     to pick up DEFAUS 115950 uploaded at 1.06 p.m..
       20     (Exhibit DEFAUS 115950 referred to)
       21                       MR. RIVERO:      I am going back to my
       22     ---
       23     BY MR. FREEDMAN:
       24               Q.      Look at the upload time at 1.06
       25     p.m.
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                                                                         Page 155
         1                      MR. RIVERO: You are attributing too
         2    much technical knowledge to me.
         3              A.      I can attest for that.
         4                      MR. RIVERO:      Say the number.
         5                      MR. FREEDMAN:      DEFAUS 115950.
         6                      MR. RIVERO:      I have an important
         7    birthday coming up, I just want to point that out.
         8    I think I have it.       Is it, you say 15950?
         9                      MR. FREEDMAN:      115950.
       10                       MR. RIVERO:      Thank you for your
       11     patience.
       12     BY MR. FREEDMAN:

 H     13               Q.      Go to page 3 of that PDF for me,
       14     there you should see an e-mail from yourself on
       15     Friday March 7, 2014 at 5.22 p.m., do you see
       16     that?
       17               A.      I see that, yes.
       18               Q.      Did you send that e-mail?
       19               A.      Sounds like something I would say.
       20               Q.      Did you send it?
       21               A.      I cannot answer that.        I said it
       22     sounds like something I would say.
       23               Q.      Is it fake?
       24               A.      Again, I do not know.        But it
       25     sounds like something I would say -- or it reads
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                                                                         Page 156
  H      1    that way.
         2              Q.      Dr. Wright, can you go back to the
         3    Satoshi's Vision file in the dropbox, there is an
              Satoshi's
         4    e-mail
              e-mail in front of it, Mr. Rivero.
         5                      MR. RIVERO:      Tell me what page.
         6                      MR. FREEDMAN:      I am loading it up
         7    too this time.
         8              A.      It is loaded.
         9    BY MR.
                 MR. FREEDMAN:
       10               Q.      Can you go to the top of page 12.
       11     Are
              Are you there?
       12               A.      Yes.
       13               Q.      The Satoshi's Vision book published
       14     under
              under the name Craig Wright, correct?
       15               A.      Yes.
       16               Q.      Can you read that paragraph for the
       17     record?
       18               A.      Yes.
       19               Q.      Please go ahead.
       20               A.      "The second question is easier to
       21     answer.    I wrote the White Paper.         There was some
       22     bits and pieces included which I had help with and
       23     I had help editing, but the White Paper is
       24     essentially my work.       The matter of Satoshi being
       25     an individual or group is a little more complex,
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                                                                         Page 157
         1    Satoshi was a public persona.          I adopted a part
         2    that I played.      Yet even though I would say
         3    Satoshi was 90% me, other people helped, other
         4    people shaped the creation."
         5              Q.      Do you agree with that statement?
         6              A.      I do.
         7              Q.      Can you take a look at DEFAUS
         8    558940?
         9    (Exhibit DEFAUS 558940 referred to)
       10               Q.      This is an e-mail from you to
       11     Robert McGregor, yourself, Calvin Ayre, Ramona
       12     Watts, with a CC to other people?
       13               A.      Yes.
       14               Q.      Did you send this e-mail?
       15               A.      That looks like my e-mail.
       16               Q.      Do you see where it says "worst
       17     case is my communications with Dave"?
       18               A.      Yes.
       19               Q.      You see it says "the keys are on it
       20     as well"?
       21               A.      Yes.
       22               Q.      What keys are you talking about?
       23               A.      I am talking about keys that are
       24     encrypted files which this says AES256, so we are
       25     not -- what you are talking about there and what
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         1    this is are two different things I believe.             This
         2    is general encryption keys to machines, to other
         3    things that we are talking about.
         4              Q.      Do they mean Bitcoin keys?
         5              A.      No.
         6              Q.      The keys to Bitcoin?
         7              A.      No, Bitcoin does not use encryption
         8    at all, let alone AES256.
         9              Q.      It says there are keys on it but
       10     the keys are AES256 encrypted, right?
       11               A.      It does not say there are Bitcoin
       12     keys.
       13               Q.      Do you see under it says the e-mail
       14     started in 2007 where "we discussed the idea,
       15     sometimes digitally signed"?
       16               A.      Yes.
       17               Q.      Is there a reason you have not
       18     produced any e-mails for 2007 where you and Dave
       19     are discussing the idea of Bitcoins?
       20               A.      I do not have all my e-mails.
       21                       MR. RIVERO:      Object to the form.
       22     BY MR. FREEDMAN:
       23               Q.      There are e-mails you have not
       24     produced?
       25               A.      That is not correct.
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                                                                         Page 159
         1              Q.      There are e-mails you no longer
         2    have?
         3              A.      In 2007 I used to work for BDO.
         4    BDO is a chartered accountancy in Australia.             That
         5    organization has their own e-mail servers.             I am
         6    no longer a staff member at BDO, I have not been
         7    for many years, I do not know what happened to the
         8    e-mails between 2007 and 2008 where I took a
         9    redundancy package and left BDO, so, no, I cannot
       10     give you something that I have no control over.
       11               Q.      Do you know the e-mail address
       12     Satoshi Nakamoto used to e-mail the Bitcoin White
       13     Paper?
       14               A.      To whom?
       15               Q.      To the photography mailing list?
       16               A.      Yes.
       17               Q.      Who was it?
       18               A.      The vista mail account was
       19     primarily used but the GMX account was used
       20     earlier than that.
       21               Q.      Which is the e-mail that sent the
       22     White Paper to the cryptography mailing list?
       23               A.      I am having a problem in that that
       24     is technically incorrect and I am trying to get
       25     around answering it correctly because it is a mail
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                                                                           Page 160
         1    forwarding server, so I am trying to say it wrong,
         2    which is hard for me.
         3              Q.      Let me rephrase it for you.          What
         4    e-mail address did Satoshi Nakamoto use to send an
         5    e-mail to the Metzdowd Cryptography Server?
         6              A.      The original e-mails that were
         7    distributed, some of which got rejected, were GMX,
         8    the other later ones followed on Vistomail.
         9              Q.      So I am going to upload to the
       10     dropbox the Bitcoin P2PE cash paper, which is the
       11     original e-mail from Satoshi Nakamoto to the
       12     cryptography mailing list.
       13                       MR. RIVERO:      Where is this?      You
       14     are uploading it.      The upload by date works.
       15               (Exhibit Bitcoin P2PE cash paper referred
       16     to)
       17     BY MR. FREEDMAN:
       18               Q.      Do you see it?
       19               A.      I see it.
       20               Q.      Do you recognize this is the
       21     original message from Satoshi Nakamoto announcing
       22     Bitcoin to the cryptography mailing list?
       23               A.      I see it as the original one
       24     linking the White Paper site.
       25               Q.      Do you see at the top the e-mail
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                                                                         Page 161
         1    address used to send that out?
         2              A.      Yes, the Vistomail address.
         3              Q.      Satoshi@vistomail.com?
         4              A.      Yes, as I said, the Vistomail
         5    address.
         6              Q.      Is this the same e-mail address
         7    that Satoshi Nakamoto used to e-mail and release
         8    the Bitcoin client to the cryptography mailing
         9    list?
       10               A.      There was also -- sorry, the
       11     cryptography client, is that -- can you repeat
       12     that, sorry?
       13               Q.      Yes, the Bitcoin version 0.1?
       14               A.      Bitcoin version 0.1 was released at
       15     a later point -- 0.1, not -- sorry.
       16               Q.      My question is what e-mail address
       17     did the Satoshi Nakamoto use to send that to the
       18     cryptography mailing list?
       19               A.      The cryptography mailing list, all
       20     the Satoshi e-mails were the same.
       21               Q.      All the Satoshi@vistomail.com?
       22               A.      Yes.
       23               Q.      Is it not true that Dave Kleiman
       24     controlled that account?
       25               A.      No, it is not true and it is not
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                                                                         Page 162
         1    possible either.      Dave Kleiman was actually in
         2    hospital during the time.

H        3              Q.      Dr. Wright, can you take a look at
         4    DEFAUS
              DEFAUS 112712?
         5              (Exhibit DEFAUS 112712 referred to)
         6    Do
              Do you have that there?
         7              A.      I do not yet: I have a spinning
         8    thing.
              thing.    I have a white page.       I have now the
         9    e-mail.
              e-mail.
       10               Q.      Can you go to the bottom of that
       11     page,
              page, the page ending in 712, and you will see an
       12     e-mail
              e-mail from Ira Kleiman on 15 February 2014 to
       13     Craig
              Craig Wright at ACM.org; do you see that?
       14               A.      Yes, I do.
       15               Q.      Do you see in the last paragraph
       16     Mr.
              Mr. Kleiman asked you: "Can I ask if Dave played a
       17     part
              part in writing the original PDF under the Asian
       18     alias."
              alias."
       19               A.      Yes.
       20               Q.      Do you remember getting this
       21     e-mail?
              e-mail?
       22               A.      I have received e-mails from Ira
       23     and
              and other people; I do not remember this
       24     particular
              particular e-mail, no.
       25               Q.      On top of that you respond back, do
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                                                                         Page 163
         1    you see your response at February 15, 2014 at
         2    11.48?
         3              A.      What is "Craig Wright A", sorry?
         4              Q.      You produced it, Dr. Wright.
         5              A.      I did not produce it.        As I said,
         6    it is copied from Australian machines that were
         7    there after I left the country.          That was given to
         8    my counsel, so ----
         9              Q.      Did you send this e-mail
       10     Dr. Wright?
       11               A.      No, I did not.
       12               Q.      Do you see it says "He had the
       13     Vistomail account".
       14               A.      I can see this has been typed, yes.
       15               Q.      Do you see it says: "Dave was
       16     involved with the PDF he had the Vistomail
       17     account, I had the GMX one"?
       18               A.      Yes, I see that says that.
       19               Q.      You did not send that e-mail?
       20               A.      No, I did not.
       21               Q.      Is it true that Dave had the
       22     Vistomail account?
       23               A.      It is not true that Dave had the
       24     Satoshi Vistomail account.
       25               Q.      I am going to ask you take a look
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                                                                         Page 164
         1    at Kleiman 0385767.       Can you let me know when you
         2    have that document up?
         3              (Exhibit Kleiman 0385767 referred to)
         4              A.       I have it in front of me.
         5              Q.       Do you recognize this as an e-mail
         6    chain between you and Ira?
         7              A.       No, I was not communicating with
         8    Ira in 2017.
         9              Q.       Do you see the e-mail from Ira at
       10     September 29, 2017 at 5.20 a.m.?
       11               A.      I believe Ira Kleiman was already
       12     trying to take legal action against me and I was
       13     not communicating at all with Ira at this point.
       14               Q.      I just asked you if you saw the
       15     e-mail from Ira Kleiman at September 29, 2017 at
       16     5.20 a.m.?
       17               A.      I see this document.
       18               Q.      He is quoting your previous
       19     e-mails, "he had the Vistomail account, I had the
       20     GMX one"; do you see that?
       21               A.      No, I see that you have a document
       22     in front of me.
       23               Q.      Okay.    Do you see that he poses the
       24     question:      "Why do you tell me that Dave used the
       25     Vistomail account when the Gizmodo article shows
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                                                                         Page 165
         1    you using it to e-mail colleagues in January
         2    2014"; do you see that question?
         3              A.      Yes.
         4              Q.      Do you see the response that came
         5    from Craig Wright on September 29, 2017 at 1.38
         6    a.m.?
         7              A.      No, I see text on what is being
         8    proposed to be an e-mail at a time when I was not
         9    in contact with Ira.
       10               Q.      The response says "originally used,
       11     is not what it was in 2014"; do you see that
       12               A.      It says "in '14"?
       13               Q.      "In '14"; do you see that?
       14               A.      Yes.
       15               Q.      You understand why this appears as
       16     if you had reconfirmed that Dave used the Satoshi
       17     Vistomail account back in 2009; do you not?
       18               A.      No, I see a document that has been
       19     created, likely by Ira.
       20               Q.      Okay.    I am going to ask you to
       21     take a look at, in the share file, you will see
       22     that it is titled "Z4", this is a blog entitled:
       23     "Cracked, inSecure and generally broken"; do you
       24     recall that blog?
       25               A.      I am waiting for it to come up.
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                                                                         Page 166
         1    Yes, I recall this blog.
         2               Q.     Do you recall this post?
         3               A.     I recall the post on the tracking
         4    project that I had on my ranch in Australia.
         5               Q.     Can you go down to page 3 of 7 for
         6    me to the post that starts up Tuesday 30 April
         7    2013, entitled "Dave Kleiman"?
         8               A.     Yes, I see that.
         9               Q.     Do you see about three-quarters of
       10     the way down to the page there is a paragraph that
       11     starts off "it was Dave's Vistomail account that
       12     allowed me to start some of my more radical
       13     ideas"?
       14               A.      Yes.
       15               Q.      Is this the Satoshi@Vistomail.com
       16     account?
       17               A.      No.
       18               Q.      Which account was that?
       19               A.      I do not remember the exact name.
       20     I haven't kept it.
       21               Q.      But you did write this; is that
       22
       2 2    correct?
       23               A.      I did write this, that is correct.
       24               Q.      Dr. Wright, I would like you to
       25     take a look at Defense 13694?
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                                                                         Page 167
         1              (Exhibit Defense 13694 referred to)
         2              A.      It is up.
         3              Q.      Do you recognize this is a contract
         4    for the sale of shares for the company-owning
         5    business?
         6              A.      Can I scroll through, please?          Keep
         7    going to the end.
         8              A.      Yes, I recognize this document.
         9              Q.      Is this a real document?
       10               A.      This is a scan.
       11               Q.      Did you sign the document, the
       12     original?
       13               A.      I signed a document, I have not
       14     checked it word for word or letter for letter or
       15     whether it has been altered in any way.
       16               Q.      Can you go -- do you have any
       17     reason to think that this may have been altered?
       18               A.      I have lots of reasons to think
       19     that everything had been altered.           The e-mail for
       20     instance that you put up from 2015 between myself
       21     where you mentioned Mr. McGregor and other e-mails
       22     that you have put today have me from five years
       23     ago saying my staff is hacking my computers and
       24     other people are hacking my computers.            If people
       25     have been hacking my computers for years then,
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                                                                         Page 168
         1    yes, I have lots of reasons to think many things
         2    have been altered these days.
         3              Q.      Can you go to paragraph 3 on page 3
         4    of 9 of the PDF of Defense 13697?
H        5              (Exhibit Defense 13697 referred to)
         6              A.      Yes.
         7              Q.      Do you recall who the sender is
         8    under
              under this agreement?
         9              A.      I will need to look at the first
        10    page again.
        11              Q.      Go back up to page 1 right at the
        12    top, I will help you.       You can agree after I tell
        13    you, do you see where it says "Dave Kleiman for
        14    W&K Info Defense LLV vendor"?
        15              A.      Yes, I do.
        16              Q.      The vendor is Dave Kleiman, W&K
        17    Info, correct?
        18              A.      That is what it says, yes.
        19              Q.      It says:     "Hence the vendor will."
        20    The vendor is Dave Kleiman W&K, right?
        21              A.      Dave Kleiman, acting for W&K, yes.

    H   22              Q.      Look at (e); can you read that for
        23    me, please?
        24              A.      Yes.    "Transfer the Vistomail
        25    account."
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                                                                         Page 169
         1              Q.      Is this a contract where you claim
         2    Dave is transferring the Satoshi Vistomail account
         3    back to you?
         4              A.      No, at no point.       This was the
         5    vistomail account associated for the W&K filing
         6    for what we were attempting to get for the
         7    Department of Homeland Security Contracts on other
         8    such things.     This was not the Satoshi e-mail
         9    account.

 H     10               Q.      Please open defense 46731 for me.
       11     Go down to the last e-mail, an e-mail chain
       12     between you and Robert McGregor entitled with the
       13     subject "Hal"?
       14               A.      There is that, yes, it is a bit --
       15     it's a terrible scan in print though.
       16               Q.      The first e-mail:       "Was he the
       17     first person other than you to run Bitcoin?"             That
       18     is Robert McGregor on May
                                     ay 4, 2016; do you see
       19     that?
       20               A.      Yes.
       21               Q.      You respond at May 4, 2016 at 10.21
       22     "yes, and Dave"; do you see that?
       23               A.      Yes.
       24               Q.      Did you write that e-mail?
       25               A.      That looks like an e-mail I wrote,
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                                                                         Page 170
H        1    yes.
         2              Q.      And then Robert McGregor responds
         3    on May 4, 2016 at 10.30 a.m. saying:           "At the
         4    point Hal was running it, was he the first or
         5    Dave?"; do you see that question?
         6              A.      Yes.
         7              Q.      You respond back "Dave, then Hal";
         8    do you see that?
         9              A.      I do.
       10               Q.      Did you write that?
       11               A.      That looks like my e-mail, yes.
       12               Q.      Was Dave the second person to run
       13     Bitcoin?
       14               A.      As far as I know, when I released
       15     the first code in October/November 2008, before it
       16     was publicly compiled or whatever else, I had a
       17     precompiled version that is not the current
       18     version of Bitcoin, it was early alpha, that was
       19     radically changed.       That was run by Dave, by Hal
       20     Finney, by my uncle, my ex-wife (without her
       21     understanding it), and credit, or one of the other
       22     guys in the early development of this.            There was
       23     another person who ran a copy as well.            I cannot
       24     remember his name; I apologize.          If I remember it
       25     I will bring it up, but -- that code was then
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                                                                          Page 171
  H       1    depreciated in November and relaunched with quite
          2    a number of changes on 3rd January 2009.            That
          3    crashed and a new version was then launched on the
          4    9th January 2009.      Unfortunately at that point
          5    Dave was then hospitalized and could not run the
          6    live version of Bitcoin.
          7              Q.      I am just asking if what you wrote
          8    in your e-mail is true, "Dave was the second
          9    person to run Bitcoin"; is that a true statement?
         10              A.      I believe I just answered it.
         11              Q.      "Yes", the answer is "yes", he was
         12    the second person to run Bitcoin?
         13              A.      He was the first person to run the
         14    code associated with Bitcoin that I know of.             As
         15    far as I know, my uncle did not do it at that
         16    stage, credit and Hal did not do it at that stage,
         17    my wife at the time did not do it at that stage.
         18    They did rerun some certain things later, so
         19    I believe, yes.
         20              Q.      Dr. Wright, do you recall telling
         21    "Ira Kleiman to leave others to be Satoshi and
         22    Dave not to be"?
         23              A.      No, I do not.
Auth-H   24              Q.      Can you take a look at defense
         25    115950.    When that PDF opens please go to page 6
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                                                                         Page 172
         1    of 7?
         2                      MR. RIVERO:      I have it next to
         3    Satoshi's Vision, if you do upload and have
         4    located it.
         5    BY MR. FREEDMAN:
         6              Q.      Dr. Wright, do you have that up?
         7              A.      Something is -- there is a circle
         8    going around at the moment so I guess it is
         9    loading; 1 of 7.
       10                       MR. RIVERO:      I was saying that with
       11     a little pride that I had gotten it first.
       12     BY MR. FREEDMAN: Well done, Mr. Rivero.
       13               A.      Yes, I have that up.
       14     BY MR. FREEDMAN:
       15               Q.      Can you go to page 6 for me.          You
       16     should see an e-mail there on March 6, 2014 at
       17     5.12 p.m. from Craig S Wright; let me know when
       18     you have found that e-mail?
       19               A.      Yes.    Scroll down a little bit
       20     please.    Yes, I see that.
       21               Q.      Do you see where it says: "I will
       22     send you some rather private early e-mails today
       23     as long as you promise to delete after reading"?
       24               A.      I would never do that.
       25               Q.      You did not write this e-mail?
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                                                                         Page 173
         1              A.      No, I did not write that e-mail.
         2              Q.      That is another e-mail masquerading
         3    as you but not you?
         4                      MR. RIVERO:      Object to the form.
         5    BY MR. FREEDMAN:
         6              Q.      That is a bad question.
         7              A.      I would say ----
         8              Q.      Do you see the second sentence --
         9    go ahead, Dr. Wright.
       10               A.      My answer would be you have a whole
       11     load of e-mails that come from Ira and other
       12     people that seem to want money and seem to want to
       13     say a whole lot of stories that are not true.
       14     Keep going.
       15               Q.      The second sentence of that e-mail
       16     says:   "Leave others to be Satoshi and leave Dave
       17     not to be"; do you see that?
       18               A.      Yes, I see that.
       19               Q.      Is your testimony today that you
       20     did not send that e-mail; is that correct?
       21               A.      I did not send that e-mail.
       22               Q.      Immediately after that you shared
       23     e-mails with Ira that purport to show you and Dave
       24     collaborating to create Bitcoin; do you recall
       25     that?
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                                                                         Page 174
         1               A.     I have seen things in my
         2    discussions with my counsel that purport to be
         3    such e-mails, so I recall that, yes.
         4               Q.     So immediately after you sent that
         5    to Ira you then sent e-mails to Ira reflecting
         6    private communications between Dave and you
         7    purporting to show collaboration for a Bitcoin but
         8    you still maintain that original e-mail was not
         9    from you?
       10                       MR. RIVERO:      Object to the form.
       11               A.      In looking through some of these
       12     e-mails when I went through them, I had noted --
       13     can you scroll this one up for a second?            Keep
       14     going.    Yes, what I see here appears to be, like
       15     many others, bits tacked together.           There are ones
       16     where it ends with my sign-off, where parts of
       17     e-mails in a thing from Ira, there are parts of
       18     other things sent in a stream.          Some of these that
       19     are tacked together like that include sending from
       20     my HTC, I use a Samsung, I have used a Samsung
       21     phone since 2011, I have all the receipts for
       22     every phone I have bought, they are on the Samsung
       23     account.    I also have one saying that I used an
       24     iPhone.    I used an iPhone once in my life,
       25     I survived it one week, then I played golf.             This
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                                                                         Page 175
         1    was 2006.      I beat the iPhone to death literally.
         2    So, if you ever see e-mails from HTC they are not
         3    mine, from iPhone they are not mine.           Many of
         4    these others are tacked together bits.            Yes, I did
         5    not send all this, that is correct.
         6              Q.      Dr. Wright do you recall talking to
         7    Patrick Page in 2014 about Dave Kleiman?
         8              A.      I talked to Patrick Page multiple
         9    times about Dave Kleiman.
       10               Q.      Did you tell Patrick that Dave was
       11     the creator of Bitcoin?
       12               A.      No, I did not.
       13               Q.      Did you tell Patrick that Bitcoin
       14     was created by a group of people that included
       15     Dave Kleiman?
       16               A.      That is not what I actually said,
       17     no.
       18               Q.      What did you actually say?
       19               A.      I said Bitcoin -- sorry, Dave would
       20     have some Bitcoin most likely on computers or
       21     wallets at his home.       Dave is very important in my
       22     life.   I said "I am working on Bitcoin, I have
       23     been creating solutions", I did not discuss the
       24     creator of Bitcoin.       So, no, I was not hinting --
       25     I was -- I was not hinting, he was.
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                                                                         Page 176
         1              Q.      Are you aware that Patrick Page has
         2    testified in his deposition that you did state to
         3    him that Dave Kleiman was the creator of Bitcoin
         4    and part of the team that created Bitcoin?
         5                      MR. RIVERO:      Object to the form.
         6              A.      I have not seen any testimony from
         7    Mr. Page.
         8    BY MR. FREEDMAN:
         9              Q.      What you say if you did see that
       10     testimony; is he lying?
       11                       MR. RIVERO:      Object to the form.
       12               A.      I have not seen any testimony from
       13     Mr. Page.
       14     BY MR. FREEDMAN:
       15               Q.      I understand.      I am telling you
       16     that the record will reflect it is there; is
       17     Mr. Page lying?
       18                       MR. RIVERO:      Object to the form.
       19               A.      I do not believe Mr. Page would be
       20     lying.    I believe if he has heard anything he
       21     would misquote it thinking something more.             More
       22     likely we have this human habit of seeing things
       23     in media and creating stories after the fact.
       24     This is why leading questions are not allowable
       25     for police.     For instance, a police officer is not
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         1    allowed to go "did you see the yellow car" because
         2    that will lead the witness to believe that they
         3    saw a yellow car even though they initially
         4    believed it was a red car.         If you start having
         5    media things going "did Dave Kleiman invent
         6    Bitcoin", and media and everything like that for
         7    years would have been going up to Patrick and
         8    going "when Dave invented Bitcoin", so by now it
         9    is quite fair that he believes that he heard that.
       10     BY MR. FREEDMAN:
       11               Q.      If you were to know that there was
       12     a contemporaneous record of that statement made
       13     around the time he heard it, would you revise your
       14     answer?
       15                       MR. RIVERO:      Object to the form.
       16               A.      No.    People, once again, make
       17     things that are not accurate, and, as you have
       18     already demonstrated, when I say something, I am
       19     quite often misunderstood.         I can be horribly
       20     literal in what I say and other people have
       21     implied sentences.       I do not.     So, I do the --
       22     someone phones "is your wife home", I will say
       23     "yes" and hang up type scenario, which is not
       24     actually what you are implying.          I am doing my
       25     best to -- I know you want me to answer questions;
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                                                                         Page 178
         1    part of my brain logically gets the fact that you
         2    are going please read the question, but I still do
         3    not always click on and, unless you actually say
         4    the word "for the record", it goes over my head at
         5    times.
         6    BY MR. FREEDMAN:
         7              Q.      Dr. Wright, in the beginning of
         8    Bitcoin was it required for there to be a series
         9    of machines to send and transmit information
       10     without ----
       11               A.      I missed that.
       12               Q.      In beginning of Bitcoin was it
H
       13     required that there be a series of machines that
       14     would send and transmit information without fail?
       15               A.      I am not sure what you are actually
       16     asking.    "Without fail": the question is a bit
       17     nebulous and I am not sure what you are asking
       18     without going into a description of the answer of
       19     Bitcoin.    Can you please clarify that for me, I am
       20     sorry?
       21               Q.      Sure, why don't we open your book
       22     Satoshi's Vision on the Art of Bitcoin.             Turn to
       23     page 15.
       24               A.      It is being scrolled towards page
       25     15.
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                                                                         Page 179
         1              Q.      Under the words "the birth of
         2    Bitcoin."
         3              A.      Yes.
         4              Q.      Can you read that first paragraph
         5    for the record?
         6              A.      Yes.     So, in conjunction with what
         7    I explained later what we are doing:           "It required
         8    a series of machines to send and transmit
         9    information without fail.        This is far more
       10     difficult than you imagine."

H      11               Q.      I do not see the conjunction "what
       12     I explain later", my sentence starts with "a few
       13     people understand"; can you start from there for
       14     the record?
       15               A.        Yes.   "Few people understands what
                                                                 wha
       16     was required in the beginning of Bitcoin.             It
       17     required a series of machines to send and transmit
                                                        transmi
       18     information without fail.        This is far more
       19     difficult than you may imagine."
       20               Q.      So now let me re-ask the question,
       21     in the beginning of Bitcoin was required for there
       22     to be a series of machines to send and transmit
       23     information without fail?
       24               A.      Yes.     That required a group of
       25     machines as a small tight-knit cluster that I ran
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                                                                         Page 180
         1    so that even if any local machine fell over, got
         2    patched, whatever else, the others in that node
         3    would keep going.
         4              Q.      By extension, anyone who was
         5    running a machine could send and transmit
         6    information was helping provide a necessary
         7    service for Bitcoin?
         8              A.      That is what nodes do.         Nodes act
         9    as an agent to the network, the network being
       10     effectively myself as the issuer.           The nodes would
       11     then be paid in relative amounts to provide the
       12     transmission etc.       That was more than just home
       13     users.    It would be the requirement at the time to
       14     run multiple machines so that all of them would
       15     not go down.     Any of those would be requiring
       16     patching etc., and time stamping of all the
       17     transactions that were being tested.
       18               Q.      Dr. Wright, would be fair to say
       19     that you did all you could to hide information
       20     concerning the development of Bitcoin?
       21               A.      No.
       22                       MR. RIVERO:      Object to the form.
       23               A.      No, I did not -- I did very little
       24     to hide the development of Bitcoin.           I had
       25     actually talked to a number of people in the
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                                                                         Page 181
         1    Australian Tax Office, I had set up arrangements,
         2    I had a formally issued warrant over intellectual
         3    property, I had an accountant who recorded
         4    information for multiple companies, including
         5    information defense.       I had contacted, between
         6    2008 and 2013, the commissioner, the three deputy
         7    commissioners of the Australian Tax Office, senior
         8    officials of Oz industry, people within the US,
         9    people in the Australian military, people within
       10     the Australian Federal Police.          I had talked to
       11     people working in the network area, the copyright
       12     area of the Australian New South Wales Police whom
       13     I had done work with taking down Pirate Bay and
       14     tried to talk about Bitcoin with them.
       15     I discussed Bitcoin with Alan Granger, my partner
       16     at BDO.    I attempted to have a meeting with three
       17     or four other partners at BDO telling them how
       18     beneficial Bitcoin would be as a time-stamping and
       19     notarization service and that it would basically
       20     revolutionize accounting.        I had in 2007 started a
       21     mailing group and other group calls CAGS
       22     (Compliance Audit Governance and Security), which
       23     I stopped because I was trolled relentlessly by
       24     people who thought the idea of legislation over
       25     money and all the rest was, let me say, an
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                                                                         Page 182
         1    anathema to what they wanted.          I spoke to people
         2    in the UK, I spoke to people in FATF, I spoke to
         3    people in APRA, which is the Australian Prudential
         4    Regulatory Authority.       I spoke to people in
         5    multiple Islamic banking areas talking about the
         6    value of tokens.       Would you like me to keep going?
         7    I can.
         8    BY MR. FREEDMAN:
         9               Q.       Dr. Wright, all I asked you was a
       10     yes or no question: would it be fair to say that
       11     you did all you could to hide information
       12     concerning the development of Bitcoin.            It would
       13     really help if you would try to answer the
       14     questions posed because we have a limited amount
       15     of time.
       16               A.       I believe that is answering the
       17     questions posed.      I do not believe that would be
       18     ----
       19               Q.       Let me change the question
       20     slightly.       Would it be fair to say that you did
       21     all you could to suppress information concerning
       22     the development of Bitcoin?
       23               A.       No, I had communicated with people
       24     in Victoria, New South Wales, Queensland, the USA,
       25     UK, Jordan, a number of other Member States, I had
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                                                                         Page 183
         1    communicated with people in University of
         2    Newcastle, Northumbria University, Charles Sturt
         3    University.      I had multiple communications with
         4    many people.      What I did not want to do is have a
         5    sort of people out there in things like LOLs or
         6    anonymous know who I was.
         7              Q.       Do you think we might be able to
         8    have a five minute break, and you have a
         9    conversation with Mr Wright, Mr. Rivero?
       10                       MR. RIVERO:      Hold on one second.
       11     Dr. Wright, do me a favor.         I have objected to the
       12     question.      Try to answer the question.        I do see
       13     you say "no", Mr. Freedman posed once again, and,
       14     Dr. Wright, if you could try to respond briefly
       15     I would appreciate it.
       16     BY MR. FREEDMAN:
       17               Q.      Would it be fair to say you did all
       18     you could to suppress information concerning the
       19     development of Bitcoin?
       20                       MR. RIVERO:      Object to the form.
       21     Dr. Wright, can you try to respond in a brief
       22     fashion to that?
       23               A.      No, I did very little to suppress
       24     knowledge of Bitcoin.
       25     BY MR. FREEDMAN:
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                                                                         Page 184
         1              Q.      Dr. Wright, can you go to Satoshi's
         2    Vision, the book published under your name.
         3    I would like you to go to page 30.           Three
         4    paragraphs up from the bottom of page 30 ----
         5              A.      Which is the start of that
         6    paragraph?
         7              Q.      Starts "some would always lose and
         8    I wanted to direct your attention to the middle:
         9    "I did all I could to hide and suppress
       10     information concerning the development of Bitcoin
       11     and much more"; do you see that?
       12               A.      I see that.
       13               Q.      How is that consistent with your
       14     testimony today?
       15               A.      You are talking about two different
       16     time periods.     I am talking about from 2015 on
       17     here, I did everything to try and basically not
       18     come out into the media between when people
       19     started talking about me in 2015 right up until
       20     now, until 2017 I did everything to try and hide.
       21     You are talking about two different things.             Did
       22     I, from the beginning of Bitcoin, hide and
       23     suppress information, no, I should have.             I wish
       24     I had.
       25               Q.      So you only started hiding and
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                                                                         Page 185
         1    suppressing in 2015?
         2              A.      Yes.
         3                      MR. RIVERO:      Object to the form.
         4    BY MR. FREEDMAN:
         5              Q.      Did you do everything you could to
         6    muddy the waters around Bitcoin's origin?
         7              A.      No, I did not.
         8                      MR. RIVERO:      Object to the form.
         9    BY MR. FREEDMAN:
       10               Q.      Can you turn to the next page of
       11     Satoshi's Vision, 31, the third paragraph:             "I did
       12     all I could to muddy the waters, I did all I could
       13     to stay private and have a life with parts that
       14     remain mine.     Early on I could even put up the
       15     false claims of fraud knowing that in the long
       16     term it's not going to matter"; do you see that?
       17               A.        Yes, I see two things that are
       18     unrelated and you are trying to relate them.
       19               Q.      How is it consistent with your
       20     testimony that you did not try to muddy the waters
       21     around Bitcoin's origin?
       22               A.      This does not say I did not tried
       23     to muddy the water around Bitcoin's origin.             You
       24     are adding implied words that are not implied.
       25     There is no statement saying "I did all I could do
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                                                                         Page 186
         1    to muddy the waters concerning the creation of
         2    Bitcoin".    It saddens me.      My right to privacy and
         3    right to know about people talking about my life,
         4    it was people basically hacking my wife's server,
         5    my children's servers.        I didn't want people to
         6    know where I lived, where I worked, where
         7    I studied.     Right now I have just had to drop one
         8    of my PhDs.     The reason, not because I cannot
         9    study it, not because I'm not doing well, but
       10     because that had probably around 100 complaints
       11     that Craig Wright is doing two degrees
       12     simultaneously.      I was allowed to, I went through
       13     everything in the board, and again, I have had a
       14     call to go before the Dean to justify why I should
       15     be able to keep doing this and not get kicked out.
       16     I have dropped one of my PhDs because people call
       17     up and complain to the Dean endlessly saying "it
       18     is not right that Craig is enrolled in two
       19     different degrees, he is going to cheat by doing
       20     two different things".        My argument was I am doing
       21     law and mathematics.       There is no overlap between
       22     mathematics and law.       Yet, I am still having to
       23     justify myself.      Yes, I hid my address, I hid
       24     where I was, I tried to hide, I tried to let no
       25     one know where my company was based, I tried to
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                                                                         Page 187
         1    ensure that no one knew anything about my family.
         2    I tried to stay as hidden as I could and yet
         3    people still attack me.        The one thing that I love
         4    more than anything else which is studying is has
         5    been taken from me because people that I won't
         6    even go into -- yes, I did, but that does not say
         7    I muddied the waters around Bitcoin, so do not try
         8    and twist things.
         9              Q.      Let us just agree to disagree on
       10     what the implication of that sentence is.
       11               A.      No, I do not agree to disagree.
       12                       MR. RIVERO:      Objection.
       13                       MR. FREEDMAN:      Okay.    Dr. Wright,
       14     can you take a look at defense 65750.
       15     (Exhibit Defense 65750 referred to)
       16                       MR. RIVERO:      Let me note for the
       17     record that it is now past 7pm London time.             Can
       18     I ask how much longer you intend to go?
       19                       MR. FREEDMAN:      Six hours on the
       20     record.
       21                       MR. RIVERO:      That is not actually
       22     the court's order.       The court's order is quite
       23     clear, and it is not six hours on the record, it
       24     is, I am reading it, it is "the defendant's
       25     deposition shall take place from 1 p.m. GMT to 7pm
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                                                                         Page 188
         1    GMT each day".
         2                      MR. FREEDMAN:      Mr. Rivero, I would
         3    say that just we granted our request to extend it
         4    for 12 hours; he did not set a time.           I do not
         5    think it was her intention, though I do not know,
         6    to limit the deposition to not more than 12 hours
         7    on the record, and that was also before this
         8    entire proceeding had to go forward through video.
         9    As you can tell, as you yourself have apologized,
       10     there is a lot of delay associated with this and
       11     we are doing the best we can.          If we past the time
       12     that you think appropriate JUDGE REINHARDT is on
       13     the line.
       14                       MR. RIVERO:      Mr. Freedman, that is
       15     a district court order.        I do not get to interpret
       16     it and neither do you.        I know you had a half hour
       17     of technical difficulties, but the reason that we
       18     have had this postponed to this date was never
       19     because of us.      We opposed every extension, we did
       20     not create the virus either, nor did you.             We got
       21     into this situation because you in effect sought
       22     an extension last week, which was denied; you
       23     communicated to us over the weekend you wanted to
       24     seek another extension.        We have never tried to
       25     postpone this.      You do not get to interpret that,
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         1    if you want to make it an emergency application to
         2    Judge Bloom to modify her order, I encourage you
         3    to do.    What I am asking you simply, I am willing
         4    to be reasonable and recognize that there were
         5    some technical difficulties, I asked you when is
         6    this concluded?
         7                      MR. FREEDMAN:      Mr. Rivero, let me
         8    clarify some statements you made on the report.
         9    The reason I contacted your office to find out if
       10     you would be amenable to the extension is because
       11     over the weekend Mr. Dolwich came down with
       12     symptoms consistent with Covid-19, so did
       13     Mr. Roche.     A partner in our New York City office
       14     also went to the hospital on Friday to be tested
       15     for symptoms for Covid-19.         Mr. Brenner has had to
       16     engage in self-isolation because a family member
       17     of his has spiked a fever.         Being that we could
       18     not be in the same room and people were sick and
       19     ill, I sought to see whether or not you would be
       20     amenable to an emergency extension.           You said no
       21     and we did not seek it, and we have been doing our
       22     best to meet that time limit.
       23                       Mr. Rivero, let me finish.          When,
       24     at some point, if you decide that the deposition
       25     should stop, then I invite you to either instruct
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                                                                         Page 190
         1    your client to walk out or ask the court who is on
         2    the phone to rule on this issue.          Until then, let
         3    us please move forward.
         4                      MR. RIVERO:      Mr. Freedman, we have
         5    four people who were being tested on Friday;
         6    everyone is in the same situation.           You sought a
         7    further continuance of this deposition which was
         8    denied midweek last week.        You told us that you
         9    were going to seek relief after today for the
       10     fourth time.     We did not get into the situation.
       11     We have in every instance wanted this to proceed
       12     at earlier times because Mr. Wright's schedule is
       13     extraordinarily complicated.         I did not say again
       14     stop the deposition, I asked a very reasonable
       15     question: how long do you intend to proceed?
       16                       MR. FREEDMAN:      I disagree with your
       17     characterization of the order.          It says clearly
       18     that our motion is granted in part and denied in
       19     part.    "The deposition and time limit of the
       20     defendant, Craig Wright, shall be extended to 12
       21     hours in the course of two days."           I understand
       22     your position, Mr. Rivero; we are not going to
       23     agree.    The best way to move forward is to allow
       24     me to continue.
       25                       MR. RIVERO:      You are not answering.
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                                                                         Page 191
         1    Go ahead.
         2    BY MR. FREEDMAN:
         3              Q.      Dr. Wright, did you ever tell
         4    anyone that you wanted to talk about exactly what
         5    Dave's involvement in Bitcoin was to ensure there
         6    were no conflicting views on that later?
         7              A.      That not what that says.
         8              Q.      I asked you if you ever made that
         9    statement?
       10               A.      No, that is my wife, I believe.
       11               Q.      I did not ask you about any
       12     document yet.     I just asked you if you made that
       13     statement?
       14               A.      No, that is my wife's statement, so
       15     you are asking me did I make a statement and
       16     I very much doubt that I made that statement, it
       17     sounds like my wife.       As the full statement you
       18     have made about Dave's creation of Bitcoin or
       19     whatever else, conflicting views etc., so ----
       20               Q.      Do you recall participating in an
       21     interview on February 20, 2019 with The Bad Crypto
       22     Podcast, for episode 242 entitled "is Craig Wright
       23     the real Satoshi"?
       24               A.      No, when was that?        I do too many
       25     of these things.
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                                                                         Page 192
         1              Q.      February 20, 2019?
         2              A.      I honestly do not remember, I do
         3    too many of these things, so, no.
         4              Q.      Open up the file that is entitled
         5    Z10; do you have that in front of you.
         6              (Exhibit Z10 referred to)
         7              A.      Yes, I do.
         8              Q.      Does this help refresh your
         9    recollection of whether or not you appeared on The
       10     Bad Crypto Podcast on 20/2/19?
       11               A.      No, it does not, I do not remember
       12     this particular one.
       13               Q.      Do you remember being asked at that
       14     interview if you claimed to be Satoshi and
       15     responding "I said I was part of the creation.
       16     I also said if you have a partnership and someone
       17     dies it is no longer a partnership"?
       18               A.      Again I do not remember the
       19     interview so, no, I do not remember.
       20               Q.      Do you recall the interviewer
       21     asking you:     "So you are saying Satoshi Nakamoto
       22     is a pseudonym for a group of at least two or more
       23     people that you were part of" and you responding
       24     "um, I had help from Dave"?
       25               A.      No, I do not remember that
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                                                                           Page 193
         1    interview at all.
         2              Q.      Well, what do you think you meant
         3    when you said "I had help from Dave"?
         4              A.      Again, I do not recall it so
         5    I cannot say -- if you are saying I said that then
         6    when I say Dave helped me, as I said Dave helped
         7    me stay sane, Dave helped me basically get through
         8    life, Dave helped me as my best friend, Dave
         9    helped me at one point as my only friend.
       10               Q.      What did you mean when you said you
       11     were part of the creation?
       12               A.      The third reference in the White
       13     Paper by Mathias is the first widespread reference
       14     to a time chain which is now called blockchain.
       15     That actually references an earlier paper that I
       16     also referenced in the White Paper from 1991.
       17     That takes the use of distributing via what they
       18     had as a newspaper of hashes, and binary tree
       19     which is now falsely named a Merkle tree, and
       20     taking all the timestamp data, the hashes thereof
       21     in a Merkle structure and broadcasting it.             The
       22     original creation of that timestamp server, the
       23     authors believed that it couldn't be distributed.
       24     They thought there was no secure way of doing a
       25     distributed timestamp server.          Mathias and others,
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                                                                         Page 194
         1    when they created what was effectively the first
         2    blockchain system, which is still used in many
         3    early timestamp systems, so, no, I did not create
         4    blockchain because it already existed.            What I did
         5    was I took a timestamp solution for a time chain
         6    and linked it to an economic system to create a
         7    P2P network based on certain other networks that
         8    existed at the time basically involving proof of
         9    work and other things.        Mondo Mnet was a
       10     distributed system, similar in some ways to
       11     eDonkey and others, that allowed a tokenization of
       12     currency, but the creators of that system, which
       13     includes people like ZUKU, who do not like me,
       14     wanted to create a more socialist version of what
       15     could have been Bitcoin, but that does not work
       16     because it is an economic solution.           Effectively
       17     the creation of Bitcoin is really a whole lot of
       18     other inventions that are tacked together.             If it
       19     was not for the creation of the blockchain, over a
       20     decade before I created Bitcoin, then there would
       21     not be Bitcoin.      Everyone says when I didn't
       22     create blockchain that I am saying something
       23     there, but the creation of blockchain was done
       24     originally as a proposed idea in 1991, and then
       25     extended in 1996, '97 and '98 with the final paper
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                                                                         Page 195
         1    in 1999.       The launch of that system was then taken
         2    by Vero-sign and RSA who currently use such a
         3    system to run a non-distributed timestamp server.
         4    If I had said that all this is not mine, it is
         5    because it is not.       I did not invent blockchain.
         6    Blockchain was actually an idea that existed
         7    already.       What I used was a different system, a
         8    timestamp server, a centralized single point of
         9    failure timestamp server that is incredibly
       10     non-robust that can easily fail.          I used the
       11     survival analysis and survivability studies that I
       12     had been doing in universities, such as Charles
       13     Sturt, to create a distributed version of such a
       14     timestamp server and economically incentivize it
       15     to create M-net which is able to be run by
       16     multiple parties in a way that does not require
       17     any of them to trust the others.
       18               Q.       Do you think that because Dave died
       19     you no longer have a partnership with him?
       20                        MR. RIVERO:     Object to the form.
       21               A.       I did not have a partnership with
       22     Dave so it cannot end.
       23     BY MR. FREEDMAN:
       24               Q.       Was Dave ever your partner?
       25                        MR. RIVERO:     Object to the form.
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                                                                         Page 196
         1    Asked and answered.       You may answer.
         2              A.      The definition of partner is wide.
         3    If you look at the definition under the thesaurus
         4    it means "friend, companion"; it also refers to
         5    partnership under law.        If you are talking about
         6    was Dave my partner, as in a partnership
         7    arrangement in a business, no, Dave had never been
         8    my partner in any business, I do not operate in
         9    partnerships under business.         Dave was however my
       10     best friend, he was my online companion, the
       11     person I phoned, the person who helped ensure that
       12     my current wife and I are actually still married.
       13     So, depends on which partner.          If you mean
       14     business partner, not ever.         If you mean my best
       15     friend, yes.
       16     BY MR. FREEDMAN:
H      17               Q.      Okay.    Dr. Wright, can you open
       18     1667372, one is an PDF, do not open that one,
       19     which is just a slip sheet, you have to open the
       20     other one.     Do you know what this document is?
       21               (Exhibit 1667372 referred to)
       22               A.      I am seeing a small circle with a
       23     spinning blue thing.       They have selected the file
       24     and I have an adobe symbol, now a spinning circle
       25     thing again.
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         1              Q.       You were going to take the Excel
         2    and not the adobe.
         3              A.       An Excel spreadsheet seems to be
         4    loading.       I see a file in front of me.

H        5              Q.       Do you recognize what the file is?
         6              A.       It would most likely be a
         7    communication log.
         8              Q.       Is it a Skype communication log
         9    between you and Mark Ferrier?
        10              A.       That is what it appears to be, yes.
        11              Q.       Can you look at 117?
        12                       THE COURT REPORTER: Sorry.         Mark
        13    who?
        14              A.       Ferrier.
        15    BY MR. FREEDMAN:
H       16              Q.       Look at line 17, please, Dr.
        17    Wright, and read that for the record.
        18                       MR. RIVERO:     I object to the
        19    document which frankly I do not understand.
        20    I believe there is a context around this.             Go
        21    ahead Dr. Wright.
    H   22              A.       The line starts: "Craig S Wright,
        23    11.26.06, 12/2/2013 my partner, Dave, and I have
        24    been working on something of value for a while now
        25    so I guess how can you help me?"
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                                                                         Page 198
         1    BY MR. FREEDMAN:
         2              Q.      Dr. Wright, is this not you calling
         3    Dave Kleiman your partner?
         4              A.      As I said he was my best friend, he
         5    helps me, yes.
         6              Q.      But not your business partner?
         7              A.      No, he is not my business partner
         8    in this.
         9              Q.      Dr. Wright, can you scroll down for
       10     me to line 74?
       11               A.      Yes.
       12               Q.      Can you read that for the record?
       13               A.      "Craig S Wright 08.47.42, 10/4/2013
       14     "no my partner, not my business partner Dave."
       15               Q.      Dave was your business partner?
       16                       MR. RIVERO:      Object to the form.
       17               A.      No, it says "my partner, not my
       18     business partner."
       19     BY MR. FREEDMAN:
       20               Q.      Dave?
       21               A.      Yes.
       22               Q.      Finish the sentence, "not my
       23     business partner, Dave"?
       24               A.      I said the sentence first off then
       25     I repeated "my partner, not my business partner".
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                                                                         Page 199
         1              Q.      Can you go down with me to line
         2    100; do you recall the day Dave died?
         3              A.      Yes.
         4              Q.      What date was that?
         5              A.      I do not remember the exact date.
         6              Q.      Does April 26, 2013 ring a bell?
         7              A.      26/27 something, because I am in
         8    Australia and travel I do not remember whether in
         9    my time zone it was 26 or 27.          I believe in
       10     America it was the 26th, but I am not sure if that
       11     was the 27th in Australia.
       12               Q.      Can you read line 100 for the
       13     record?
       14               A.        Yes.   "My best friend and business
       15     partner died a few days back."

 H     16               Q.      Start from the beginning.
       17               A.      "100 Craig S Wright 14.28.41, 30
       18     April 2013 sorry my best friend and business
       19     partner died a few days back and I am in a class
       20     right now."
       21
       2 1              Q.      Dave was your business partner,
       22     Dr. Wright?
       23               MR. RIVERO: Object to the form.
       24               A.      No, I disagree, if you are in a
       25     company using that terminology is still not going
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                                                                         Page 200
         1    to be saying that someone is a business partner in
         2    a partnership.      This is a difference between
         3    someone in a corporation and someone working with
         4    you and the other, so, no, you are
         5    mischaracterizing.
         6    BY MR. FREEDMAN:
A-H      7              Q.      Dr. Wright, can I ask you to take a
         8    look at DEFAUS 550141?
         9              (Exhibit DEFAUS 550141 referred to)
       10               Q.      Before that document comes up, you
       11     called Dave your business partner in that
       12     document, correct?
       13               A.      You are trying to confuse business
       14     partner as someone I worked with, with a
       15     partnership.     I called someone that term, that is
       16     correct.    That does not imply partnership by your
       17     own evidence, because that is actually a
       18     discussion between different companies.
       19     BY MR. FREEDMAN:

  H    20               Q.      Let me know when you have up DEFAUS
                                                             DEFAU
       21     550141.    Do you recognize what this document is?
       22               A.      Yes.
       23               Q.      This is an e-mail correspondence
       24     between Michelle Seven and yourself?
       25               A.      No.
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                                                                         Page 201
         1              Q.      What is it?
         2              A.      It is partly between there --
         3    Michelle Seven was trying to blackmail me.
         4              Q.      You take a look on Wednesday May
         5    20, 2015 at 1.57 a.m., and e-mail from Craig S
         6    Wright; do you see that e-mail half way down the
         7    first page?     Do you see that, Dr. Wright?
         8              A.      Yes.
         9              Q.      Do you see in that e-mail you write
       10     "in the past Dave Kleiman was my best friend and
       11     business partner, he died a couple of days ago."
       12               A.      No, I do not see where I write.
       13               Q.      You do not see that?
       14               A.      No, I do see that.
       15               Q.      Did you write that?
       16               A.      No, I did not.
       17               Q.      Did somebody else write this
       18     e-mail?
       19               A.      This is most likely Uyen.         Uyen was
       20     at this point dealing with Michelle Seven.
       21     Michelle Seven was trying to blackmail me.
       22               Q.      It was not you?
       23               A.      That was blackmailed, yes, it was
       24     me that was blackmailed.
       25               Q.      It was not you that sent this
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                                                                         Page 202
         1    message, is that a correct statement?
         2              A.      That is not what you asked.
         3              Q.      I am asking it now, did you write
         4    that e-mail, did you send that e-mail?
         5              A.      No, I just stated before, Uyen was
         6    actually acting for me against Michelle Seven, who
         7    was trying to blackmail me at this stage.
         8              Q.      Can you go back to Satoshi's Vision
 H
         9    the book published under your name for me?             Let me
       10     know when you get up to page 12, please?
       11               A.      May I ask if you can zoom in a
       12     little bit.     Page 12, and it is zoomed so I can
       13     see it.
       14               Q.      Do you see the paragraph that
       15     starts off "in order to fund my work"?
       16               A.      Yes.
       17               Q.      Can you read that first sentence
       18     for the record please?
       19               A.        "In order to fund my work, my
       20     partner, Dave Kleiman, and I sold code that was
       21     using in gaming out of countries such as Costa
       22     Rica."
       23               Q.      You called Dave Kleiman your
       24     partner again?
       25               A.      Yes, once again Dave Kleiman was my
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                                                                         Page 203
         1    best friend.
         2              Q.      Then you say "Dave took the biggest
         3    risk", do you see that?
         4              A.      Yes.
         5              Q.      You say:     "The mere issuing of CO1N
         6    was illegal, I wasn't American but Dave was so
         7    that was a problem."       Do you see that?
         8              A.      Yes.
         9              Q.      Why was it a problem for Dave to
       10     issue CO1Ns if he was not your partner in the
       11     creation of Bitcoin?
       12               A.      You will find that you are taking
       13     that sentence in a different way than I do.             "In
       14     order to fund my work my partner Dave Kleiman and
       15     I sold code that was used in gaming out of
       16     countries such as Costs Rica.          Dave took the
       17     biggest risk."      The risk is gaming out of
       18     countries such as Costa Rica.          The problem with
       19     the American crack down in 2005 was that it made a
       20     lot of activities on internet gaming illegal and
       21     started actually actions against people who were
       22     based outside of -- within US areas.           I was there
       23     when the CEO of the Sporting Bet was arrested by
       24     Americans when he touched down.          Sporting Bet, who
       25     I used to contract to, was a British UK company,
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                                                                         Page 204
         1    that was a listed company in the country that I am
         2    now living.      I was quite offended that the
         3    Americans arrested someone in a legally licensed
         4    company that was working for that I knew quite
         5    well.   But what we are talking about here is risk
         6    and the risk is directly related to gaming.              Then
         7    I wasn't American but Dave was, so that was a
         8    problem.       The funding here is talking about code
         9    being sold out of countries, such as Costa Rica,
       10     for internet gambling.

   H   11               Q.       Dr. Wright, open Defense 1597497,
       12     do you have that in front of you?
       13               A.       I am waiting.
       14               (Exhibit Defense 1597497 referred to)
       15               A.       Still looking for it, loading,
       16     whatever.      Adobe symbol is coming up.        The
       17     spinning circle quadrant thing is there with the
       18     little blue line around the circle going around.
       19                        MR. RIVERO:     While we are waiting
       20     for this, I will note that it is now 7.30 p.m. in
       21     London, we have been on this teleconference for
       22     more than six hours and I ask again what is your
       23     expectation about how much long you have.              Bear in
       24     mind there is no quarantine in London yet but all
       25     these folks need to get home in the same kinds of
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                                                                         Page 205
         1    conditions we are dealing with here.           We have been
         2    going half an hour longer than provided for in the
         3    original order that set this deposition.            How long
         4    have we been on the record for?
         5                      THE VIDEOGRAPHER:       4 hours 57
         6    minutes on the record.
         7                      MR. COHEN:     Just so everyone is
         8    aware, because the comment that Mr. Rivero made,
         9    since we have been on the record the UK Government
       10     has actually put the UK on lockdown.           Whether that
       11     makes a difference for the purposes of this
       12     session today, I will leave that to others.             But
       13     just given the comment that was made about
       14     quarantine, I thought I would update everyone on
       15     the situation.
       16                       MR. FREEDMAN:      Can you let us know
       17     what the advisory was because I am curious; we
       18     have to keep public safety.
       19                       MR. COHEN:     The advice was for
       20     people to avoid public contact as much as
       21     possible, not go to any social gatherings or
       22     restaurants or bars and to avoid travel, to travel
       23     into work to the extent possible.
       24                       MR. RIVERO:      We cannot repair what
       25     happened today.      I certainly hope on the continued
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                                                                         Page 206
         1    date we start properly, we minimize breaks.
         2    Mr. Freedman, I think your position is
         3    unreasonable but I am not at this point
         4    instructing Dr. Wright not to answer anything.
         5    You say we have another hour.          I will be
         6    considering it as we go.        Please ask your next
         7    question.
         8              A.      After this, I will need to have a
         9    break, sorry.
       10     BY MR. FREEDMAN:
H      11               Q.      Do you recognize the e-mail in
       12     front of you?
       13               A.      I do.
       14               Q.      Is this an e-mail from you to
       15     Kathryn Ungar of the New South Wales Police?
       16               A.      Yes.
       17               Q.      Dr. Wright, could you open up the
       18     next attachment, 01589197 -- sorry, no, that is
       19     the wrong one.      I need you to open 019 -- 1597500.
                                                            1597500
       20               (Exhibit 1597500 referred to)
       21               A.      It is open.
       22               Q.      Do you recognize this is the
       23     attachment to the e-mail which is a witness
       24     statement?
       25               A.      No, I can only see part of it.
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                                                                         Page 207
 H       1    I will need to scroll through.          It would appear to
         2    be my witness statement, yes.
         3              Q.      And do you see on page 502 --
         4    sorry, not it is my turn for my technology to
         5    glitch.    Can you turn to page 503, paragraph 13.
         6    It says: "Between March and April 2013 I had a
         7    number of communications with Mark via Skype, this
         8    included voice calls but was mostly by text.             In
         9    the course of conversations discussed with Mark
       10     the concept of a Bitcoin exchange by which smart
       11     contracts would be connected.          This was an idea
       12     that I had developed with my business partner Dave
       13     Kleiman for a period of over a decade."
       14               A.      Yes.
       15               Q.      Do you see that?
       16               A.      Yes.
       17               Q.      Is that in your statement?
       18               A.      It is.
       19               Q.      Do you want to take the restroom
       20     break now?
       21               A.      Yes, please.
       22               (Recess at 7.34 p.m. to 7.44 p.m.)
       23                       MR. FREEDMAN:      The one thing I want
       24     to be clear on the record, Mr. Rivero and I have a
       25     disagreement over the amount of time we get and we
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                                                                         Page 208
         1    can sort that out.       The one thing that cannot
         2    happen is folks there being put in danger or any
         3    kind of health hazard.        You said the UK has been
         4    put on lockdown.      If you believe that your health
         5    or safety is at risk, that is a completely
         6    different story.      I am not there, I do not know
         7    what the story is.
         8                      MR. COHEN:     I do not believe that
         9    anyone's health or safety in this room is at risk.
       10     I was merely updating everyone on this call as to
       11     the position because Mr. Rivero spoke about
       12     potential quarantine.       Obviously since we started
       13     this deposition the position had changed somewhat.
       14     We are here now so we may as well push on.
       15                       MR. RIVERO:      I wanted to --
       16                       JUDGE REINHARDT:       Counsel, this is
       17     the judge.     I have another appointment, I have to
       18     leave in 45 minutes, which will be 4.30 US time.
       19     You can feel free to continue with the deposition.
       20     If there is any matters that need ruling I will
       21     deal with those when we reconvene on Wednesday.
       22                       MR. RIVERO:      Thank you, your Honor.
       23     BY MR. FREEDMAN:
  H    24               Q.      Dr. Wright, if you could open
       25     defense
               efense 1667260 for me.        Let me know when you have
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                                                                         Page 209
         1    that up?
  H
         2              (Exhibit Defense 1667260 referred to)
         3              A.      I have that up.
         4              Q.      Do you recognize what this document
                                                           documen
         5    is?
         6              A.      It is an evidence draft, that was
         7    being drafted between myself and my solicitors.
         8              Q.      A draft of the witness statement we
         9    saw before?
       10               A.      I cannot say whether it was the
       11     witness statement before, but my solicitors and
       12     I had been communicating and my solicitors were
       13     helping me write a document.         I was engaged in
       14     going back and forwards with my solicitors, my
       15     lawyers, taking advice and basically writing a
       16     document.
       17               Q.      Can you go to defense 1667263 in
       18     the same document, a different page, page 4 of the
       19     PDF.
       20                       MR. RIVERO:      This is a draft.
       21     Preserve all rights as to attorney/client
       22     privilege.     Go ahead.
       23     BY MR. FREEDMAN:
       24               Q.      Are you there?
       25               A.      I am waiting for it to load.          Yes,
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                                                                         Page 210
         1    there is a document on the screen.
         2               Q.     Is this the same document you were
         3    in before down to page 4?        Do you see page 4,
         4    paragraph 20?
         5               A.     I do.
         6               Q.     This is the same paragraph we
         7    looked at in the witness statement before in 20 it
         8    talks at the Bitcoin Exchange and has a statement
         9    "this is an idea that I developed with my business
       10     partner Dave Kleiman for a period of over a
       11     decade."    Do you see that?
       12               A.      I see that.

   H   13               Q.      Underneath in bold, can you read
       14     that sentence for the record, please?
       15               A.      It is a heading that my lawyers put
       16     in saying: "I started developing smart contracts
       17     in 2007.    Dave and I worked on this for a number
       18     of years up to 2011."
       19               Q.      Is it true that Dave and you worked
       20     on smart contracts in 2007 to 2011?
       21               A.      I talked about smart contracts they
       22     were not what is in Bitcoin.         I had worked on the
       23     concept of what became part of a patent I filed
       24     with Jamie Wilson and Dave had been my sounding
       25     board on that.
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                                                                         Page 211
         1              Q.      Can you go down to paragraph 22 of
         2    the same document?
         3              A.      Excuse me.
  H      4              Q.      Read the first paragraph -- the
         5    first sentence of paragraph 22 for the record
         6    please?
         7              A.        "The idea conceived by David and
         8    me was to develop a system that integrated
         9    supervisory control and data acquisition SCADA
       10     software and a Bitcoin Exchange.          I had a strong
       11     interest in SCADA systems and published a book on
       12     the topic that was released in February 2013."
       13               Q.      Dr. Wright, I just asked you to
       14     read the first sentence.        Did you and David
       15     conceive of this idea?
       16               A.      No, I conceived of the idea and in
       17     2011 I invited David to be part of a number of
       18     filings for papers I had been and research I had
       19     been doing that were listed with the Department of
       20     Homeland Security under the BAA processes.             Dave
       21     was meant to run machines and help me control all
       22     this, I had been talking about it with Dave, that
       23     was part of what W&K was meant to do.            W&K would
       24     have been funded by Department of Homeland
       25     Security if Dave had successfully continued all
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                                                                         Page 212
         1    the administrative filings that he did not do.
 H       2              Q.      Dr. Wright, did you and Dave keep
         3    some of your work together secret?
         4              A.      I had lots of things in my life
         5    that were secret, mainly -- not because I was
         6    aiming to be secret or anything like this, the
         7    things I did with him I just didn't talk to people
         8    about.    I did not talk to many people other than
         9    Dave and my now wife.
       10               Q.      Can you open DEFAUS 112964 for me
       11     please.    Let me know when that comes up?
       12               (Exhibit DEFAUS 112964)
       13               A.      I have it up.
       14               Q.      Can you go down to page DEFAUS
       15     112966 page 3 of the PDF, an e-mail from Craig
       16     Wright to Carter Conrad and Patrick Page, dated
       17     February 12, 2014 at 5.21 a.m.; did you write this
       18     e-mail.
       19               A.      This says from Patrick Page.
       20               Q.      It is loading for me.        We are
       21     looking at the wrong e-mail.         It is the e-mail
       22     from Craig Wright to Carter Conrad and Patrick
       23     Page, dated February 12, 2014 at 5.21 a.m.
       24               A.      Yes, that is in front of me.
       25               Q.      Did you write this e-mail?
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                                                                         Page 213
  H      1              A.      Yes, I did.
         2              Q.      Do you see it says "Dave and I ran
         3                                                  wha
              a project in the US, we ran it there, we kept what
         4    we did secret."
         5              A.      Yes, I do.
         6              Q.      You knew Dave kept your dealings
         7    between you a secret?
         8              A.      That is not what I said.
         9              Q.      I just asked, did you know that he
       10     kept it secret?
       11               A.      Again, I do not really know what
       12     Dave did.
       13               Q.      Do you know if Dave told his family
       14     about the Bitcoin?
       15               A.      I do not know what Dave did.
       16               Q.      Did you ask Dave to keep Bitcoin a
       17     secret?
       18               A.      No, I did not.

  H    19               Q.      Do you see where it says "the
       20     company he ran there mines Bitcoins?
       21               A.      That would apply to W&K but, yes,
       22     I see that.
       23               Q.      The next sentence that says: "The
       24     amount DK mined is far too large to e-mail"?
       25               A.      I see that.
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                                                                         Page 214
  H      1              Q.      "I know this is cryptic and I know
         2    I gave Dave the shits with this and some of the
         3    things we did in W&K but he was my best friend and
         4    I am not sure where else to contact."            Do you see
         5    that?
         6              A.      I see that.
         7              Q.      Did you have a fight with Dave
         8    Kleiman in April 2013 before he died?
         9              A.      No, I did not.
       10               Q.      We are having a technical issue
       11     here.   Let us come back to that while we work out
       12     our technical issue.
       13                       Where are all the places you mined
       14     Bitcoin before 2011?
       15               A.      Physical locations you mean or
       16     companies?
       17               Q.      Yes -- no physical locations?
       18               A.      Bagnue(?), machines running out of
       19     my farm, that was probably 50 kilometers west of
       20     Port Macquarie up in the hinterland.           It was lot
       21                                                            When
       22     I am saying this of course what I am saying I did
       23     not mine Bitcoin companies I ran, I operated
       24     machines that mined for those to be specific.
       25
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                                                                         Page 215
         1




         4    church parish ran Bitcoin code and software.
         5    Where else?     Do you want other people who ran it
         6    for me or just mine?
         7              Q.      Just the locations of where you
         8    mined your Bitcoins?
         9              A.      Well, I did not mine my Bitcoin.
       10     That is once again incorrect.          Information Defense
       11     PDY Limited was formed in January 2009.            I was one
       12     of many shareholders in that company.            I was the
       13     CEO and I had staff and those staff also helped me
       14     run machines.     Everything mined by that company
       15     was initially, until July of that year when a
       16     warrant was called, that company and then it went
       17     over to another company.        So, are you specifically
       18     saying my Bitcoin, or are you saying basically
       19     anything I did as a company?
       20               Q.      Anything you did as a company?
       21                       MR. RIVERO:      Object to the form.
       22               A.      Up until what period?
       23     BY MR. FREEDMAN:
       24               Q.      Well, why don't you take me through
       25     your -- stop that for a second.          I see our
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                                                                         Page 216
 H       1    technical difficulty got resolved.           Can you go to
         2    the document entitled "the fury."
         3                      MR. RIVERO:      Was this just
         4    uploaded?
         5                      MR. FREEDMAN:      Yes, it was just
         6    uploaded.
         7                      MR. RIVERO:      Yes, got it.
         8    BY MR. FREEDMAN:
         9              Q.      Let me know when you have it.           Do
       10     you have it up?
       11               A.      I have it up there now.
       12               Q.      Do you recall you got in a fight
       13     with Dave Kleiman in April 2013 you said "no"; do
       14     you recall that?
       15               A.      Yes.
       16               Q.      Go to page 2 of 4 on that PDF, the
       17     paragraph starts in March 2013, do you see that?
       18               A.      I see that.
       19               Q.      Do you see the statement:         "In
       20     early April 2013 I had a fight with Dave.             Money
       21     was tight for both of us.        Bitcoin was not easy to
       22     sell at that point, not in any quantity that
       23     mattered.      The fight was the last time I ever
       24     spoke to Dave.      Later April 2013 Dave died."          Do
       25     you see that?
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                                                                         Page 217
  H      1              A.      Yes.
         2              Q.      Did you or did you not have a fight
         3    with Dave in April 2013?
         4              A.      I did not really have a fight with
         5    Dave.   I yelled, I ranted, and so, by definition,
         6    I did not have a fight because Dave just sat there
         7    and listened to me.       I complained about things.
         8    I called some people at the Australian Tax Office
         9    many names.     They had basically agreed to settle
       10     the court case with me in November 2012, but they
       11     dicked around -- and the only way to put it is
       12     dicked around -- and I was waiting around on the
       13     settlement, and meanwhile still fighting them
       14     trying to bankrupt me for the settlement that they
       15     already agreed owed me money, and I was having
       16     some troubles with that because of them freezing
       17     my ability to get money with other things,
       18     including liberty reserve, and money being seized
       19     and the correct terminology would not be if I am
       20     going to be under oath and saying that fight
       21     because fight would be two-sided.           It was in some
       22     ways worse than a fight because Dave stood, and
       23     I do not know whether he was standing, he would be
       24     sitting, Dave sat there and listened to me and
       25     Dave put up with my rant and Dave listened to me
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                                                                         Page 218
         1    as I yelled and screamed and complained, not at
         2    him, at the world.       The last thing I remember was
         3    yelling and screaming as he listened, which is
         4    what he did a lot.
         5              Q.      Dr. Wright, did you ever mine
         6    Bitcoin with Dave Kleiman at any point?
         7              A.      No.    You do not mine Bitcoin with
         8    someone.
         9              Q.      Did you ever mine Bitcoin with W&K
       10     at any point?
       11               A.      No, I was not with W&K.
       12               Q.      Did you ever contract to mine
       13     Bitcoin in the United States prior to 2013?
       14               A.      No, no Bitcoin was mined in the
       15     United States prior to 2013.
       16               Q.      Did you ever control Bitcoin that
       17     was mined in the United States?
       18               A.      I do not know.       I purchased Bitcoin
       19     in 2011, I do not know what the location of where
       20     it was mined would be.        I did not ask, I bought it
       21     from an exchange, I have the receipts and the
       22     purchase material from that.
       23               Q.      Was the Bitcoin that you purchased
       24     mined for a foreign trust?
       25               A.      No, it was not mined -- as far as
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                                                                         Page 219
         1    I know no.     The mining of the Bitcoin that I
         2    purchased was independent of anything I had to do
         3    with me, it was purchased without knowledge on an
         4    exchange that ran out of Russia which I then moved
         5    into a company that was put into a trust.
         6              Q.      Look at the defense 01097415?
         7              (Exhibit Defense 01097415 referred to)
         8              A.      I am awaiting it now.
         9                      THE COURT REPORTER:        Repeat the
       10     number.    We have it.     Thank you.
       11               A.      It has loaded now.
       12     BY MR. FREEDMAN:
       13               Q.      I am not actually seeing it.
       14                       MR. RIVERO:      It is a one-page
       15     e-mail correct.
       16                       MR. FREEDMAN:      Should be, hold on.
       17                       MR. RIVERO:      OK.
       18     BY MR. FREEDMAN:
       19               Q.      Dr. Wright do you recognize this
       20     e-mail as an e-mail you forwarded to Ms Watts on
       21     April 2, 2015?
       22               A.      You will have to scroll down so
       23     I can see it.     Can you go up a little bit.          Yes,
       24     I recognize this.

  H    25               Q.      Do you see the e-mail that you
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                                                                         Page 220
 H       1    wrote to Michael Hardy on 27 January 2014 at 4.53
         2    p.m.?
         3              A.      No, but I will continue for you on
         4    that one.      I saw the e-mail that I dictated to
         5    Angela Demetriu, starts with D end with U and it
         6    is Greek, not trying to be awful, I am just having
         7    a problem because I am tired pronouncing her name.
         8              Q.      Your executive assistant?
         9              A.      Yes, my EA.      So I basically
       10     transcribed and she typed it.
       11               Q.      Did you look it over before you
       12     sent it?
       13               A.      Yes, I did.      I know this one was
       14     what I asked her to write.
       15               Q.      Do you see the second paragraph.
       16     Can you read that first sentence in the second
       17     paragraph for me?
       18               A.      Yes.
       19               Q.      It says:     "The Bitcoin I control
       20     was mined in the US for a foreign trust and
       21     company that was set up following the information
       22     defense incident and was prior to the reversal of
       23     the foundless, reckless claim against me".             Do you
       24     see that?
       25               A.      Yes, I see that.
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                                                                         Page 221
         1              Q.      You told me that the Bitcoin
         2    controlled was not mined in the US for foreign
         3    investor company?
         4                      MR. RIVERO:      Object to the form.
         5              A.      No, that is not correct.
         6    BY MR. FREEDMAN:
         7              Q.      Did you ever have Dave mine Bitcoin
         8    for you?
         9                      MR. RIVERO:      Object to the form.
       10               A.      No.
       11     BY MR. FREEDMAN:
       12               Q.      Did Dave ever help you mine Bitcoin
       13     in the United States?
       14                       MR. RIVERO:      Object to the form.
       15               A.      No, he did not.
       16     BY MR. FREEDMAN:
       17               Q.      Did you ever have the private keys
       18     to Bitcoin Dave mined?
       19               A.      No, I did not.
       20               Q.      Did you ever move your mining
       21     process to Dave?
       22               A.      Sorry, what?
       23               Q.      Did you ever move your mining
       24     process to Dave?
       25               A.      No, I did not.
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                                                                         Page 222
         1              Q.      Did you ever have Dave mine Bitcoin
         2    in an overseas trust?
         3              A.      No, I did not.
         4              Q.      Did you ever have Dave mine Bitcoin
         5    in overseas companies?
         6              A.      No, I did not.
         7              Q.      Did you ever have access to the
         8    private keys to Bitcoin Dave mined in overseas
         9    trust?
       10               A.      No, nor do I know whether Dave
       11     mined Bitcoin or not.
       12                       MR. RIVERO:      Object to the form.
       13     BY MR. FREEDMAN:
       14               Q.      Did you ever have access to the
       15     private keys for Bitcoin Dave mined in overseas
       16     companies?
       17               A.      I do not know if Dave even mined
       18     Bitcoin in overseas companies which would make it
       19     impossible for me to know anything about the keys.
       20               Q.      Do you ever have access to private
       21     keys to Bitcoin that Dave created?
       22               A.      Dave didn't create Bitcoin.
       23               Q.      Would it be fair to say you could
       24     not have given someone the private keys to Bitcoin
       25     Dave mined?
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                                                                         Page 223
         1              A.      That would not be fair to say, and
         2    that is not accurate either.
         3                      MR. RIVERO:      Object to the form.
         4    BY MR. FREEDMAN:
         5              Q.      Would it be accurate to say you
         6    could not have given someone the private keys to
         7    Bitcoin that Dave mined?
         8                      MR. RIVERO:      Object to the form.
         9              A.      It would be accurate because
       10     I could not have given something I do not have.
       11     BY MR. FREEDMAN:
       12
       1 2              Q.      Was there any co-operation between
       13
       1 3    you and Dave to mine Bitcoin?
       14               A.      No, there was not.
       15                       MR. RIVERO: Objection asked and
       16     answered.
       17     BY MR. FREEDMAN:

   H   18               Q.      I am going to ask you to take a
       19     look at defense 01597484; do you have it in front
       20     of you?
       21               (Exhibit defense 01597484 referred to)
       22               A.      I do now.
       23               Q.      The top of this e-mail, it is a
       24     printout of an e-mail from you to John Cheshur,
       25     who was CFO of the company, Alexander McCaughn,
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                                                                         Page 224

 H       1    Jonathan Slater and Nicholas Mavrakis with a CC to
         2    your wife, Ms Watts, is that correct?
         3              A.      Yes, this is a communication ----
         4              Q.      There is no question pending.          Do
         5    you see underneath there it says "more to come"?
         6              A.      I see the communications with my
         7    lawyers in Australia, yes.
         8              Q.      You forwarded this, this e-mail was
         9    a forward of e-mails below; is that an accurate
       10     characterization?
       11               A.      I do not know, I haven't seen the
       12     e-mails below.
       13               Q.      Go to the bottom, the very first
       14     e-mail in the chain.
       15               A.      Can I actually start from the top
       16     and go down, so I can see it.
       17               Q.      The chronological order is reverse
       18     chronological order.
       19               A.      If you want me to answer the
       20     question I have to do it in my way, so please
       21     scroll down slowly.       You want me to answer whether
       22     this is correct or whatever else, so please scroll
       23     down; keep going, please.        Yes.
       24               Q.      Is this an e-mail -- I forgot the
       25     question I asked you.       I asked you: you forwarded
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                                                                         Page 225
 H       1    this e-mail -- not sure that -- let me rephrase
         2    the question.     Is it accurate to say that you
         3    forwarded correspondence between you and Mark
         4    Ferrier to the individuals listed at the top of
         5    this e-mail that we have already mentioned?
         6              A.      Yes, that is accurate.
         7              Q.      Are these real e-mails between you
         8    and Mark Ferrier?
         9              A.      This is not an e-mail, it is a PDF.
       10               Q.      Does the PDF represent the e-mails
       11     that you actually sent between you and Mark
       12     Ferrier -- sent and received between you and Mark
       13     Ferrier?
       14               A.      I would have to verify everything
       15     in there, but it appears to be accurate from the
       16     best of my recollection.
       17               Q.      At the bottom of the e-mail, the
       18     very first e-mail from Mark Ferrier to you is at
       19     5/23/2013 at 2.34 p.m., Mark says: "You are good
       20     for it so it seems and these guys are waiting.
       21     I have a great feeling about this.           Once this is
       22     done the pain deal closes, we are going to have a
       23     long profitable friendship.         You do what you do
       24     and I will sell it.       Mark."    Do you see that?
       25               A.      Yes.
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                                                                         Page 226
  H      1              Q.      Above that you say:        "I will start
         2    to send the addresses and get you the private
         3    keys.   I hope you understand that with this value
         4    transaction I need to see the code before
         5    I release everything"; do you see that?
         6              A.      Yes, I do.
         7              Q.      Mark responds back to you and says
         8    "Craig, so tell me where you got this stuff"; do
         9    you see that?
       10               A.      Yes.
       11               Q.      You respond back to him on 23 May
       12     2013 at 5.09 p.m. "I have a trust overseas.
       13     I moved it and the mining process to Dave Kleiman
       14     when I had a few issues with the tax people.
       15     I still do not trust them but I do want to do
       16     things in Oz."      Do you see that?
       17               A.      I see that.
       18               Q.      Did you send that?
       19               A.      I did not send that one, but it is
       20     part of a series of communications that I sent as
       21     e-mails that this represents.
       22               Q.      This is the only fake e-mail that
       23     we have reviewed so far?
       24                       MR. RIVERO:      Object to the form.
       25               A.      Sorry?
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                                                                         Page 227
  H      1    BY MR. FREEDMAN:
         2              Q.      You said you did not send this, who
         3    sent this?
         4              A.      That is not what I just said.
         5              Q.      Did you send this e-mail to Mark
         6    Ferrier?
         7              A.      As I said, the e-mail that this
         8    relates to appears to be one that I sent to Mark
         9    Ferrier.    I did not say that I did not send this
       10     e-mail.
       11               Q.      Did you send this e-mail to Mark
       12     Ferrier; that is the question I am asking?
       13               A.      I sent an e-mail along these lines
       14     to Mark Ferrier, this is not an e-mail.
       15               Q.      Is this a copy of that e-mail?
       16               A.      No, it is a PDF extract, it is an
       17     extract that would appear to be the e-mail.
       18               Q.      All right.     So Mark Ferrier
       19     responds he says "so why even do it here"; do you
       20     see that response?
       21               A.      Yes.
       22               Q.      You respond back on 23rd May 2013
       23     at 5.38 p.m.:     "Well nothing is really here.
       24     I understand that you are not keeping any Bitcoin
       25     just payment in cash so it comes from overseas and
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                                                                         Page 228
  H      1    stays overseas, I just want to do things here"; do
         2    you see that?
         3              A.      Yes.
         4              Q.      Mark responds:       "Your loss mate.
         5    If it was me I would be finding a way to do what
         6    you want without letting others in"; do you see
         7    that?
         8              A.      Yes.
         9              Q.      You respond back to Mark on 23 May
       10     2013 at 5.52 p.m.:       "Well you get paid.       The guys
       11     you have arranged get paid, you have cash, then
       12     they have what they want and I have my code.             If
       13     this works, we all win.        I had Dave mine the
       14     Bitcoin overseas and all it has cost is sunk.
       15     I cannot miss what I have never had.           I have never
       16     touched the Bitcoin we recreated in the overseas
       17     trust and companies and what I care about is
       18     making something more."        Do you see that?
       19               A.      Yes, which says I never received or
       20     had any Bitcoin that Dave may have had overseas.
       21               Q.      In the e-mail below you said that
       22     you were going to send the private keys to the
       23     Bitcoin, Mark Ferrier asked you where you got it
       24     from and you responded that you moved the mining
       25     process to Dave Kleiman and this was Bitcoin that
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                                                                         Page 229
         1    was mined in overseas trust, is that an accurate
         2    characterization of the e-mail we just read?
         3                      MR. RIVERO:      Object to the form.
         4              A.      No, it is not.
         5    BY MR. FREEDMAN:

  H      6              Q.      Can you open up defense 1597598?
         7              (Exhibit Defense 1597598 referred to)
         8              Q.      Do you have that in front of you?
         9              A.      No, I do not.
       10                       MR. RIVERO:      Do we have a page
       11     reference?
       12                       MR. FREEDMAN:      First page, 1597598.
       13               A.      Can I ask a quick question?
       14     Andreas, how long do you want to make this because
       15     I still have 90 minutes to get home.           I am rather
       16     tired now and I am sure everyone else is.
       17                       MR. RIVERO:      I would like to take
       18     that up in 10 minutes, if you are with me we will
       19     address it in 10 minutes.
       20               A.      I do not want to be driving home
       21     too late tonight.
       22               MR. RIVERO: I understand.
       23     BY MR. FREEDMAN:

   H   24               Q.      Do you recognize this e-mail?
       25               A.      I know the e-mail.        The people in
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                                                                         Page 230
 H       1    the e-mail I do not recognize off the top of my
         2    head, no.
         3               Q.     This is you -- is this printout of
         4    an e-mail you forwarded to John Cheshur, a bunch
         5    of other folks and your wife Mrs. Watts, is that
         6    accurate?
         7               A.     That would appear to be accurate,
         8    yes.
         9               Q.     Below it includes the e-mail from
       10     accounts@mjfminingservices.com sent to you?
       11               A.      Yes.
       12               Q.      On Thursday 15 August 2013,
       13     correct?
       14               A.      Yes.
       15               Q.      It says:     "Hello, we have accepted
       16     and verified the private keys sent to us below"
       17     and there is a list of Bitcoin addresses; is that
       18     accurate?
       19               A.      I would not be able to say whether
       20     they are accurate without looking at the company
       21     accounts.
       22               Q.      They purport -- they appear to be
       23     Bitcoin addresses right?
       24               A.      Appearances can be deceptive.
       25                       MR. RIVERO:      Object to the form.
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                                                                         Page 231
         1               A.     If I can make a quick comment,
         2    I think one of the things you are misunderstanding
         3    is that Mark Ferrier was working with Payne to
         4    mine gold, not Bitcoin -- physical gold.            So there
         5    are times when there are comments concerning gold
         6    and the mining of physical gold ore and there are
         7    Bitcoin mining in similar sentences.           So, I think
         8    my lack of clarity at times makes that a little
         9    bit confusing for people.
       10     BY MR. FREEDMAN:
       11               Q.      Dr. Wright, did Dave mine Bitcoin
       12     in 2009?
       13               A.      As far as I know now, no.
       14               Q.      Do you know about his mining set-up
       15     at all?
       16               A.      His what, sorry?
       17               Q.      His mining set-up?
       18               A.      The only thing Dave had set up in
       19     2009 was a laptop.

 H     20               Q.      Can you go back to the Satoshi's
                                                       Satoshi's
       21     Vision
              Vision book that was published under your name?
                                                        name?
       22               A.      Yes.
       23               Q.      Let me know when you have it up?
                                                             up?
       24     Page 16?
       25               A.      Yes.
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                                                                         Page 232
 H       1              Q.       The second paragraph from the top,
         2    three lines up from the bottom of that paragraph
         3    it says:       "There weren't a lot of other machines
         4    running Bitcoin in 2009.        To my knowledge Dave ran
         5    one machine that is full-time and he ran three or
         6    four on and off", do you see that?
         7              A.       Yes.
         8                       MR. RIVERO:     What paragraph on 16?
         9                       MR. FREEDMAN:     The second from the
       10     top.
       11     BY MR. FREEDMAN:
       12               Q.       You were aware that Dave Kleiman
       13     was mining Bitcoin in 2009?
       14               A.       No.
 H     15               Q.       Can you look at DEFAUS 516701.
       16               (Exhibit DEFAUS 516701 referred to)
       17               Q.       Do you recognize this as an e-mail
       18     from you to somebody called Benjamin Wright?
       19               A.       Yes, Benjamin Wright is a US
       20     attorney.
       21               Q.       Do you see below that it appears to
       22     be a printout of you forwarding an e-mail between
       23     you and Benjamin Wright that occurred to be a
       24     Linked-In, do you see that?
       25               A.       Yes, you have to keep going down,
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                                                                           Page 233
         1    sorry.    Yes.

  H      2              Q.      Did you send these messages?
         3              A.      I cannot remember but it is
         4    possible I did.      I was friends with Benjamin.
         5              Q.      Do you see on January 28, 2014 at
         6    1.21 p.m. it says "Craig Steven Wright wrote,
         7    worth a try, the Winklevoss twins are right into
         8    Bitcoin, Dave Kleiman and I started mining in
         9    2009...(reads to the words)... It is a shame Dave
       10     died last year before fruition but all is moving
       11     ahead"; do you see that?
       12               A.      I see that.
       13               Q.      You did know Dave Kleiman mined
       14     Bitcoin in 2009?
       15               A.      No, I think the error you are
       16     making is that I had initially had a belief that
       17     Dave was mining because when I talked to Dave the
       18     things he told me were that, yes, he is running
       19     the servers, and yes, he is doing things.             That
       20     would have started from when he got out of
       21     hospital in the end of February 2009, except what
       22     I later found out was that Dave had not wanted to
       23     lie to me and had not told me the truth.            Rather
       24     than admitting that he was not able to run the
       25     laptop and software, as he kept telling me he was
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                                                                         Page 234
         1    doing, he had, because of his troubles with
         2    infections and whatever else, had been taking
         3    money I had been giving him and he had been
         4    purchasing a combination of opiates and cocaine
         5    and barbiturates on Silk Road.
         6              Q.      Do you recall meeting with the ATO
         7    on several occasions?
         8              A.      I met with the ATO on several
         9    occasions dating back to 1985.
       10               Q.      Do you recall meeting with them on
       11     several occasions in 2014 and 2015?
       12               A.      I have met with many people from
       13     the tax office and many people in other government
       14     departments.
       15               Q.      Do you recall meeting that took
       16     place on February 18, 2014?
       17               A.      Not off the top of my head, no.
       18               Q.      I want to go back for a second to
       19     DEFAUS 516701, the e-mail and the linked-in
       20     messages.
       21               Q.      You know what, Dr. Wright, I am not
       22     sure we have time.       Let us move on.      Do you recall
       23     meeting with the ATO on February 18, 2014?
       24               A.      No, I do not remember the
       25     particular days when I met with the ATO.
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                                                                         Page 235
  H      1              Q.      Do you recall that the ATO provided
         2    you with transcripts of the meetings?
         3              A.      They gave my lawyers transcripts of
         4    the meetings.
         5              Q.      And can you take a look at DEFAUS
         6    00115519 for me?
         7              (Exhibit DEFAUS 00115519 referred to)
         8                      MR. RIVERO:      115179?
         9                      MR. FREEDMAN:      I said 115519.
       10                       MR. RIVERO:      Okay.
       11     BY MR. FREEDMAN:
       12               Q.      I do not think it is up yet.
       13                       MR. RIVERO:      I am not seeing it.
       14     BY MR. FREEDMAN:

  H    15               Q.      Do you have it up there?
       16               A.      I have an e-mail in front of me, or
       17     what appears to be an e-mail or at least a PDF of
       18     an e-mail.
       19               Q.      It shows a PDF of an e-mail from
       20     John Cheshur to yourself on March 6, 2014; is that
       21     accurate?
       22               A.      It is a PDF of an e-mail between
       23     John Cheshur and my main corporate CEO e-mail, it
       24     is not myself.
       25               Q.      John Cheshur is forwarding an
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                                                                         Page 236
         1    e-mail from the Australian Tax Office which says:
         2    "I have attached a transcript of your meeting with
         3    us on 18 February 2014.        This is a transcribing by
         4    Auscript."     Do you see that?
         5              A.      I see that, yes.
         6                      MR. RIVERO:      I do not know if the
         7    -- sorry, go ahead.
         8    BY MR. FREEDMAN:
         9              Q.      Do you see that?
       10               A.      I see that.
       11               Q.      It says:     "Also please see attached
       12     the minutes of our meeting on 26 February 2014,
       13     could you please review and advice of any errors
       14     or omissions.     If you are satisfied that the
       15     minutes are an accurate reflection of the
       16     discussion, please advice as such"; do you see
       17     that?
       18               A.      Yes.
   H
       19               Q.      Can you go out and into defense
       20     52514.    Do you have the next e-mail in front of
       21     you?
       22               (Exhibit Defense 52514 referred to)
       23               A.      No.
       24               Q.      Can we bring defense 52514 before
       25     Dr. Wright?
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                                                                         Page 237
         1              A.      Thank you.
   H     2              Q.      Do you see that Dr. Wright?
         3              A.      Yes.
         4              Q.      This reports to be a report out of
         5    an e-mail from you to Ramona Watts on June 24,
         6    2015 at 9.27 a.m.; do you see that?
         7              A.      Yes.
         8              Q.      Here you make some corrections to
         9    the 11 page doc, do you see that?
       10               A.      No, I do not.
       11               Q.      Page 10, an 11-page doc,
       12     20140226MM.pdf, do you see that?
       13               A.      Yes, except your ----
       14               Q.      Dr. Wright, the question is if you
       15     saw it.    Do you see it says the term "cores" is
       16     used; do you see that?
       17               A.      Yes.
       18               Q.      This is in the 2013/2014 year, do
       19     you see that?
       20               A.      Yes, I see this.
       21               Q.      "I missed this as they transcribed
       22     cores as chords", do you see that?
       23               A.      I see that.
   H   24               Q.      Is this an e-mail you sent?
       25               A.      No, it is a PDF of an e-mail
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                                                                         Page 238
  H
         1    I sent.
         2              Q.      Dr. Wright, can you open defense
         3    51769?
         4              (Exhibit Defense 51769 referred to)
         5                      MR. RIVERO:      Before this document
         6    is used, I note my objection.          Our intention to
         7    seek exclusion of these documents in limine based
         8    on expert testimony and so I think all the
         9    questioning is improper based on this transcript,
       10     but go ahead.
       11     BY MR. FREEDMAN:
       12               Q.      Dr. Wright, this is the record of
       13     client contact we just referenced in your last
       14     e-mail dated February 26, 2014, is it not?
       15               A.      I am still waiting for it to come
       16     up on my screen.
       17               Q.      When you do you will note it is 11
       18     pages?
       19               A.      I have a document in front of me.
       20     It is 11 pages.
  H    21               Q.      Is this titled "record of client
       22     contact" and dated 26 February 2014?
       23               A.      26 February 2014.       It is a meeting
       24     between John Cheshur and Anne Wrightson.
       25               Q.      Do you see on defense 51770, the
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                                                                         Page 239
         1    bottom of the page, the last paragraph, read what
         2    your CFO told the ATO.
  H      3              (Exhibit defense 51770 referred to)
         4                      MR. RIVERO:      Object to the form.
         5              A.      I have to get to the page.          I see
         6    the last paragraph.
         7              Q.      Can you read it for the record,
         8    please?
  H      9              A.      "JC: we understand.        Craig Wright
       10     took the Bitcoin that he mined offshore.            At the
       11     time it was worth 3-4 cents.         The total value of
       12     this was around $5,000.        He then started up W&K
       13     Info Defense LLC with Mr. Dave Kleiman.            W&K was
       14     an entity created for the purpose of mining
       15     Bitcoins.      Craig Wright is a forensic computer
       16     expert.    He constantly updated himself attending
       17     courses, workshops and training sessions.             He is
       18     also a university lecturer at Charles Sturt
       19     University and conducts courses.          He even provides
       20     services to some Australian government agencies,
       21     including the ATO and the Defense Force.            However,
       22     this is all done on a very high level."
       23               Q.      You did not correct this statement
       24     "W&K was an entity created for the purpose of
       25     mining Bitcoins"; did you?
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                                                                           Page 240
         1                      MR. RIVERO:      Object to the form.
         2              A.      That is incorrect.        What you are
         3    saying is taking an e-mail between myself and my
         4    wife, pointing out errors.         What I did do was
         5    I went to my lawyers, I had conversations with my
         6    Australian lawyers where we had pointed out many,
         7    many errors in this.       The errata for this document
         8    was too large and the document is not admissible
         9    even in Australian processes because it is
       10     completely inaccurate.
       11                       MR. RIVERO:      By allowing Dr. Wright
       12     to testify about these communications with
       13     Australian counsel we are not waving our rights in
       14     the event that we are successful on appeal.             We
       15     are trying to corporate to advance this discovery.
  H    16                       MR. FREEDMAN:      Top of the next
       17     page, Dr. Wright, read the next paragraph in the
       18     top of the next page?
       19               A.        "Craig Wright had mined a lot of
       20     Bitcoins.      Craig Wright then took the Bitcoins and
       21     put them into a Seychelles trust.           A bit of it was
       22     also put into Singapore.        This was run out of an
       23     entity from the UK.       Craig had gotten
       24     approximately 1.1 million Bitcoins.           There was a
       25     point in time where he had around 10% of all the
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                                                                         Page 241
   H     1    Bitcoins out there.       Mr. Kleiman would have had a
         2    similar amount.      However, Mr Kleiman passed away
         3    during that time.      He was a war veteran and he was
         4    wheelchair bound."
         5              Q.      Did you give this information to
         6    John Cheshur?
         7              A.      No, this is not an accurate
         8    document and the commentary in it is not accurate,
         9    and I was not involved at that time.
       10               Q.      You did not correct that statement
       11     when you e-mailed to Mrs. Watts, did you?
       12                       MR. RIVERO:      Object to the form.
       13               A.      The problem you are trying to do is
       14     catch me out going I did not correct it when
       15     I e-mailed Mrs. Watts because there is no
       16     correcting it with Mrs. Watts in 2015.            The
       17     corrections were made shortly after in 2014.             This
       18     document that had been sent to me by John, we
       19     discussed with our lawyers and had meetings with
       20     the tax office stating, in 2014, that this was
       21     erroneous.     So, no, after the corrections had all
       22     already been made, I did not then go back to my
       23     wife and go "make the corrections again".
       24     BY MR. FREEDMAN:

   H
       25               Q.      Dr. Wright, let us look at the last
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                                                                         Page 242
 H        1   document before we break for the day.            Can you
          2   open DEFAUS 01859475?
          3             (Exhibit DEFAUS 01859475 referred to)
          4             A.      I think we are getting an echo.
          5   BY MR. FREEDMAN:
     H    6             Q.      We are almost done.        Let me know
          7   when you have DEFAUS 01859475?
          8             A.      It is loading now.        There is an
          9   e-mail "re UK designed by human".
         10             Q.      Do you recognize this as an e-mail
         11   send by you to John Cheshur, Andrew Summer and Ms
         12   Watts on April 2, 2014 at 9.20 a.m.           Do you
         13   recognize this e-mail?
         14             A.      Can you scroll down?        It looks
         15   familiar.
         16             Q.      Did you send this e-mail?
         17             A.      Can you go back up again?         Yes,
         18   this looks familiar.
         19             Q.      Can you read this e-mail for the
         20   record?
         21             A.      Yes, I can.      "Hello.    We have the
         22   e-mail from Dave below.        This was from December
         23   2012.   The simple answer is that we have and
         24   control the company completely now.           The
         25   screenshot is the site in October 22, 2012, so
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                                                                         Page 243
 H       1    Dave had been there at that point.           There was a
         2    risk from October 2012 when Dave reserved this and
         3    before it was paid for, but we have control fully.
         4    The main thing here is that Dave mined all of this
         5    outside Australia and even if we had managed to
         6    screw this and somehow lose control of the
         7    company, it would still have been using overseas
         8    right to BTC.     I was not the person doing the
         9    mining, Dave was."
       10               Q.      Dr. Wright, is it not true that
       11     Dave did all the mining for you as Satoshi
       12     Nakamoto?
       13
       1 3              A.      No, it is not.
       14               Q.      You wrote that though, did you not?
       15                       MR. RIVERO: Objection.
       16               A.      You are mischaracterizing what
       17     I just said once again.        I did not say Dave mined
       18     for me, and when I read that e-mail that is not
       19     anything that I have just said.
  H    20               Q.      The e-mail below from Dave Kleiman,
       21     is that a real e-mail from Dave to you?
       22               A.      Please scroll down so I can see.
       23     Can I see the subject line, go up.           Yes, it looks
       24     like an e-mail I have gotten in the past from
       25     Mr. Kleiman.
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                                                                         Page 244
  H      1              Q.      Dave Kleiman?
         2              A.      Yes.
         3              Q.      Can you read that e-mail for the
         4    record?
         5              A.      Yes.    "No need.     There are several
         6    others from October.       If we come into any issues
         7    but we only need one.       Your trust is in the
         8    Seychelles and you want to have noting known of
         9    mine in P, so it should all be good.           We only need
       10     one dormant and untraded company to sit as the
       11     owner of the Bitcoin we are mining into them.
       12     I am assuming you do not want WKID to be a
       13     director.      The Brits do not allow this -- sorry,
       14     Brits do allow this."
       15     BY MR. FREEDMAN:
       16                       MR. RIVERO: If there is no pending
       17     question, I am asking how much time has elapsed?
       18                       THE VIDEOGRAPHER:       Six hours and
       19     three minutes.
       20                       MR. RIVERO:      Unless you have
       21     another minute, we are now an hour and 46 minutes
       22     beyond the order and beyond total time as well.
       23     Mr. Freedman, wrap it up right now.
       24                       MR. FREEDMAN:      Last question, Dr.
       25     Wright.    What did you take Dave Kleiman to mean
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                                                                         Page 245
         1    when he said that "Bitcoin we are mining into
         2    them"?
         3              A.      Dave tried to assure me that he was
         4    still working and doing things.          Dave had promised
         5    me that he was setting things up and that money
         6    I had given him would be used for building
         7    machines and doing other work.          That never
         8    occurred.      What I did not realize at the time,
         9    because I trusted Dave implicitly, was that Dave
       10     basically was not saving money, Dave was spending
       11     all the money on cocaine, on barbiturates, on
       12     painkillers, on opiates.
       13                       MR. RIVERO:      We are concluding
       14     today.    This is it.     I am not -- we are concluding
       15     right now.     I would like to say on the record, we
       16     are all now very aware that we are beyond today,
       17     so the additional time should be discounted and
       18     I am going to ask on the record that we start on
       19     time, I am willing to start early if the judge is
       20     available, or counsel, I am willing to start half
       21     an hour or further early.        We need to finish
       22     within the time provided by district court order
       23     on Wednesday.     It is not right to have people, we
       24     are in a circumstance that we all understand,
       25     having to travel at this time of night.            That is
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                                                                         Page 246
         1    my position.     I am glad to discuss it with you,
         2    Mr. Freedman, but please make arrangements so we
         3    can accomplish this within the time set out in the
         4    district court order and finish this on Wednesday.
         5                      I do not know if you have, I would
         6    like to have the time noted now as we conclude the
         7    deposition.
         8                      THE VIDEOGRAPHER:       We have been on
         9    the record for six hours and five minutes.
       10               (Deposition concluded at 8.47 p.m.)
       11
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                                                                         Page 247
         1                      CERTIFICATE OF WITNESS
         2
         3     I, Craig Wright, am the witness in the foregoing
         4    deposition.     I have read the foregoing and, having
         5    made such changes and corrections as I desired, I
         6    certify that the transcript is a true and accurate
         7    record of my responses to the questions put to me
         8    on 16 March, 2020.
         9
       10
       11
       12
       13      Signed:    ...............
       14
       15      Name:      ..............
       16
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                                                                         Page 248
         1

         2                      CERTIFICATE OF COURT REPORTER

         3

         4     I, Amy Coley, an Accredited Reporter, hereby

         5    certify that Craig Wright was duly sworn, that I

         6    took the Stenographic notes of the foregoing

         7    deposition and that the transcript thereof is a

         8    true and accurate record transcribed to the best

         9    of my skill and ability.        I further certify that I

       10     am neither counsel for, related to, nor employed

       11     by any of the parties to the action in which the

       12     deposition was taken, and that I am not a relative

       13     or employee of any attorney or counsel employed by

       14     the parties hereto, nor financially or otherwise

       15     interested in the outcome of the action.

       16

       17

       21

       22     Signed: ..................

       23     AMY COLEY

       24

       25
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                                                                         Page 249
         1
         2                             E R R A T A
         3
         4                     Deposition of Craig Wright
         5     (Please show all corrections on this page, not in
         6                         the transcript.)
         7     Page/Line No.                          Reason for change
         8
         9
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       15
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       19
       20      Signed: ..................
       21      Name:     ...............
       22      Date:     ..................
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                                 $SULO       
                         DQ\ERG\                  
       DPRXQWV         DQ\RQH V                
                           DQ\ZD\                   
       $P\                DSDUW                     
                   DSKDVLD                
       DQDO\VLV           DSRORJLHV                
                                                   
       DQDO\]H              DSRORJL]H      DUFKLWHFWXUDOO\      
                                                      
       DQDO\]HG               DSRORJL]HG     DUHD        
       DQDO\]LQJ            DSSDOOLQJ                 
       DQDWKHPD            DSSDUHQWO\                  
       DQFLOODU\           DSSHDO     DUHDV        
       $QGUHDV                                        
                    DSSHDU                        
       $QGUHVHQ                   DUJXH        
                              DUJXPHQW        
       $QGUHZ                                          
                   DSSHDUDQFH          DUJXPHQWDWLYH         
                                          
                                     $ULYHUR#ULYHU   DVNLQJ 
                   DSSHDUDQFHV                           
       $QGUpV                        DUUDQJHG         
       $QJHOD              DSSHDUHG                       
                      DSSHDULQJ      DUUDQJHPHQW           
                           DSSHDUV                        
       DQJU\                  DUUDQJHPHQWV         
                                             
       $QQH       DQVZHUHG                              
       DQQRWDWLRQ                    DUUDQJLQJ       
       DQQRXQFHG                    DUUHVWHG        
       DQQRXQFLQJ                                        
                          DSSOLFDWLRQ    DUULYHG           
       DQRQ\PLW\           DSSO\         DUVH              
       DQRQ\PRXV  DQVZHULQJ       DSSRLQWPHQW         DUVHKROH         
                               DUW          
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       DVNV                                   EDVHPHQW 
       DVSHFWV                             
                                        EDVLFDOO\ 
                                                          
       $VSHUJHU V             $XVWUDOLDQ                             
                     DWWDFKPHQWV                        %           
       DVVHUW                       %$$          
       DVVHUWHG                               EDFN       
       DVVHUWLQJ     DWWDFN                      
       DVVHUWLRQ     DWWHPSW                          
                     DWWHPSWHG                         
       DVVHUWLRQV                                   
       DVVHVVPHQW      DWWHPSWLQJ                             
       DVVLVW                                   
       DVVLVWDQW      DWWHQG         $86                
       DVVRFLDWHG                  DXWKHQWLFLW\              %DWHV 
                                             
                DWWHQGHG        DXWKRU              
                                                
       DVVXPH                                      %D\ 
                DWWHQGLQJ       DXWKRULW\            %'2 
                                                     
       DVVXPLQJ       DWWHQWLRQ      DXWKRUL]DWLRQ            EHDFK 
              DWWHVW                                 %HDU 
                  DWWRUQH\      DXWKRUL]H             
                                                        EHDW 
       DVVXPSWLRQ          DWWRUQH\FOLHQW     DXWKRUL]HG          EHJLQQLQJ 
                               DXWKRUV                    
                       DWWULEXWHG     DXWLVP        EDFNJURXQG    
       DVVXPSWLRQV         DWWULEXWLQJ    DXWLVWLF               
                      DXGLEOHV        DYDLODEOH     EDG   EHJLQV  
       DVVXUH        DXGLEO\         $YHQXH                      EHKDOI 
                      DXGLW                        %DJQXH      
       $72                         DYHUDJH                   EHOLHI 
                  DXGLWLQJ      DYRLG         EDQNLQJ     EHOLHYH 
            DXGLWRU                                
              DXGLWV        DZDLWLQJ       EDQNUXSW     
                        DZDUGHG        EDUELWXUDWHV        
                  $XJXVW          DZDUH                
                                      %DUURZ       
              $XVFULSW               EDUV         
       DWWDFKHG        $XVWUDOLD      DZIXO          EDVHG     
                    $\UH               
                                             
                      DP               
       DWWDFKPHQW                                   
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                              %ODFN V             
                               EODWDQWO\        
                               EORFN        
                                EORFNFKDLQ        
       EHOLHYHG     %LWFRLQ                            
                                           
                                                  
       EHOLHYHV                               ERXJKW 
       EHOO                      EORJ       
       EHORQJ                                 %RXOHYDUG 
       EHORQJHG                                ERXQG 
                                              ERZO 
       EHORQJV                                          ER[  
       EHQHILFLDO                   EORJV      EUDFNHW 
       %HQMDPLQ                              EUDFNHWV 
                               %ORRP          EUDLQ 
                                      EOXH           
       EHVW                                     EUHDN 
                            %OYG               
                        ERDUG            
                                            
                               %RLHV        
                                                  
                                EROG         
                                           
                                            
                                              
                                            
       %HW                                EUHDNV 
       EHWWHU                                   %UHQQHU 
                        %LWFRLQV    EROGHG            
                                                
                                ERRN           
       EH\RQG                           EULGJH 
                                   EULHI 
       ELJ                                 EULHIO\ 
                                             EULQJ 
                   %LWFRLQ V                 
                                               
       ELJJHVW             ELWV                   %ULVEDQH 
       ELQDU\                               %ULWLVK 
       ELUWK           EODFNPDLO                  
       ELUWKGD\                             %ULWV 
       %LVFD\QH            EODFNPDLOHG         ERRNNHHSHUV         EURDGFDVWLQJ
       ELW                                    
                        %ODFNVWRQH       ERWWRP          EURDGHU 
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                                                                                             Page 5

       EURNHQ               FDXVH                   FODLP  
       %URRNHV         &&                  
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                                     FKDSWHU        FODLPHG 
       %7&                 &&HG           FKDUDFWHU        
       EXFNHW                           FKDUDFWHUL]DWLRQ    FODLPLQJ 
       EXLOG                                       FODLPV 
                        && V                   FODULI\  
              FDOOLQJ       FHQWUDOL]HG                      
       EXLOGLQJ     FDOOV        FHQWV         FKDUDFWHUL]H    FODULI\LQJ 
       EXOOHW                     &(2                      FODULW\ 
       EXQFK        FDOPHU                FKDUDFWHUL]LQJ      FODVV 
                                                                 FODZ 
       EXVLQHVV     FDOPHVW       FHUWDLQ     FKDUDFWHUV     FODZEDFN 
             FDOPO\               FKDUJH         &OD\WRQ 
            &DOYLQ                              
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              FDPHUD                 FKDUWHUHG      &OD\WRQV 
                                    FKHDW         FOHDU 
                             &(57,),&$7(         FKHFNHG          
       %XWHULQ      FDPSDLJQ                 FKHFNLQJ         
                    FDSWXUH       FHUWLI\                         
                         FDSWXUHG                  &KHVKXU         
                &                &)2                       
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                  FDUH                         
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       &DOH\                                           
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                FDVH         FKDQJH      FKRLFH         
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       &DOH\ V                             FKXUFK       FOXVWHU 
       FDOO     FDVHV                 FLSKHU           FRDFK 
             FDVK      FKDQJHV        FLUFOH         FRDFKLQJ 
                                               
                   FDWFK                                  FRFDLQH 
       FDOOHG                FKDQJLQJ      FLUFXPVWDQFH          
             FDWHJRU\                            FRGH 
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                          FRPPXQLFDWLRQ              FRQFHUQHG 
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                          FRPPXQLFDWLRQV                  
                               FRPSODLQLQJ           
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                 FRPHV                  FRPSODLQW      
                                      FRPSODLQWV         FRQFOXGH 
       FRGHG                                       FRQFOXGHG 
       FRGHU                         FRPSOHWH         
                                                  FRQFOXGLQJ
               FRPIRUWDEOH             FRPSOHWHG       
       FRGHUV         FRPLQJ          FRPSDQLHG                         FRQGLWLRQV 
                                             FRPSOHWHO\        
       FRGLQJ                   FRPSDQLHV                  
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       FRJHQW                                    FRQGXFW 
       &RKHQ                         FRPSOHWHQHVV         
                  &RPPDQGHU                                  FRQGXFWV 
                                  FRPSOHWLRQ    FRQIHUHQFH 
       FRLQV    FRPPHQFHG                FRPSOH[      FRQIOLFWLQJ 
                 FRPPHQW               &RPSOLDQFH           
                                                FRQIRXQGLQJ
       &RLQ([FK                                 FRPSOLFDWHG          
                             FRPSDQLRQ              FRQIXVH 
       &ROH\                            FRPSXWDWLRQDO      FRQIXVHG 
               FRPPHQWDU\          FRPSDQ\                       FRQIXVLQJ 
       FROODERUDWLQJ                             FRPSXWHU       FRQMXQFWLRQ
                     FRPPHQWV                          
       FROODERUDWLRQ                                              FRQQHFWHG 
                      FRPPLVVLRQHU                 FRPSXWHUV          FRQQHFWLRQ 
       FROODSVH                                           
                      FRPPLVVLRQHUV                      FRQQRWDWLRQ
       FROODSVHV                                          
       FROOHDJXHV     FRPPLWWHH              FRQFHGH       &RQUDG 
       FRPELQDWLRQ                           FRQFHGLQJ       
                 FRPPXQLFDWH                    FRQFHLYH     FRQVHFXWLYH
                                              FRQFHLYHG       
       FRPH         FRPPXQLFDWHG                              FRQVLGHU 
                                 FRQFHQWUDWLQJ         
                                                       
               FRPPXQLFDWLQJ       FRPSDQ\RZQL     FRQFHSW      FRQVLGHUHG 
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                            FRPSLOHG                     
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       FRQVLVWHQW                                  &UDLJ  
               FRQWUDGLFWLQJ                                   
       FRQVWDQW                       FRUSRUDWLRQ                      
       FRQVWDQWO\          FRQWURO                                   
                            FRUUHFW                   
       FRQVWUXFW                      FRXQWULHV        
       FRQVXOW                                       
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       FRQVXOWDQW                                 
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       FRQVXOWDQWV         FRQWUROOHG                            
                                                   
       FRQWDFW                                                 
                 FRQWUROOLQJ             FRXUVHV          
                &21752/                                 
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       FRQWDFWHG      &21752/                              
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       FRQWDFWLQJ          FRQYHUVDWLRQ                              
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       FRQWHPSRUDQH                                  
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       FRQWHQW     FRQYHUVDWLRQV       FRUUHFWLQJ              
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       FRQWHQWV               &RUUHFWLRQ                  
       FRQWH[W                FRUUHFWLRQV             &UDLJVZULJKW
                                                        
       FRQWLQXDQFH                                 FRXUW V    &UDLJZULJKWQHW
                      FRQYLFWHG                  FRYHU             
       FRQWLQXH       FRQYLQFH                 FRYHULQJ       &UDLJZULJKW#
                FRSLHG        FRUUHFWO\       &RYLG        
                                                   &UDLJ#Q&U\SW
               FRSLHV        FRUUHVSRQGHQFH      FRFRXQVHO            
                FRS\                                &UDLJ#5&-%5
       FRQWLQXHG                     FRRSHUDWLQJ          
                                                       &UDLJ#5&-%
                        FRVW          FRRSHUDWLRQ          
       FRQWLQXRXV              &RVWD                       FUDVKHG 
       FRQWUDFW                          FRRUGLQDWH         FUHDWH 
                FRS\LQJ       &RVWV                           
                FRS\ULJKW     FRXQVHO         &21              
                     FRUHV               &21V           
       FRQWUDFWV      FRUQHU                    FUDFN           
               FRUSRUDWH                &UDFNHG         
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       FUHDWHG        FU\SWRJUDSK\                       
                                     
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                     FXOWXUH                     
       FUHDWHV       FXULRXV                        
       FUHDWLQJ    FXUUHQF\                       
                   FXUUHQW                  
                                           
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                                              
       FUHDWLRQ    FXVWRGLDQ                
                                      
                &:                      GD\  
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                                                     
       FUHDWLYH      &FRGHU                       
       FUHDWRU                             GH 
                                                    GHDG  
       FUHDWRUV              '                         
       FUHGLELOLW\    '                          GHDO  
       FUHGLW         GDIW                               
                GDQJHU                   GHDOLQJ 
                                                 
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               GDWDEDVH                       GHDOV 
       FULPH       GDWH                 GHDOW 
                                           'HDQ 
       FULPLQDO                         GHDWK 
                                         
       FULPLQDOV                        
       FULWLFDO                            GHFDGH 
       FULWLTXH     GDWHG                       
       FURVV                                GHFDGHV 
       FUXG       GDWLQJ                        'HFHPEHU 
                  'DYH                        
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       FU\SWLF                       GHFLGH 
       &U\SWR                            
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       GHFLVLRQV                           'LFWLRQDU\        GLVDJUHHPHQW
       '()          GHSRVLWLRQ      GLH         
                                     GLVFORVH 
                             GLHG      GLVFRQQHFW 
                                     GLVFRXQWHG
                                           
       '()$86                                         GLVFRYHU\ 
                                            GLVFXVV 
                                               
                               GLHV              
                              GLIIHUHQFH          
                                            GLVFXVVHG 
                                 GLIIHUHQW           
                                                
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                          GHSUHFLDWHG                     
       '()$86        GHIHQVLYH                               GLVFXVVHV 
                       GHILQLWLRQ    GHSXW\                  GLVFXVVLQJ 
       '()$86               GHVFULEH                    
                                                             
       '()$86        GHJUHH                                    
                             GHVFULEHG      GLIILFXOW       
       '()$86                      GHVFULSWLRQ                    
                       GHJUHHV                              GLVFXVVLRQ 
       '()$86                     GHVLJQHG                      
                       GHOD\                     GLIILFXOWLHV           
       GHIHQGDQW                     GHVLUHG                  GLVFXVVLRQV 
                     GHOD\HG       GHWDLOV        GLIILFXOW\         
       'HIHQGDQWV                     GHWHULRUDWHG                      
       GHIHQGDQW V         GHOHWH       GHWHUPLQDWLRQ       GLJLWDO      
                     'HOLFK             GLJLWDOO\      GLVLQJHQXRXV
       GHIHQVH                     GHWRXU          GLUHFW             
             'HPHWULX      GHYHORS        GLUHFWHG          
              'HPLWULR      GHYHORSHG      GLUHFWO\        GLVNV 
              GHPRQVWUDWHG                          GLVSOD\HG 
                          GHYHORSLQJ          GLUHFWRU        GLVVHUWDWLRQ
              GH0RUJDQ                                          
                              GHYHORSPHQW         GLVDELOLW\     GLVWLQFW 
                  GHQLHG                        GLVWLQFWLRQ
                                            
              'HSDUWPHQW                 GLVDEOHG       GLVWULEXWHG 
                                                    
                              'HYLQ            GLVDJUHH           
               GHSDUWPHQWV        GLFNHG                  
                              GLFWDWHG                    GLVWULEXWLQJ
                  GHSHQGV     GLFWLRQ                   
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       GLVWULEXWLRQ                                       
       GLVWULFW     GRFXPHQWV                     
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       '.                                   
       GRF                                     
       GRFNHW                              
       GRFWRUHG                            HDUWK 
       GRFXPHQW                              HDVLHU 
                                     HDVLO\ 
                                           
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                                             
                                     HFKR  
                GRF[                       HFKRLQJ 
                  GRLQJ                         HFRQRPLF 
                                          
                                        HFRQRPLFDOO\
                                 GUDIW          
                                        HFRQRPLFV
                                                    
                               GUDIWHG      (FRQRPLVW 
                                 GUHZ         (&$  
                                GULYLQJ      HGLW  
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                GROODUV              GURSER[         
                                                   HGLWLQJ 
                   'ROZLFK             GURSSHG     HGLWRU 
               GRPLQDWHG               GURYH         HGLWV 
                   'RQ                GUXJ         H'RQNH\ 
                'RQDOG               GXH          (GZDUGV 
                GRUPDQW              GXO\            
                   GRXEW              G\LQJ        HIIHFW 
                                                   
                'RXJ                           (        HIIHFWLYHO\ 
               'U             H       
                                        
                              ($   HIIRUW 
       GRFXPHQWDU\                         HDUOLHU         
                                                
       GRFXPHQWDWLRQ                             HIIRUWV 
                                        HLWKHU 
       GRFXPHQWLQJ                          HDUO\       
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                HQWLW\     ([FHO         H[SHUW         
                              H[FKDQJH                     
       HODSVHG       HQXQFLDWH                H[SHUWV        
       (PDLO     HSLVRGH                 H[SODLQ         
       HPHUJHQF\      HTXLSPHQW      H[FKDQJHG                   
                     HTXLYDOHQW      H[FKDQJHV               
       HPSKDVL]HG          (ULN            H[FOXVLRQ       H[SODLQHG       
                     HUUDWD         ([FXVH           H[SODQDWLRQ         
       HPSOR\HG      HUURQHRXV                                    
                                H[HFXWHG       H[SODQDWLRQV         
       HPSOR\HH      HUURU                                         
                             H[HFXWLYH       H[SUHVV         
       HQDEOHG        HUURUV      H[KLELW     H[WHQG         
       HQFRXUDJH                     H[WHQGHG        
       HQFRXUDJHG          (VT                        
                                         H[WHQVLRQ      
       HQFU\SWHG     HVVHQWLDO                          
                                                 
       HQFU\SWLRQ                                     
                      HVVHQWLDOO\                H[WHQW          
       HQGHG                                             
                HVWDWH               H[WUD          
       HQGOHVVO\                             H[WUDFW    
       HQGV          (6                 H[WUDRUGLQDULO\     
       HQJDJH         HW                                       
                     HWKHUHXP                  H[VWDII        
       HQJDJHG         (XURSH                    H[ZLIH       
                     (XURSHDQ                  H\H             
       HQJDJHPHQWV         HYHQW                    (JROG          
                                         HPDLO     
       (QJODQG         HYLGHQFH                        
       HQTXLUH                                   
       HQUROOHG                                
       HQVXUH         HYLGHQWLDU\                        
                  H[DFW                             
                                           
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       HQWLUH                                      
                H[DFWO\         H[LVWHG               
                                                 
       HQWLWOHG             H[SDQGHG                  
                             H[SHFWDWLRQ                  
                                                        
                H[DPLQLQJ           H[SHFWHG               
                             H[SHULPHQW                 
                 H[DPSOHV                               
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                  )DFHERRN                         
                                          ILQHG 
               IDFLDO                           ILQLVK  
                IDFLOLWDWH     IDPLO\        IHYHU             
                                    ILJKW              
                  IDFW                        ILQLVKHG 
                      IDU                 
                                           )LQQH\ 
                               ILJKWLQJ          
                                               ILUHG 
                                       ILOH         
                  IDFWV                            ILUHZDOOHG 
                  IDLO                         ILUP 
                                                   
                             IDUP                     ILUPV 
               IDLOLQJ        IDVKLRQ              ILUVW  
                  IDLOXUH        )$7)                  
              IDLU                                   
                            )DXVWXV                 
                                                
                                            
                          )DXWXV                    
                     IDYRU                     
                        IDYRXU                         
       HPDLOHG             IHDWXUHV      ILOHG             
                                )HEUXDU\      ILOHV        
       HPDLOV                                      
                                        
                                 ILOLQJ             
                                   ILOLQJV           
                                                       
                               ILQDO        
                                                   
                              )LQDOO\             
                                        ILQDQFH           
               IDLUO\     )HGHUDO      ILQDQFLDO       ILVK 
                              IHHG                     ILYH  
                  IDNH        IHHGEDFN                        
                             ILQDQFLDOO\          IL[ 
                   IDOOLQJ                            )OHHW  
                     IDOOV          IHHO         ILQG        )OH[QHU 
       HJ        IDOVH     IHHOLQJ                     
                                    IHOO                    IOLS 
               )           IDOVHO\        IHOW                          )ORULGD  
       IDEULFDWLRQV                      )HUULHU    ILQGLQJ            
                      IDPLOLDU             ILQH       IOXIILHU 
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       IOXII\                 IRUZDUGLQJ                 
       IRONV                                      
                                               
                             IRUZDUGV              
       IROORZ                                    
                                                       
       IROORZHG               IRXJKW                
                              IRXQG                 
       IROORZLQJ                                  
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                        )RXQGDWLRQ               
       IROORZV                    IRXQGOHVV               
       IRUFH             IRXU              
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                             IRXUWK             
       IRUFHV                                       
       IRUHJRLQJ              IUDQNO\                  
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       IRUHLJQ                IUDXG                 
                          IUDXGVWHU                 
       IRUHQVLF                  IUHH                   
                     IRUPDOO\        )UHHGPDQ                 
       IRUHQVLFDOO\                                      
                     IRUPDW                         
       IRUJRW          IRUPHG                        )UHHGPDQ V
                                             
       IRUJRWWHQ       IRUPHU                       IUHH]H 
       IRUP                                     IUHH]LQJ 
                IRUPXODWH                   )ULGD\ 
              IRUPXODWLQJ                           
                                                
                 IRUWK                   IULHQG  
                 IRUXP                              
              IRUZDUG                       
                                           
                                           
                                       
                                     
                                               
                  IRUZDUGHG                        
                                        
                                         
                                              
                                    IULHQGV 
                                                   
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       IULHQGVKLS         *DUHWK V                       *RYHUQDQFH
                    JDWKHULQJV                        
       IURQW                                   JRYHUQPHQW
                *DYLQ                        
                                        
              *&+4                              
                 JHQHUDO                            
                                              JRYHUQPHQWV
                                           
                  JHQHUDOO\                         *4 
                                      *UDQJHU 
                                         JUDQWHG 
               JHQWOHPDQ                      
                                             JUHDW  
               JHQXLQH                           
                                          
                    JHWWLQJ                       *UHHN 
       IUR]HQ                                   *UHJ 
       IUXLWLRQ                             *UHJRU\ 
       IXFN           JKRVW                              *UHLJ  
       IXOILO        JLYH                      JURXS  
       IXOILOOLQJ                           
       IXOO                                 
                                          
       IXOO\                                     
                     JLYHQ                          
       IXOOWLPH                             JURXSV 
       IXQG                              JXHVV  
                                              
       IXQGHG                                   
                                            JXHVVHG 
       IXQGLQJ                                 JXLVH 
       IXQGV        JLYLQJ            JROG     JX\ 
       IXUWKHU                          JROGILVK       JX\V 
               *L]PRGR             JROI             
       IXU\          JODG              *ROLDWK           
       IXWXUH                              JRRG 
                     JOLWFK                                 +
                          JORULRXV                           KDELW 
               *          *07                            KDFN 
       JDPEOLQJ                  JRHV                 KDFNHG 
       JDPLQJ       *0;                   *RRJOH            
                                                    
                           JRLQJ      JRVVLS     KDFNLQJ 
       *DUHWK       JR                JRWWHQ         
                                            
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       +DO        KHDULQJ                        LJQRUH  
                           KLGLQJ               LOO 
              +HDUQ         KLJK                 LOOHJDO 
       KDOI     KHDW          KLJKO\        +RXVH       LPDJH 
             KHOG      KLQWHUODQG          +7&            
                                                          LPDJLQH 
               KHOO           KLQWLQJ       KXPDQ            
               KHOOR                          LPPHGLDWHO\
       KDQG                KLS                              
                      KLUH           KXPEOH       LPSHDFK 
       KDQGHG        KHOS      KLUHG            LPSHGLQJ 
       KDQGLQJ                                           LPSOHPHQWHG
                     KLW            KXPLOLW\        
       KDQJ                   KLWWLQJ       KXQGUHG      LPSOLFDWLRQ
       KDSSHQ              KPP           KXQGUHGV         
                        KROG                            LPSOLFLWO\ 
       KDSSHQHG                                   ,        LPSOLHG 
                     KRPH          ,DQ              
                                ,&8        
                                          LPSO\ 
                                                            
       KDSSHQLQJ                 +RPHODQG       LGHD    LPSO\LQJ 
                                                    
       KDSSHQV               KRQHVWO\                  
       KDSS\             +RQRU            LPSRUWDQW 
                                                     
       KDUG      KHOSHG                                  
                              KRQRUDEOH            LPSRUWDQWO\
       KDUGHU               KRSH                   
       +DUG\                                       LPSRVVLEOH
       KDVKHV             KRUULEOH                 
       KDWH                KRUULEO\             LPSURSHU 
       KD]DUG              KRVSLWDO       LGHDV           
       KHDG                        LGHQWLILFDWLRQ    LPSURYHG 
                                                   LQDFFXUDWH 
       KHDGHU        KHOSIXO                         
       KHDGLQJ      KHOSLQJ        KRVSLWDOL]HG            LQDXGLEOH 
       KHDOWK                                             
       KHDU      KHOSV          KRW                    LQFHQWLYL]H
                KHUHWR        KRWZLUH                       
               KL                LGHQWLI\      LQFLGHQW 
                KLG        KRXU          LGHQWLWLHV    LQFOXGH 
                    KLGGHQ                   LGHQWLW\      
       KHDUG          KLGH                       LQFOXGHG 
                       KRXUV           LJQRUDQW         
                                                   LQFOXGHV 
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                               LQYHQW                   
       LQFOXGLQJ                                       
                 LQVWUXFW      LQYHQWHG                       
                LQVWUXFWHG     LQYHQWLQJ                  
                LQVWUXFWLQJ    LQYHQWLRQ                 
                                                              
       LQFRPSOHWH      LQWHJUDWHG                    ,ULVK           MRLQW 
                      LQWHOOHFWXDO    LQYHQWLRQV          LUUHOHYDQW     -RQ 
       LQFRUUHFW                              ,VODPLF         -RQDWKDQ 
               LQWHQG        LQYHQWRU       LVVXDQFH         -RUGDQ 
                               LVVXH      -RVHSK  
       LQFUHGLEO\     LQWHQGHG                                MRXUQDOLVWV 
       LQGHSHQGHQW         LQWHQW         LQYHQWRUV               MXGJH  
                      LQWHQWLRQ      LQYHVWLJDWH                    
       LQGLFDWH                       LQYHVWRU       LVVXHG        
       LQGLFDWLRQ     LQWHQWLRQV     LQYLWH                  
       LQGLYLGXDO      LQWHUDFWHG                                     
                           LQYLWHG                    
       LQGLYLGXDOV     LQWHUHVW      LQYROYH                  
                 LQWHUHVWHG               LVVXHU      
                      LQWHUHVWLQJ                                  -XOLR  
       LQGXVWU\       LQWHUIHUH      LQYROYHG       LVVXHV           -XO\ 
       LQIHFWLRQV     LQWHUQDO                            MXPSHG 
       ,QIR       LQWHUQHW                       -XQH 
                                               MXU\  
       LQIRUPDWLRQ                            LVVXLQJ           
              LQWHUSUHW                             MXVWLI\ 
                              
                LQWHUUXSW                        -                   .
                                         MDLO           .DWKU\Q 
              LQWHUUXSWHG                    -DPLH          .DXFKHPDQQ
                                LQYROYHPHQW         -DQXDU\        
               LQWHUYLHZ                         NHHS  
                            LQYROYHV               
                      LQYROYLQJ                         
                                         -DSDQHVH          
       LQIRUPHG                ,3                              
       LQLWLDOO\      LQWHUYLHZHU     L3KRQH     -&                
                                          -GHOLFK#UFIOOS      
       LQLWLDOV       LQWHUYLHZV     ,UD                          
       LQVDQH                            MRE          
                                               
       LQ6HFXUH                          -RKQ        NHHSLQJ 
       LQVHUWHG                               NHHSV 
       LQVWDOOHG                                     NHSW  
       LQVWDQFH                                         
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                            NQRZQ           
                                               
       NH\                    NQRZV        /D[RQ 
                                          
                              .\OH             
                         .\OH#UFIOOSFR OD\ 
                                           OD\RXW 
                                               OD\SHUVRQ 
       NH\V                           /         OHDG 
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                       ODE           OHDGHU 
                           ODEHO     OHDGLQJ  
                                    
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                                              OHDNHG 
       NLFNHG       ./(,0$1         ODFN         OHDNV 
                                       ODSWRS      OHDS 
       NLOOHG       NQHZ                          OHDUQ 
       NLORPHWHUV                         ODUJH       OHDYH 
                                                
       NLQG     NQLIH              ODWH           
       NLQGV        NQRZ           ODXQFK        OHDYLQJ 
       .LQJGRP                             OHFWXUHU 
                                 ODXQFKHG     OHG  
       .OHLPDQ                                 
                        ODXQGHUHU     OHIW  
                             ODXQGHULQJ           
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                                  OHJDO  
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                                    OHJDOO\ 
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                  NQRZLQJ                
                       NQRZOHGJH                  /HRQ 
                             ODZ\HUV  OHWWHU 
                                 OHWWHUV 
                               OHWWLQJ 
                                      OHYHO  
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                                       /H[ 
                                        
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                                ORDG                       
       OLEHUW\                                         
                                                         /RXLV V 
       OLFHQVHG        OLVWHG       ORDGHG                  ORYH  
       OLH                                     
       OLIH                 ORDGLQJ                ORYHG 
                                                       
                OLVWHQ                              
                                                   OXQFK 
                       OLVWHQHG                                     O\LQJ  
       OLNHG               ORFDO          ORRNHG           
                                ORFDWHG                         
                OLVWHQLQJ         ORFDWLRQ       ORRNLQJ        /\QDP 
                                                       
       OLNHV       OLWHUDO         ORFDWLRQV        
       OLPLQH                                             0
       OLPLW                          ORFNGRZQ              0 
                OLWHUDOO\                              PDFKLQH 
       OLPLWDWLRQV              ORJ                    
       OLPLWHG                     ORJLFDOO\      ORRNV            
                          /2/V                    
       /LQGD        OLWHUDOQHVV          /RQGRQ                  PDFKLQHV 
       OLQH                                          
                  OLWLJDWLRQ                                
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                                           ORVH        
                         ORQJ                          
                 OLWWOH              ORVV             
                                   ORVW      
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                         ORQJHU                  0DFTXDULH
       OLQHV                             
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       /LQJKDP                                  0DGDP 
       OLQN                      ORRN                 PDJLF 
       OLQNHG          OLYH                        PDJLVWUDWH 
       OLQNHGLQ                                      0DJQD 
                OLYHG                            
       OLQNLQJ        OLYLQJ                            PDLO 
       OLQNV           //&                  ORWV      PDLOLQJ 
       /LVHURZ        //0                               
       OLVW                                 ORXGO\          
                  //3                  /RXLV          
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                //9                              PDLQ 
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                                                 0LNH 
       PDLQWDLQ     0DVWHUV                           
       PDMRULW\     PDWH                           PLOGO\ 
               PDWHULDO     0F*UHJRU V                    PLOLWDU\ 
                                               0LOO 
                    PDWK                 PHHWLQJV      PLOOLRQ 
       PDNLQJ        PDWKHPDWLFLDQ      PHDQ              
                                        
               PDWKHPDWLFV                         PLOOLRQV 
                                 PLQG  
                                       
       PDQDJH        0DWKLDV              PHPEHU         
                                             PLQGV 
       PDQDJHG      0DWRQLV                      
                                  PHDQLQJ                    PLQH  
       PDQQHU       PDWWHU                  PHPEHUV           
       PDSSLQJ              PHDQV                 
       0DUFK                      PHQWLRQHG       
            PDWWHUHG                        
               PDWWHUV              PHQWRU       
                                        PHUH         
             0DWWKHZV      PHDQW     PHUHO\         
                           PHULW           
                                 0HUNOH         
       PDUN                                   PLQHG 
                                    PHVVDJH         
                    PHGLD                
                            PHVVDJHV       
             0DYUDNLV                           
                                0(675(          
             0D[ZHOO             PHW         
                                         
                    0F&DXJKQ                                  
       PDUNHG                          0HWDQHW       
              0F*RYHUQ                            
                                        
               0F*UHJRU             0HW]GRZG       
                             0LDPL     PLQHV 
                    PHGLFDWLRQV    0LFKDHO       PLQLPL]H 
       PDUNHWHG                            0LFKHOOH     PLQLQJ 
                              PHGLXP                  
       PDUNLQJ                PHHW                       
       0DUNR                              0LFURVRIW      
       PDUULDJH           PHHWLQJ      PLGGOH           
       PDUULHG                               
       PDVTXHUDGLQJ                       PLGZHHN         
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               PROG\                                 QHHGV  
                      PRPHQW         PXOWLSDJH                     
       PLQWHG                  PXOWLSOH                
       PLQXV                                        
       PLQXWH                                  QHLWKHU 
                                               
       PLQXWHV                                    QHW 
                                    QDPHG         QHWZRUN 
                                                
                             PXWLQJ        QDPHV       QHWZRUNV 
                  PRPHQWV      0QHW                 QHYHU  
                  0RQGD\                            QDWLRQDO        
                                    1                           
                      0RQGR         1            QDWXUH             
       PLVFKDUDFWHUL]   PRQHWDU\     1DNDPRWR                         
                     PRQH\              Q&KDLQ             
       PLVFKDUDFWHUL]               Q&U\SW             
                                    QHEXORXV         
       PLVFKDUDFWHUL]                    QHFHVVDULO\      
                                                   
                                    QHFHVVDU\       QHZ   
                                              
       PLVFRQVWUXHG                              QHHG        
                       PRQLWRU                               
       PLVFRQVWUXLQJ       PRQWK                                 
                     PRQWKV                        1HZFDVWOH 
       PLVOHG                                       QHZV  
       PLVTXRWH      0RUJDQ                             
       PLVVHG                                    QHZVSDSHU
               PRUQLQJ                        
       PLVVWDWHV       PRWLRQ                           1JX\HQ 
       PLVWDNH        PRXWK                               
                      PRYH                                
       PLVXQGHUVWDQG                            QLFH  
                            QDPH                     
       PLVXQGHUVWRRG                             QLFHU  
                                          1LFKRODV 
       PL[                                       
       PL[LQJ                                         1LFN  
       PL[WXUHV        PRYHG                                   
       0,                         QHHGHG             
       0QHW                                          
       PRFN        PRYLQJ                        
              PXGGLHG                         
       PRGHO          PXGG\                       
       PRGLI\                          QHHGLQJ           
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                                 2FWREHU1RYH        
                                          
                                 RIIHQFH          
                                RIIHQGHG          
                             2IIHULQJ          
                                     RIILFH          RSHQV 
       1LFRODVVFRWWFDO                         RSHUDWH 
                     1<                           RSHUDWHG 
       1LJHULDQ                         REMHFWHG               RSHUDWLRQ 
       QLJKW                 2                          RSHUDWLRQV 
                    RDWK                               RSHUDWLYH 
       QRGH          REMHFW       REMHFWLQJ               RSLDWHV 
       QRGHV                 REMHFWLRQ                      
                               RIILFHU    RSLQLRQ 
                                                  RSSRUWXQH 
       QRQGLVWULEXWHG                   RIILFHV         RSSRUWXQLW\
                                      RIILFLDOV        
       QRQUREXVW                          RIIVKRUH      RSSRVHG 
                                   2.         
       1RUWKXPEULD                        RND\        RUGHU 
                                           
                                              
       QRWDUL]DWLRQ                                     
                                                
       QRWH                              
                                          
                                 RPLVVLRQV        
                              RQFH         
                                          RUGLQDULO\ 
       QRWHG                               RUH 
                                      RUJDQL]DWLRQ
                                                 
       QRWHV                                     
                               RQHV           
                       REMHFWLRQV                 
                   REYLRXVO\                  
                                                     RULJLQ 
       QRWLFH              RFFDVLRQV    RQHSDJH        
       QRWLFHG                           RQOLQH        RULJLQDO 
       QRWLQJ                 RFFXU           2QWLHU          
       1RYHPEHU             RFFXUUHG        RSHQ          
                                              
       QXPEHU                                          
                        2FWREHU                     
                                           
                                              RULJLQDOO\ 
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                                              
       RULJLQDWRU                                    
                      SDSHUV              SDUWQHUVKLSV
                                                   
       RXJKW               SDUDJUDSK              SDUWV  
       RXWFRPH                                  
       RXWVLGH                            
                                        
                                        SDUW\ 
                                           SDVVHG 
       2YHUDOO                                      SDVVLQJ 
       RYHUODS                     SDUWLFLSDQWV     SDVVLRQ 
       RYHUO\                     SDUWLFLSDWH    SDWFKHG 
       RYHUUXOHG                  SDUWLFLSDWLQJ       SDWFKLQJ 
       RYHUVHDV                                       SDWHQW 
                        SDUWLFXODU      SDWHQWLQJ 
                                      SDWLHQFH 
                                     3DWULFN 
                                         
                                       
       RYHUYLHZ                                
       RYHUWDON                   SDUWLFXODUO\        SDXVH  
       RZHG                                           SD\ 
       RZQHG                     SDUWLHV         SD\PHQW 
                                          3D\QH 
       RZQHU                 SDUDJUDSKV                       3') 
       2]                          SDUWO\       
       R FORFN      SDJHV                       SDUWQHU       
       2 +DJDQ               SDUHQWV                 
                         3DJH/LQH                             
               3         SDLG          SDULVK                 
       3              3DUN                       
       SDFNDJH              SDUW              
       3DH]      SDLQ                          
                      SDLQNLOOHUV                        
       SDJH                                     
              SDSHU                   3'< 
                                      SHQGLQJ 
                                  
                                     
                                SHRSOH  
                                            
                          SDUWQHUV        
                             SDUWQHUVKLS           
                                       
                                        
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                                              
                     SHUVRQV        SODQV             
                  SHUVRQ V       SODWIRUP         
                                                       
                  SHWDQW         SOD\HG          
                          3K'V                    
                    3KLOLSV                       
                    SKRQH        SOHDVH        
                                       SRLQWHG 
                                             
                                                SRLQWLQJ 
                    SKRQHG                  SRLQWV 
                       SKRQHV                 
                    3KRWR                        3RLVVRQ 
                    SKRWRJUDSK                   
                                            SROLFH 
               SHRSOH V       SKRWRJUDSK\                      
                                                
             SHUIHFWO\     SKUDVH                     
           SHUIRUPDQFH        SK\VLFDO               3RQFH 
                                     SRQGHU 
              SHULRG        SLFN                     3RQ]LV 
                                         SRRU 
                                              SRSXODWH 
             SHULRGV      SLFNHG                      SRSXODWHV 
            SHUPLWWHG                              
              SHUVRQ      SLFWXUH                   SRSXODWLRQ 
                  SLHFHV                  SRSXORXV 
                        3LHUSRQW                3RUW 
                      3LUDWH                 SRUWUD\DO 
                     SODFH             SRVHG 
                                      
                     SODFHV                  SRVHV 
                      SODLQWLII             SRVLWLRQ 
                                                 
                        3ODLQWLIIV               
                      SODLQWLII V               
                                                 SRVVHVVLRQ
                       SODQ                  
                                 SOHQW\          SRVVLEOH 
                              SP                 
                                 3RGFDVW         
                                                     
                SHUVRQD                   SRLQW        SRVVLEO\ 
              SHUVRQDO        SODQQHG                    
              SHUVRQDOO\         SODQQLQJ                 SRVW  
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                                           
                               3URI           
                           SUREDEO\                 
       SRVWHG                                      
                                           3URIHVVRU       
       SRVWLQJ           SUREOHP                    SXEOLFO\ 
                                      SURIHVVRUV       
       SRVWSRQH                          SURILOH          
       SRVWSRQHG                                   SURILW        SXEOLVK 
               SUHVXPLQJ                   SURILWDEOH    SXEOLVKHG 
       SRVWV          SUHVXSSRVLWLRQV     SURFHGXUH     SURILWDEO\        
                                   SURFHHG        SURJUDP          
       SRWHQWLDO      SUHWW\                SURMHFW          
                                                  
       SRWHQWLDOO\    SUHYDLOLQJ                           
       35        SUHYLRXV        SURFHHGLQJ                        SXEOLVKHU 
                               3URPHWKHXV          SXOOHG 
                        SURFHHGV                     SXPSHG 
              SUHYLRXVO\                     SURPLVH       SXQN 
       SUDFWLFHG                 SURFHVV      SURPLVHG       SXUFKDVH 
       SUHFHGHQWV                    SURPRWH         SXUFKDVHG
       SUHFLVH                                    SURQRXQFLQJ          
                 SULFH          SURFHVVHV               
                   SULGH                       SURRI          SXUFKDVLQJ 
       SUHFRPSLOHG         SULPDULO\     SURFHVVLQJ     SURSHUO\       SXUSRUW 
                     SULPDU\        SURGXFH       SURSHUW\          
       SUHGHILQHG                                         
       SUHGHWHUPLQHG       SULQFH                 SURSRVDO       SXUSRUWLQJ 
              SULQW                  SURSRVHG         
       SUHIHUHQFH          SULQWRXW       SURGXFHG                      
                                     SURSRVLQJ     SXUSRUWV 
       SUHSDUH                      SURYHG          
                SULRU                SURYHQ          SXUSRVH 
                                       SURYLGH          
       SUHSDULQJ                                       
             SULVRQ                 SURYLGHG       SXUSRVHV 
                SULYDF\                          
       SUHVHQW     SULYDWH              SURYLGHV      SXUSRVLYHO\
                               3UXGHQWLDO      
                                     SVHXGRQ\P           SXVK 
       SUHVHQWDWLRQ                                  SXW 
                                               
       SUHVHUYH                                        
                       SURGXFW      SVHXGRQ\PV            
       SUHVLGHQWLDO    SULYLOHJH      SURGXFWLRQ                          
       SUHVV                      SXEOLF           
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                                   
                                              
                         TXLFNO\               
                                TXLW              
       SXWWLQJ                  TXLWH            UHDVRQ 
                                                 
       SP                                   
                                    
                                             
                     TXRWH             
                                      
                          TXRWLQJ              UHDVRQDEOH 
                                                    
                                5                UHDVRQV 
                        5                   
                       UDGLFDO              UHFDOO  
                      UDGLFDOO\              
                       UDPLILFDWLRQV                
                                                        
       33               5DPRQD                     
       33(                                        
                                           
                                                      
               4                  UDQ     UHDGLQJ           
       TXDGUDQW                              
       TXDOLILFDWLRQV                                   
                                    UHDGV             
       TXDOLW\                                     
                      UDQFK                    
       TXDQWLW\                   UDQGRPO\                        
       TXDUDQWLQH          TXHVWLRQLQJ        UDQW         UHDO           
                                               
                     TXHVWLRQV      UDQWHG                 
       4XHHQVODQG                   UDW                    
                           5&-%5               UHFHLSW 
       TXHVWLRQ            5&-%5RUJ                    UHFHLSWV 
                                              
                        UHDFK              UHFHLYH 
                                                
                        UHDFKLQJ  UHDOL]H          UHFHLYHG 
                          UHDG   UHDOO\         
                                          
                                      UHFHLYLQJ 
                                   UHFHVV 
                 TXLFN                     
                                            
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                                           UHPRYH 
       UHFNOHVV                                 UHPRYHG 
       UHFRJQL]H                               UHSDLU 
                                            UHSHDW  
                                           
                                                       
                        UHIHUULQJ       UHOHDVHG          
                                       UHSHDWHG 
                                                 UHSKUDVH 
               UHFRUGHG                   5HOHQWOHVV       
                                                 
                             UHIHUV         UHOHQWOHVVO\        UHSOLHV 
                               UHIOHFW                      UHSO\  
               UHFRUGLQJ                UHOHYDQFH         
                                              UHSRUW 
                                                                
       UHFRJQL]HG     UHFRUGV       UHIOHFWLQJ     UHOHYDQW        UHSRUWHU 
                                    UHIOHFWLRQ                       
       UHFROOHFW      UHFUHDWHG      UHIOHFWV      UHOLHI             
       UHFROOHFWHG                       UHIUHVK        UHO\           
                     UHG                           UHPDLQ           
       UHFROOHFWLRQ    UHGXQGDQF\          UHJLVWHUHG    UHPDLQV            
                                5HJXODWRU\     UHPHPEHU           
               UHIHUHQFH      5HLQKDUGW                  UHSRUWV 
                                         UHSUHVHQW 
       UHFRQILUPHG                                         
                                                 UHSUHVHQWDWLRQ
       UHFRQYHQH                         UHLWHUDWH               
                     UHIHUHQFHG                                UHSUHVHQWDWLYH
       UHFRUG               UHMHFWHG                
              UHIHUHQFHV          UHODWH                 UHSUHVHQWHG
                                                            
                 UHIHUHQFLQJ     UHODWHG                UHSUHVHQWLQJ
                                                       
               UHIHUUHG                          UHSUHVHQWV
                         UHODWHV                    
                                         UHTXHVW 
                                                UHTXHVWHG 
                       UHODWLRQVKLS                   
                                                UHTXLUH 
                         UHODWLYH                 UHTXLUHG 
                                                 
                          UHODXQFKHG                
                            UHOHDVH        UHPHPEHULQJ           
                                              UHTXLUHPHQW
                               UHPLQGHG         
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       UHTXLUHV                                      
       UHTXLULQJ     UHVSRQVLEOH                   
       UHUXQ                                    
       UHVHDUFK         UHVSRQVLYH                      
                     UHVW                  
       UHVHUYDWLRQ         UHVWDWH                             
                      UHVWDXUDQWV                        
       UHVHUYH                                       
                     UHVWURRP                        
       UHVHUYHG                                     
       UHVLJQHG       UHWDLQHG       ULJKWV              
       UHVROYH                                          
       UHVROYHG       UHWHOOLQJ     ULQJ                   
       UHVSRQG        UHWLUH         ULVN                  
               UHWLUHG                           
              UHWXUQ                       
                UHWXUQV                              
               UHYHDO         5LYHUR                  
                                         
               UHYHUVDO                     
                UHYHUVH                      
       UHVSRQGHG      UHYLHZ                          
                                           
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                     UHYLVH                        5RDG 
       UHVSRQGLQJ     UHYROXWLRQL]H                         
                                            
                                             5RE  
                     UHDVN                         
       UHVSRQGV        UHHQDEOHG                              
                                         
              5LFD                        
                                           
                                                 
                5LGJH V                   
       UHVSRQVH       ULJKW                    
                                       5REHUW 
                                            
                                       
                                          
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                                      
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                                                
                                                
       UHVSRQVHV                           
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       5RE V            VDGGHQV                        
       5RFKH        VDIH                            
               VDIHW\                         
       UROH                                  VD\VR 
                    VDOH                             6&$  
       URRP         6DPVXQJ                       6&$'$ 
                                            VFDQ  
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                VDQLW\                         VFHQDULR 
                       VDW                       VFKHGXOH 
       URXQG                                           
       UR\DO           VDWLVILHG                 6FKLOOHU 
       56$                                            
       UXOH         VDWLVI\                          VFKRROV 
                   6DWRVKL                                 VFLHQWLVW 
       UXOHG                   6DWRVKL V     VD\V        VFRSH 
       UXOHV                                 VFUHDPHG 
                                            VFUHDPLQJ
       UXOLQJ                                    
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       UXOLQJV                                           
       UXQ                 6DWRVKL#YLVWR        VFUHHQLQJ 
                                       VFUHHQVKRW
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                     VDYLQJ                VFUROO 
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       UXQQLQJ                                
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       5XVVLDQ                                  6(& 
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                                      VHQWHQFH 
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                              VHOHFWHG         
                                   VHOIGHSUHFDWH         
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                           VHOILVRODWLRQ        
                                              
                                 VHOO        
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       VHFRQGDU\                           VHOOLQJ           
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       VHFRQGV                                       
       VHFUHW                                
                                        
       VHFWLRQ                                    
                                               
                                 VHQWHQFHV 
                                              
                                         VHSDUDWH 
       VHFXUH                                    6HSWHPEHU
       VHFXULWLHV                                
       VHFXULW\                                 
                                            VHULHV 
                        VHHLQJ                     
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       VHH                      VHQGHU           
                             VHQGLQJ       VHUYHU 
                                            
                       VHHN     VHQLRU            
                            VHQVH       
                           VHQW      VHUYHUV 
                                                  
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                                              VHUYLFH 
                                        
                                     VHUYLFHV 
                                                   
                      VHHQ              VHVVLRQ 
                                         
                                         
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                                                     
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                VHL]H                  VHVVLRQV 
                      VHL]HG                          
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               VKRUWHU         VLW                       
               VKRUWO\                  VROLFLWRUV     VRXUFH 
       VHVVLRQ>V                    VLWH                        
       VHW        VKRZ                           VRXUFHV 
                      VLWWLQJ                  
                                                   
                              VLWXDWLRQ        VROXWLRQ    6RXWK 
                      VKRZHG                  VROXWLRQV        
       VHWWLQJ         VKRZLQJ                  VRPHERG\         
                                                  6287+(51 
                                VLWXDWLRQV              VSDFH  
       VHWWOH                        VL[                
       VHWWOHPHQW          VKRZQ                     VRPHZKDW      VSHDN  
                  VKRZV                    VRQ              
       VHWXS              VNLOO                        
       6HYHQ                 VNLOOV         VRUHO\         
                VKXW                         VRUU\           
                      VLFN          6NLS                         
       6H\FKHOOHV          VLGH          6N\SH                    VSHDNLQJ 
                VLJQ                                    
       VKDPH          VLJQDWXUH    VODFN                 VSHFLILF 
       VKDSHG         6LJQDWXUHV                          
       VKDUH          VLJQHG                                  VSHFLILFDOO\ 
                      VODJ                         
                         6ODWHU                      
                                VOLJKWO\                VSHFLILFLW\ 
              VLJQLQJ                                   VSHHFK 
                 VLJQRII      VOLS                      
                  VLOHQW          VORW              
               6LON      VORZHU                   VSHOOLQJ 
                                VORZO\                    VSHQGLQJ 
                VLPLODU                              VSLNHG 
                          VPDOO                   VSLQQLQJ 
       VKDUHG        6LPRQ                            
       VKDUHKROGHUV        VLPSOH                         VRUW         
                            VPDUW                 VSRNH 
                                                     
       VKDUHV                VRFLDO                        
                                                   VRXJKW           
       VKHHW         VLPSOHVW       VRFLDOLVW                   
       VKLWV          VLPSO\         VRIWZDUH               VSRNHVPDQ 
       VKRHKRUQ       VLPXOWDQHRXVO\                         VSRRI 
       VKRSV                        VROG           VRXQG      6SRUWLQJ 
       VKRUW          6LQJDSRUH                                  
                              VROH        VRXQGLQJ      VSUHDGVKHHW
                     VLQJOH         VROLFLWRU       VRXQGV       
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       VS\                  6WHIDQ V       6WXUW            
                             6WHIDQ#PFU\SW               VXSSRVHGO\
       6TXDUH                                VXEMHFW       
       VWDII               6WHQRJUDSKLF                  VXSSRVLWLRQ
                                                 
                    VWHS          VXEMHFWV    VXSSRVLWLRQV
                        VWHSSHG        VXEPLW             
                          6WHYHQ      VXEPLWWHG        
                             VWLFN                  VXSSUHVV 
       VWDJH            VWLFNV                    
                           VWLSXODWH       VXEVWDQFH        
                                VWLSXODWHG     VXEVWDWH     VXSSUHVVLQJ
       VWDPSLQJ               VWRQH           VXFFHVVIXO        
       VWDQG                 VWRRG                  VXUH 
                               VWRS        VXFFHVVIXOO\           
       VWDQGLQJ                                          
       VWDQGV                           VXGGHQO\           
       VWDUW             VWRSSHG       VXIILFLHQW          
                                     VXJJHVW            
                        VWRUHG          VXJJHVWLQJ        
                              VWRULHV       VXJJHVWLRQ        
                VWDWHPHQWV                                        
                      VWRU\       6XJL\DPD        
       VWDUWHG                            VXLW             
               VWDWHV                    6XLWH       
                                      VXLWV            
                                VXP            VXUYLYDELOLW\
                                  VXPPDUL]H             
                                                   VXUYLYDO 
       VWDUWLQJ      VWDWLQJ       VWUDWHJLF      6XPPHU         VXUYLYHG 
       VWDUWV      VWDWLVWLFLDQ    VWUHDP                   
                  VWDWLVWLFV                      VXVSHFW 
                                               6XQGD\          VXVSLFLRQ 
                VWD\          6WUHHW      VXQN          VXVWDLQ 
                                        VXSHU         69 
                               VWULNH     VXSHUYLVRU     VZHDU 
       VWDWH       VWD\HG                                   VZRUQ  
                VWD\V          VWURQJ        VXSHUYLVRUV         V\PERO 
               6WHIDQ      VWURQJHU                         
                                VWUXFWXUH     VXSHUYLVRU\         V\PSWRPV
       VWDWHG                    VWXGLHG                         
                           VWXGLHV       VXSSO\LQJ       V\VWHP  
                        VWXGLR                            
       VWDWHPHQW              VWXG\          VXSSRVH           
                       VWXG\LQJ                        
                               VWXII      VXSSRVHG          
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       V\VWHPV               WHOHFRQIHUHQFH       WHVWLPRQ\         
                                              
       6]DER     WDONHG      WHOHSKRQH                  
                                            
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                                                  
                                                     
               7         WDONLQJ                     
       7                                         
       WDEOH                           WH[W        
       WDFNHG                                
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       WDJJHG                                 
       WDNH                                
                                    WKDQN       
                                              
                                           
                        WHOOLQJ            
                                           
                                                  
              WDONV              WKDQNV           
             WD[                        WKLQN  
                                              
                                WKHRU\         
                     WHOOV            WKHUHRI        
                      WHPSHU                           
                     WHPSHUDWXUH          WKHVDXUXV       
                                      WKHVLV          
                WHDFK          WHQ              WKLQJ        
               WHDP       WHUP                     
                                          
                                        
                       WHUPLQRORJ\                     
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       WDNHQ               WHUPV                  
              WHDPV                            
                WHFKQLFDO                                
                         WHUULEOH                   
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                                                      WKLQNLQJ 
                                  WHVWHG         WKLQJV      
       WDNHV       WHFKQLFDOO\                       WKLUG  
       WDON              WHVWLILHG                  
                 WHFKQRORJ\     WHVWLI\              
                                            
             7HO             WHVWLI\LQJ                
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       WKRXJKW                                        
                         WROG                  
                                           WUDYHOLQJ 
                                           
                                     WUDQVDFWLRQ     WUHDVXUHU 
       WKRXJKWV                               WUHDW 
       WKRXVDQGV                           WUDQVDFWLRQV       WUHH 
                                                    WULDO 
       WKUHDG                          WUDQVFULEHG        WULEXQDOV 
       WKUHH     WLPHIUDPH                          WULFN\ 
               WLPHV                       WULHG  
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       WXUQV                    8QJDU                     
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       WZHHWV                 8QLWLQJ        XVHUQDPH         9LGHRJUDSKHU
       WZLFH                XQLYHUVLWLHV        XVHUV            
       WZLQV                              XWLOLW\          
       WZLVW          XP         XQLYHUVLW\     XWWHUO\          
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       YLVWRPDLO          ZDWHUV            ZLWQHVV 
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                                      ]RRP 
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                      VIDEOTAPED DEPOSITION OF CRAIG WRIGHT
                                     ERRATA
                            CASE NO. 9:18-cv-80176-BB/BR
                                DATE: March 16, 2020


     Page/Line #             Original                   Correction              Reason for Change
        7:8–9      But the idea of              But the idea of                 Spelling Correction
                   “anonymous” that has         “anonymous” that has
                   come from the cipher         come from the
                   punk idea, then no.          cypherpunk idea, then no.
      17:11–13     So there is one              So there is one individual,     Transcription Error
                   individual, not minus, not   not miners, not nodes as
                   nodes as people call         people call them, that
                   them, that created           created Bitcoins
                   Bitcoins
       23:20       Dave never posted a          Dave never posted as        Spelling Correction
                   Satoshi.                     Satoshi.
     36:25–37:2    There are people actually    There are people actually Spelling Correction
                   putting out internal         putting out internal
                   documentation from the       documentation from the
                   organization and posting     organization and posting it
                   it on “read it”              on Reddit

      41:16–17     I am assuming that is        I am assuming that is           Transcription Error
                   Stefan@mcrypt.               Stefan@ncrypt.
     137:13–14     I stopped responding at      I stopped responding at         Transcription Error
                   all, well before this, to    all, well before this, to Mr.
                   Mr. Kleiman?                 Kleiman.
     137:24–25     Again, you are making        Again, you are making the       Misspoke
                   the                          assumption that
                   Craig@RCJBR means            Craig@RCJBR means
                   that it came from the        that it came from the
                   account.                     account.
      181:7–8      senior officials of Oz       senior officials of             Spelling Correction
                   industry                     AusIndustry
      195:1–2      The launch of that system    The launch of that system       Spelling Error
                   was then taken by Vero-      was then taken by
                   sign                         Verisign.
     195:12–13     such as Charles Sturt        such as Charles Stuart          Spelling Error
     203:15–16     I sold code that was used    I sold code that was used       Spelling Error
                   in gaming out of             in gaming out of countries
                   countries such as Costs      such as Costa Rica.
                   Rica.
     203:22–24     I was there when the         I was there when the CEO        Spelling Error
                   CEO of the Sporting Bet      of the Sportingbet was
                   was arrested by              arrested by Americans
                                                when he touched down.

                                                  1
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                      VIDEOTAPED DEPOSITION OF CRAIG WRIGHT
                                     ERRATA
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                                DATE: March 16, 2020

     Page/Line #            Original                 Correction            Reason for Change
                   Americans when he
                   touched down.
     202:24–25     Sporting Bet, who I used   Sportingbet, who I used to   Spelling Error
                   to contract to             contract to
    214:25–215:1                                                           Spelling Error



     239:18–19     Charles Sturt University   Charles Stuart University    Spelling Error




                                               2
